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              EXHIBIT 8
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     IN THE UNITED STATES BANKRUPTCY COURT
     FOR THE DISTRICT OF DELAWARE
     -----------------------------------------------
     CHAPTER 11

     IN RE:
     W.R. GRACE & CO., et al.
          Debtors.

     Case No. 01-1139 (JFK)
     Jointly Administered
     ----------------------------------------------
     DEPOSITION OF
     Arthur L. Frank, M.D., Ph.D.
     June 5, 2009
     Philadelphia, Pennsylvania
     Lead: Nathan Finch, Esquire
     Firm: Caplin & Drysdale




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    APPEARANCES:                                    APPEARANCES VIA TELEPHONE:

    McGARVEY, HEBERLING, SULLIVAN                   CHRISTENSE, MOORE, COCKRELL,
    & McGARVEY, LLP                                 CUMMINGS & AXELBERG
    BY: JON HEBERLING, ESQUIRE                      BY: DALE COCKRELL, ESQUIRE
    745 South Main                                  145 Commons Loop #200
    Kalispell, Montana 59901                        Kalispell, Montana 59901
    Phone: (406) 752-5566                           Phone: (406) 751-6000
    Representing the Plaintiffs                     Dcockrell@cmccalaw.com
                                                    Representing the Defendants


    CAPLIN & DRYSDALE                               BY: DORI ANNE KUCHINSKY, ESQUIRE
    BY: NATHAN D. FINCH, ESQUIRE                    SENIOR LITIGATION COUNSEL
    BY: BERNARD S. BAILOR, ESQUIRE                  W.R. GRACE
    One Thomas Circle, NW, Suite 1100               44084 Riverside Parkway, Suite 300
    Washington D.C. 20005                           Leesburg, Virginia 20176
    Phone: (202) 862-5000                           Phone: (703) 729-8543
    Ndf@capdale.com                                 Dori.kuchinsky@grace.com
    Bsb@capdale.com
    Representing the Defendants


                                          Page 3                                         Page 5


    APPEARANCES:
                                                     APPEARANCES VIA TELEPHONE:
    KIRKLAND & ELLIS, LLP
    BY: DAVID BERNICK, ESQUIRE                       BY: ALAN B. RICH, ESQUIRE
    BY: BRIAN STANSBURY, ESQUIRE                     1401 Elm Street, Suite 4620
    BY: HEATHER A. BLOOM, ESQUIRE                    Dallas, Texas 75202
    655 Fifteenth Street, NW                         Phone: (214) 744-5100
    Washington DC 20005                              Arich@alanrichlaw.com
    Phone: (202) 879-5108                            Representing the Plaintiffs
    Dbernick@kirkland.com
    Bstansbury@kirkland.com
    Hbloom@kirkland.com
    Representing the Defendants                      JANE ROSE REPORTING
                                                     80 Fifth Avenue
                                                     New York, New York 10011
                                                     Phone: 800-825-3341
    ECKERT, SEAMANS, CHERIN & MELLON                 Lorraine Murtaugh, Court Reporter
    BY: EDWARD J. LONGOSZ, II, ESQUIRE
    1747 Pennsylvania Avenue, NW, 12th Floor
    Washington DC 20006
    Phone: (202) 659-6619
    Elongosz@eckertseamans.com
    Representing Maryland Casualty & Zurich


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            INDEX                                 1              ARTHUR L. FRANK, M.D., PH.D.
     WITNESS                                      2                  ARTHUR L. FRANK, M.D., PH.D.,
     ARTHUR L. FRANK, M.D., PH.D.                 3      after having been first duly sworn, was examined
     EXAMINATION             PAGE                 4      and testified as follows:
        BY MR. FINCH         8, 257               5                   - - -
        BY MR. BERNICk        98, 229             6                  EXAMINATION
        BY MR. HEBERLING        225               7                   - - -
        BY MR. COCKRELL         263               8      BY MR. FINCH:
                                                  9       Q Dr. Frank, my name is Nathan Finch. I
             EXHIBITS                            10       represent something called the Official Committee
     NUMBER DESCRIPTION            PAGE MARKED   11       of Asbestos Personal Injury Claimants in the W.R.
     FRANK-1 EXPERT REPORT OF DR. A. FRANK    12 12       Grace Bankruptcy Case. You've had your deposition
                                                 13       taken many times before?
     FRANK-2 SUPPLEMENTAL EXPERT REPORT          14      A. I have.
          OF DR. A. FRANK         12             15       Q If you don't understand something I ask you,
                                                 16       can you tell me and I will rephrase the question?
     FRANK-3 SUR-REBUTTAL AND SUPPLEMENTAL       17      A. I'll try not to be shy.
         EXPERT REPORT OF DR. A. FRANK    12     18       Q Do you have any understanding of what the
                                                 19       Official Committee of Asbestos Personal Injury
     FRANK-4 REPSONSE OF DR. FRANK AND           20       Claimants is?
          DR. WHITEHOUSE TO ACC'S DR. WELCH 12   21      A. Only some vague sense of it.
                                                 22       Q What is your vague sense of it?
     FRANK-5 RESPONSE OF DR. FRANK AND           23      A. That there's bankruptcy proceedings with
          DR. WHITEHOUSE TO ACC'S                24      Grace and the Asbestos Claimant's Committee is
          DR. FRIEDMAN            12             25      there to discuss funds that are to be utilized for
                                             Page 7                                                 Page 9
       EXHIBITS     INDEX                           1              ARTHUR L. FRANK, M.D., PH.D.
     NUMBER DESCRIPTION          PAGE MARKED        2     paying off claims and to discuss how and in what
     FRANK-6 RESPONSE OF DR. FRANK AND              3     manner that should be done and sort of to discuss
         DR. WHITEHOUSE TO ACC'S                    4     what various cases might be worth.
         DR. STOCKMAN            12                 5     Q Have you ever served as an expert in any
                                                    6     other asbestos bankruptcy?
     FRANK-7 SUR-REBUTTAL & SUPPLEMENTAL            7     A. I have. I have been involved with the
         EXPERT REPORT OF DR. WHITEHOUSE 12         8     Celotex Bankruptcy, with Owens-Corning, or
                                                    9     Owens-Illinois, I forget which one, and I recently
     FRANK-8 CURRICULUM VITAE            22        10     did some work for Armstrong.
                                                   11     Q What was the nature of the work that you did
     FRANK-9 LETTER DATED 11/14/08        25
                                                   12     in the Armstrong Bankruptcy?
                                                   13     A. It was simply to write an affidavit to the
     FRANK-10 ATSDR SUMMARY REPORT            39
                                                   14     effect of what the health effects of asbestos
     FRANK-11 TRUST DISTRIBUTION PROCEDURES        15     were, basically.
         EXHIBIT FOUR             47               16     Q And in the Celotex Bankruptcy?
                                                   17     A. That was actually regarding insurance
     FRANK-12 ATS DOCUMENTS              74        18     litigation as part of that bankruptcy, and, again,
                                                   19     it was to discuss the hazards of asbestos.
     FRANK-13 ARTICLE BY L.S. WELCH, MD      91    20     Q In any of your other prior engagements --
     FRANK-14 ARTICLE BY PATRICIA SULLIVAN      92 21     let's make it more broad than that. Have you
                                                   22     ever, other than the Grace Bankruptcy, had the
     FRANK-15 RESEARCH ARTICLES BY R. LILLIS,      23     occasion to review or form opinions about a trust
         ET AL                98                   24     distribution procedures, bankruptcy trust
     FRANK-16 2004 PROGRESSION STUDY          256 25      distribution procedures?

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 1           ARTHUR L. FRANK, M.D., PH.D.                1            ARTHUR L. FRANK, M.D., PH.D.
 2   A. No.                                              2     decisions were made to settle those cases were as
 3   Q I take it you don't hold yourself out as an       3     compared to Libby?
 4   expert in what criteria should be used to settle    4     A. No.
 5   asbestos personal injury cases?                     5     Q You have no knowledge or opinions about
 6   A. First of all, I don't hold myself out as an      6     whether or not the factors that go into the
 7   expert. That's a designation by the courts.         7     decision whether or not to settle an asbestos
 8   Q Okay.                                             8     personal injury claim are reasonable or not
 9   A. I'm a physician who has some experience wit      9     reasonable; do you?
10   asbestos and asbestos-related disease, but I have  10     A. I have no knowledge since I've not been
11   to date not been involved with this kind of        11     involved. I probably have some opinions, but I
12   adjudication over how settlements might be made.   12     can't have opinions based on no facts.
13   Q You would agree with me that you don't have 13                        - - -
14   any experience in how asbestos personal injury 14                  (Exhibits Frank-1 through Frank-7
15   cases are settled from the perspective of someone 15      were marked for identification and are attached
16   who is charged with settling those cases on behalf 16     hereto.)
17   of an asbestos company or an asbestos trust?       17                   - - -
18   A. That's not ever been my role in all the work    18     BY MR. FINCH:
19   that I've done with regard to asbestos litigation. 19     Q I'm going to put what has been marked as
20   That's what lawyers and others are there for.      20     Frank Deposition Exhibits One, Two, Three, Four,
21   Q And you certainly don't have any experience 21          Five, Six and Seven in front of you.
22   or expertise in how much money should be paid to 22       A. Okay.
23   settle various categories of asbestos disease      23     Q And I'm going to ask you to briefly identify
24   claims?                                            24     them for the record?
25   A. I have heard over the years what claims are     25     A. The first is entitled "Expert Report of Dr.
                                              Page 11                                                    Page 13
 1           ARTHUR L. FRANK, M.D., PH.D.                1            ARTHUR L. FRANK, M.D., PH.D.
 2   settled for and know that they vary jurisdiction    2     Arthur Frank", and this would have been a report
 3   by jurisdiction, but I don't get involved in those  3     prepared back in December of 2008, signed the
 4   discussions or negotiations.                        4     23rd, December 2008. Number two is one page that
 5   Q And so you wouldn't have any opinions or be       5     says "Supplemental Expert Report".
 6   offering any opinions that particular dollar        6     Q What's the date of that? It's on the second
 7   amounts would be reasonable or unreasonable with 7        page.
 8   respect to the various asbestos-related diseases?   8     A. 12, March, 2009. The third one is listed as
 9   A. That depends on the question I'm asked.          9     Sur-Rebuttal and Supplemental Expert Report" dated
10   Some of the dollar amounts that are being          10     14, May, 2009. The next is "Response of Dr. Frank
11   discussed or that are in some of the documents     11     and Dr. Whitehouse to the Report of the ACC's Dr.
12   that I've seen seem quite unreasonable for various 12     L. Welch March 2009", that's dated 14, May 2009.
13   reasons.                                           13     The next is "Response of Dr. Frank and Dr.
14   Q Well, you have no experience or expertise in     14     Whitehouse to the Report of the ACC's Dr. G.
15   how much money Grace paid historically to resolve 15      Stockman, 4/6/09", and that would also be dated
16   asbestos personal injury claims; do you?           16     14, May. And the last is --
17   A. No.                                             17     Q Wait a minute. Five was Freedman --
18   Q And so you couldn't give --                      18     A. I'm sorry; I missed Freedman. "Response of
19   A. Other than what they have paid in cases in      19     Dr. Frank and Dr. Whitehouse to the ACC's Dr. G.
20   Libby. I have some knowledge of that.              20     Freedman", I imagine that's also dated.
21   Q But you don't have any knowledge about what 21          Q Dated May 2009?
22   they paid in cases outside of Libby; correct?      22     A. 14, May, 2009, that's Five. And Six is
23   A. No.                                             23     Stockman and Seven is the "Sur-Rebuttal and
24   Q You have no knowledge of the characteristics 24         Supplemental Expert Report by Dr. Allen
25   of the cases outside of Libby and what the         25     Whitehouse".

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 1          ARTHUR L. FRANK, M.D., PH.D.                 1             ARTHUR L. FRANK, M.D., PH.D.
 2   Q Do these reports contain the opinions and         2     number of cohorts of single fiber types with
 3   conclusions you've been asked to give in            3     regard to amphiboles, it is rare and unusual to
 4   connection with the Grace Bankruptcy matter?        4     have a chrysotile only cohort.
 5   A. Yes.                                             5     Q So, there are very view chrysotile only
 6   Q So, you understand the purpose of an expert       6     cohorts; would you agree with that?
 7   report is to provide all the opinions that you've   7     A. Correct.
 8   been asked to give so that I can ask you questions  8     Q Les Stainer, the cohort he started in South
 9   about them; correct?                                9     Carolina is one of the handful of pure chrysotile
10   A. Yes, sir.                                       10     exposure?
11   Q You have testified from time to time in          11     A. Yes, or chrysotile miners in Canada or China
12   asbestos personal injury cases; is that correct?   12     or elsewhere.
13   A. From time to time, yes.                         13     Q Do you have any opinions about whether some
14   Q Is it your opinion, to a reasonable degree       14     of the chrysotile that came from Canada also
15   of medical certainty, that exposure to chrysotile  15     contains tremolite?
16   asbestos from brakes can cause mesothelioma?       16     A. That's an interesting question. It's widely
17   A. Yes.                                            17     discussed in the literature as containing
18   Q Do you hold the opinion that pure                18     tremolite. I have a paper that discusses that.
19   chrysotile, to the extent that it exists, can      19     It's a 1988 paper that I did with Dr. Dodson. We
20   cause mesothelioma?                                20     looked at UICC B referenced chrysotile in looking
21   A. Yes.                                            21     at more than 20,000 fibers, found no evidence of
22   Q Do you hold the opinion that any                 22     any tremolite in there, and even though you'll
23   identifiable asbestos exposure above background to 23     find plenty of statements in the literature that
24   pure chrysotile can cause mesothelioma?            24     says there's tremolite, you will find a great
25   A. Yes.                                            25     paucity of data as to how much and people make a
                                              Page 15                                                   Page 17
 1          ARTHUR L. FRANK, M.D., PH.D.                 1              ARTHUR L. FRANK, M.D., PH.D.
 2   Q Do you hold the opinion that any                  2     bold statement but don't have a reference and
 3   identifiable exposure to pure chrysotile asbestos   3     don't have any data as to how much is actually
 4   above background can be a substantial contributing 4      there.
 5   factor in causing someone's mesothelioma, even if   5     Q But you wouldn't conclude that there is no
 6   they were exposed to other asbestos fiber types?    6     possibility of tremolite being in Canadian
 7   A. Yes.                                             7     chrysotile?
 8   Q So, for example, in your view, working for a      8     A. No, I would not.
 9   few days around a pure chrysotile containing        9     Q Have you ever read William Longo's report in
10   product, to the extent such a thing exists,        10     this case?
11   breathing the fibers omitted by that would         11     A. Not that I recall.
12   contribute to causing someone's mesothelioma, even 12     Q Do you know who Bill Longo is?
13   if they spent ten years working in a shipyard      13     A. I know Bill.
14   around amphibole-containing products?              14     Q So, if Dr. Longo testifies that Grace
15   A. Yes.                                            15     commercial construction products contain both
16   Q And that's your opinion to a reasonable          16     tremolite and Libby amphibole, you wouldn't be in
17   degree of medical certainty?                       17     a position to dispute that?
18   A. It is.                                          18     A. No. It's the kind of studies he does and
19   Q You have testified in the past, and I'll         19     it's not the kind of studies I do.
20   show you this if you want to see it, that in your  20     Q And have you ever worked with Dr. Longo or
21   experience and knowledge most cohorts of           21     relied on his opinions in any context?
22   individuals who were exposed to asbestos are       22     A. He and I have certainly been involved in
23   exposed to mixed fiber types?                      23     some litigation matters on the same case, but I
24   A. I probably testified to that. A better way      24     have not really worked with him on anything. I've
25   to describe it I think would be that there are any 25     seen reports, on a small number of occasions, that

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 1           ARTHUR L. FRANK, M.D., PH.D.               1              ARTHUR L. FRANK, M.D., PH.D.
 2   I've probably relied upon.                         2     A. Yes. I use it because there is other Grace
 3   Q One of the cohorts that's been studied           3     asbestos that would be found in other settings
 4   extensively in asbestos medical literature is the  4     that would not be the same materials.
 5   insulator cohorts that were studied by             5     Q Well --
 6   Dr. Selikoff and other people, including you, at   6     A. But if that's the definition you want me to
 7   Mount Sinai; correct?                              7     work with, I'll work with it.
 8   A. Yes.                                            8     Q Let's call Libby asbestos, means the
 9   Q Can we call that Selikoff insulator cohort?      9     richterite/tremolite/winchite mix that is found in
10   A. Fine.                                          10     vermiculite or mined in Libby, Montana?
11   Q Would you agree with me that that cohort of 11         A. All right.
12   asbestos insulation workers was exposed to both 12       Q And that is a subset of all Grace asbestos,
13   chrysotile asbestos and amphibole asbestos?       13     you understand that there are commercial
14   A. Yes.                                           14     construction products that have asbestos from
15   Q How would you describe that study, that         15     Canada in them that Grace sold?
16   series of studies; would you describe that as a   16     A. Yes, that's why I made the comment. They
17   cohort study?                                     17     did.
18   A. It is a retrospective/prospective cohort       18     Q So, do you have any understanding as to
19   study with entry into the study requiring twenty  19     whether those commercial construction products,
20   years of work at the time of entry and then       20     like Monokote, would also have Libby asbestos in
21   followed over the individual's lifetime.          21     them as a result of vermiculite being used as a
22   Q I had asked you some questions about            22     filler in those products?
23   chrysotile causing mesothelioma. Do you believe 23       A. I do not know. It may have been. I have no
24   that pure chrysotile, to a reasonable degree of   24     specific knowledge of that.
25   medical certainty, can also cause lung cancer?    25     Q You wouldn't dispute Dr. Longo, or anybody
                                             Page 19                                                   Page 21
 1          ARTHUR L. FRANK, M.D., PH.D.                1            ARTHUR L. FRANK, M.D., PH.D.
 2   A. Yes.                                            2     else that testified, that the majority of Grace's
 3   Q And would you agree that any identifiable        3     commercial construction products contained Libby
 4   exposure to asbestos, above background which is a 4      asbestos as a --
 5   chrysotile exposure, can contribute to causing     5     A. I have no basis to dispute it.
 6   lung cancer?                                       6     Q On the bottom of page ten in your December
 7   A. Yes.                                            7     2008 report, you write "It is a majority view that
 8   Q Would you agree with me that any                 8     amphiboles are more toxic than serpentine
 9   identifiable exposure to asbestos above background 9     asbestos." And serpentine asbestos would include
10   that's chrysotile asbestos can contribute to      10     chrysotile; correct?
11   causing non-malignant asbestos diseases?          11     A. It is the only serpentine asbestos.
12   A. Yes.                                           12     Q Chrysotile is serpentine asbestos?
13   Q In your December report, which is Frank         13     A. Right. It doesn't include it. It is the
14   Deposition Exhibit Number One --                  14     whole class.
15   A. Yes.                                           15     Q And then you say, "My own views at the issue
16   Q -- on page ten --                               16     is not settled as there is evidence going both
17   A. Yes, sir.                                      17     ways."
18   Q -- at the bottom, you're talking about --       18     A. Yes.
19   before we get to the bottom. For definitional     19     Q Is that still your view?
20   purposes, if I used the term "Libby asbestos" or  20     A. Yes.
21   "Grace asbestos" to describe the                  21     Q You have testified, I believe, that most
22   tremolite/winchite/richterite mix of amphiboles   22     people don't claim that there is a different
23   that is found in the vermiculite or mined in      23     potency factor as between amphiboles and
24   Libby, Montana, would understand that's what I'm  24     chrysotile for lung cancer. Is that your opinion?
25   talking about?                                    25     A. There's a much smaller body of evidence

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 1           ARTHUR L. FRANK, M.D., PH.D.               1             ARTHUR L. FRANK, M.D., PH.D.
 2   where there is such a claim made. Most of the      2      equally potent for causing mesothelioma?
 3   discussion has to do with mesothelioma, but there  3      A. Yes. They have not adopted any other view,
 4   are some people who also feel there is a           4      even though that has been put forward.
 5   differential with lung cancer that's been less     5      Q And some of the places that it has been put
 6   well studied, I think.                             6      forward, are you familiar with the EPA working
 7   Q And what about as a differential between         7      group study in 2002 colloquially known as Berman
 8   amphibole and chrysotile for purposes of causing 8        and Crump, where the authors of that surveyed the
 9   nonmalignant disease? Is there any literature on 9        epidemiological literature and attempted to
10   either side of that question that would allow you 10      quantify how much more toxic the amphiboles were
11   to make a categorical statement that amphibole    11      than chrysotile fibers for the production of
12   asbestos exposures are more likely to cause       12      mesothelioma?
13   asbestos disease than chrysotile asbestos         13      A. I am.
14   exposures?                                        14      Q And what did the EPA do, if anything, with
15   A. No.                                            15      the Berman and Crump work?
16   Q You came into the deposition, and I took it     16      A. Had it reviewed by a scientific body who
17   because it was sitting there in front of you, I   17      found it weak and unsubstantiated.
18   think you had an extra copy, you have the most    18      Q And just to break that down a little bit
19   recent copy of your CV?                           19      more, the Berman and Crump 2003 paper working
20   A. Yes.                                           20      group study was updated substantially in 2007 and
21   Q Can we mark that as Frank Deposition Exhibit 21         2008 and became something known as Bratt and
22   Number Eight?                                     22      Crump; correct?
23   A. Certainly.                                     23      A. I'm specifically aware of that.
24                - - -                                24      Q But it was their work which attempted to
25            (Exhibit Frank-8 was marked for          25      quantify the difference between the amphiboles and
                                              Page 23                                                  Page 25
 1           ARTHUR L. FRANK, M.D., PH.D.                1            ARTHUR L. FRANK, M.D., PH.D.
 2   identification and is attached hereto.)             2     causing mesothelioma and chrysotile and causing
 3                 - - -                                 3     mesothelioma led to a hearing before a science
 4   BY MR. FINCH:                                       4     advisory board at the EPA last summer, 2008;
 5   Q Are you generally familiar with the EPA 1986      5     correct?
 6   Airborne Asbestos Health Assessment Update?         6     A. Yes.
 7   A. Not especially. I probably saw it at the         7     Q And did you participate in any way in, and
 8   time. I haven't seen it in years and have no        8     by "participate any way", did you review the EPA
 9   specific recollection of it.                        9     science advisory board's conclusions about the
10   Q One of the principal authors is a gentleman      10     adequacy of the data to support the Bratt and
11   by the name of Dr. William Nicholson. Do you know 11      Crump/Berman and Crump work?
12   --                                                 12     A. I believe I read something about that. It
13   A. I know Bill very well.                          13     may have been a summary.
14   Q Do you have a view as to his qualifications      14     Q Let's mark this as Frank Deposition Nine.
15   and expertise on asbestos-related medical issues? 15                    - - -
16   A. He was trained as a biophysicist and spent a    16              (Exhibit Frank-9 was marked for
17   lot of his time working with Dr. Selikoff learning 17     identification and is attached hereto.)
18   about asbestos, doing asbestos-related research.   18                   - - -
19   Q Do you have an understanding that it is          19     BY MR. FINCH:
20   still the official position of the United States   20     Q Frank-9, can you identify Frank-9, Dr.
21   Government that all different types of asbestos    21     Frank?
22   fiber, and by "all types", I mean amosite versus   22     A. It is a November 14, 2008 letter to the
23   chrysotile, are equally --                         23     administrator of the EPA, Mr. Johnson, with an
24   A. Amphiboles.                                     24     attachment, which is a report that the committee
25   Q Excuse me. Amphiboles versus chrysotile are 25          put together.

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 1          ARTHUR L. FRANK, M.D., PH.D.                 1             ARTHUR L. FRANK, M.D., PH.D.
 2   Q And this is the report that the science           2     his opinion amphibole exposures are a hundred
 3   advisory board put together when they -- let's      3     times more likely to result in mesothelioma than
 4   back up. The science advisory board was a           4     chrysotile only exposures, you would say there is
 5   collection of experts in lots of different          5     not a good scientific basis to say that?
 6   disciplines with the question of being asked of     6     A. Well, he can look at the science the way he
 7   them whether or not the Berman and Crump/Bratt and 7      wants and there is data that would be supportive
 8   Crump work was sufficiently valid to make           8     of that view. Maybe he decides that he accepts
 9   quantitative assessments about the differences      9     that data. I've looked at that issue and am not
10   between asbestos fiber type and asbestos fiber     10     persuaded. But different scientists will use
11   length in causing mesothelioma and lung cancer; is 11     different ways of looking at the same information.
12   that correct?                                      12     Q Okay. So, you would disagree with
13   A. That was my understanding.                      13     Dr. Whitehouse, if Dr. Whitehouse's opinion is
14   Q And you've seen this document, Frank-9, or a     14     that amphibole fiber are a hundred times more
15   summary of it before?                              15     likely, a hundred times more potent for chrysotile
16   A. I think I've seen a summary. I don't think      16     for causing mesothelioma, you would disagree --
17   I've seen the whole document as it is presented to 17     A. I personally would disagree with that, but
18   me here.                                           18     other scientists would certainly agree with him.
19   Q And the committee, the science advisory          19     And some would say that crocidolite is 500 times
20   board committee, generally agreed that the         20     more potent. That's what Berman and Crump says or
21   scientific basis as laid out in the technical      21     Hodgson and Darden.
22   document referring to Bratt and Crump, in support  22     Q But just because medical experts disagree
23   of the proposed method is weak and inadequate.     23     about something doesn't mean that one of them is
24   Did you see that, it's on page two of this         24     unreasonable and the other one is reasonable?
25   document?                                          25     A. No, it does not necessarily mean that.
                                              Page 27                                                    Page 29
 1             ARTHUR L. FRANK, M.D., PH.D.              1             ARTHUR L. FRANK, M.D., PH.D.
 2    A. Yes.                                            2     Q Do you know Dr. Laura Welch?
 3    Q And so is it your view that it is                3     A. I do.
 4    scientifically not possible to quantify how much 4       Q You have coauthored papers with her; is that
 5    more toxic amphiboles can be than chrysotile, at 5       correct?
 6    least at this time, with the data we have?         6     A. I have.
 7    A. That reflects my own view that I think is       7     Q One of the papers that you coauthored with
 8    unsettled. I think it is a doable piece of work,   8     her was a paper published in 2007, thereabouts,
 9    but it is not doable given the data that we have   9     about the ability of chrysotile to cause
10    so far.                                           10     mesothelioma?
11    Q Given the data, and by "data", we mean the 11          A. Yes, sir. And more recently the response to
12    epidemiological and exposure data about all       12     a letter to the editor of that journal, and I know
13    different types of exposure to asbestos that have 13     Laura from other settings. When she did sheet
14    been assembled in the scientific community to 14         metal work many years ago I was involved with that
15    date, you would say it's impossible to say that   15     and we both serve on a research group that looks
16    amphiboles are X-times more likely to cause       16     at DOE workers.
17    mesothelioma than chrysotile?                     17     Q Have you come to form a view about her
18    A. Well, it's obviously not impossible since      18     opinions about medical issues, asbestos medical
19    people have done that, so it is possible to say   19     issues?
20    that. I don't think the basis for saying it is    20     A. I have.
21    very good.                                        21     Q Do you believe her opinions are outside of
22    Q You don't think there's a good scientific       22     the medical main stream?
23    basis for saying that?                            23     A. There are some of her reviews that I agree
24    A. Correct.                                       24     with, enough to sign onto an article that she was
25    Q If Dr. Whitehouse were to testify that in       25     the chief author. On the other hand, there are

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 1           ARTHUR L. FRANK, M.D., PH.D.                1              ARTHUR L. FRANK, M.D., PH.D.
 2   other views that she holds that I disagree with,    2     lot of names for a lot of medical conditions. It
 3   and I've had those discussions with her from time   3     doesn't mean it is a serious disagreement. It's a
 4   to time.                                            4     different view or different construct. It's like
 5   Q Do you view her positions on                      5     how you classify things.
 6   asbestos-related nonmalignant disease issues as     6     Q Are you familiar with something called the
 7   expressed in the reports she has done in the Grace 7      CARD Clinic, the Center for Asbestos-Related
 8   case as completely scientifically unsupportive?     8     Disease?
 9   A. That's a very general question. I think          9     A. Yes, I am. I have been there on a number of
10   there would be some aspects that I would agree     10     occasions.
11   with and some that I disagree. For example,        11     Q Would you generally believe that statements
12   probably the major disagreement as to do with what 12     they make on their website would be truthful and
13   you call pleural disease, and we actually had this 13     accurate?
14   discussion some months back in Washington in       14     A. I've never looked at their website. I would
15   another setting in another context. She does not   15     like to think that they are, but I have no basis
16   like the term "pleural asbestosis", where others   16     to comment one way or the other.
17   of us feel that that's a perfectly appropriate     17     Q The CARD Clinic website says, "Zonolite and
18   view. But I think that's more a semantic issue     18     Monokote are two trade names under which Libby
19   than it is really a major scientific issue.        19     vermiculite products were marketed.
20   Q You certainly wouldn't characterize Dr.          20               There are two overwhelming examples
21   Welch's view on asbestos-related medical issues as21      of the extent to which exposures can spread
22   extremely pro-defendant or not in -- I'll stop     22     through commercial products. Vermiculate
23   there. Extremely pro-asbestos defendant?           23     contaminated with Libby amphibole asbestos was
24             MR. HEBERLING: Objection;                24     used to create Zonolite attic insulation it is
25   overbroad, compound.                               25     estimated to be in thirty million homes.
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 1            ARTHUR L. FRANK, M.D., PH.D.               1              ARTHUR L. FRANK, M.D., PH.D.
 2             THE WITNESS: Well, first of all,          2               The second is Monokote, which is a
 3   I'm aware that Dr. Welch has been involved with     3     huge fireproofing material. It was used to coat
 4   litigation. I do not know and have never seen a     4     all the steel beams that were used in the
 5   list of who she has done work for. Most of my       5     construction of the World Trade Center Towers in
 6   dealings have been such that I would say in many    6     New York City. You don't have --"
 7   aspects we would agree. I would say that with       7     A. I would agree with everything but that
 8   regard to this matter that we're here about         8     last --
 9   today, I take and have some serious                 9               MR. HEBERLING: Just a minute, Nat.
10   disagreements with her construct about some of     10     I'll object to the Witness being questioned on a
11   the materials that are apparently in question.     11     document he has not seen and, secondly, it's
12   BY MR. FINCH:                                      12     highly compound. You read quite a bit of it.
13   Q You certainly wouldn't suggest that the          13     BY MR. FINCH:
14   views that she has expressed on, for example,      14     Q Do you have an understanding that Libby
15   whether or not you need blunting of the            15     amphiboles went into Grace's Monokote product?
16   costophrenic angle to call pleural disease a       16     A. Yes.
17   diffuse pleural thickening that that view is a     17     Q So, anyone who worked around or worked with
18   view that is completely unsupported by any medical 18     Monokote products could be exposed to the Libby
19   literature?                                        19     amphiboles?
20   A. There's medical literature in support of it.    20     A. Yes.
21   There's medical literature that deals with it      21     Q And anyone who worked around or worked with
22   otherwise. And I take that to be as much as        22     Grace's Monokote products that contain Libby
23   anything else, a semantic issue, not an issue of   23     vermiculite, to the extent they contracted an
24   biology. I mean, what you call something, people   24     asbestos-related disease, I take it that your view
25   call things a lot of different things. There's a   25     would be that the exposure to the Libby asbestos

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 1           ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2   in the Monokote could be a substantial              2     diseases aren't different, but the nature of the
 3   contributing factor to causing their disease?       3     exposure is certainly different.
 4   A. Along with all their other exposures to          4     Q Well, the diseases that people in Libby
 5   asbestos, yes.                                      5     suffer are no different than the diseases people
 6   Q It's a cumulative exposure that adds to the       6     outside of Libby suffer; is that correct?
 7   dose that causes disease?                           7     A. It's the same set of asbestos-related
 8   A. Yes.                                             8     diseases.
 9   Q So you couldn't segregate out one exposure        9     Q And the type of asbestos to the extent that
10   as not being responsible and all the rest as being 10     it is Libby amphiboles and people are exposed to
11   responsible?                                       11     the vermiculite in Libby as compared to Libby
12   A. Correct.                                        12     amphiboles that end up in Grace's commercial
13   Q So, would you agree with me, to the extent       13     construction products, the type of asbestos the
14   that there are characteristics of asbestos disease 14     people are exposed to is the same?
15   caused by exposure to Libby asbestos, that may be 15      A. The same asbestos.
16   different from what we have seen in the medical    16     Q So, the only thing that would be different
17   literature, it is the exposure to the Libby        17     between Libby claimants and people who are suing
18   asbestos that may cause those differences and not 18      Grace because they were exposed to Monokote may be
19   the geographic location which the exposure         19     the amount of asbestos they were exposed to?
20   occurred that matters?                             20     A. Or the fact that they have other exposures
21   A. If I understand the question, you're asking     21     or that the intensity of the exposure is less and
22   me if I believe that Libby asbestos, as earlier    22     they have a different response. But the basic
23   defined, regardless of where the exposure takes    23     disease would be essentially the same.
24   place, may, in fact, give rise to some different   24     Q Okay.
25   experiences compared to other types of exposure to 25     A. Or the diseases.
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 1           ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2   other asbestos materials, I would answer yes.       2     Q The diseases would be the same between Libby
 3   Q So, there's not like some kind of magical         3     claimants and other Grace claimants; correct?
 4   shield around Lincoln County, Montana that if       4     A. I mean, we're talking about whatever
 5   people breathed Libby asbestos in Lincoln County, 5       asbestos-related diseases you can get. The
 6   Montana it would cause one set of asbestos          6     nonmalignant diseases or the various malignancies.
 7   diseases, but if they breathe the same Libby        7     So, the diseases are the same.
 8   asbestos in an expansion plant in Michigan or as a 8      Q And the type of asbestos that Libby
 9   result of working on a construction site and        9     claimants were exposed to would be the same as the
10   working with Monokote products, it would cause 10         type of asbestos that other Grace exposure, at
11   different asbestos diseases?                       11     least to the extent you are talking about the
12   A. The diseases are the same. There's some         12     Libby amphiboles and Grace's construction
13   significant differences. People who might work     13     products?
14   with construction materials would be working with  14     A. That's a self-answering question. That's a
15   a variety of materials themselves or be around     15     circular question. To the extent you were exposed
16   others working with other materials and would have 16     to something, you are exposed to it. Libby people
17   a wide range of exposures to asbestos.             17     much less likely would have exposures to other
18            If one is talking about occupational      18     asbestos materials, whereas others would have
19   exposures, we're generally talking about normal    19     had --
20   workday kind of exposure. But living in Libby is   20     Q Exposures to other products?
21   essentially a twenty-four hour, seven day a week   21     A. -- a wider variety of products and a variety
22   exposure, which may be further complicated by      22     of other fibers as well.
23   working directly with the materials or in some     23     Q But you couldn't say that people who lived
24   other way, spending part of your time in an        24     in Lincoln County, Montana are the only people
25   occupational setting with exposure. But the        25     exposed to Libby amphiboles?

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 1          ARTHUR L. FRANK, M.D., PH.D.                 1             ARTHUR L. FRANK, M.D., PH.D.
 2   A. Certainly not.                                   2     one of her reports. This is an ATSDR analysis of
 3   Q So, the thing that might make them different      3     people who lived around expansion plants around
 4   would be the cumulative dose of Libby amphiboles    4     the country that would have received unprocessed
 5   they are exposed to as compared to somebody who     5     vermiculite concentrate from Libby. You haven't
 6   lived in California, for example?                   6     done any analysis to analyze this ATSDR study, I
 7   A. That would be one thing that I would expect      7     take it, if you've never seen it before?
 8   would be different.                                 8     A. Correct.
 9   Q But would you agree with that the a               9     Q Let me see if I understand correctly what
10   cumulative dose of exposure to Libby amphibole     10     you have personally done with respect to the Libby
11   asbestos would depend on the facts and             11     patient cohort. And why don't we get some
12   circumstances of each individual person's          12     definitions out of the way.
13   situation?                                         13     A. Yes, let's get some definitions. What do
14   A. Yes.                                            14     you mean by "Libby patient cohort"?
15   Q So, for somebody who is a hod carrier who        15     Q Would you agree with me that there are a
16   works very closely with someone spraying Monokote, 16     group of people who lived in Lincoln County,
17   which contains Libby amphibole, and does that for  17     Montana, or worked in Lincoln County, Montana who
18   forty years, that person may have a higher a       18     may or likely probably were exposed to Libby
19   cumulative dose of exposure to Libby asbestos than 19     asbestos?
20   someone who has an environmental exposure and      20     A. Yes.
21   lived in Lincoln County for the past twenty years? 21     Q And I have seen in Dr. Whitehouse's report
22   A. You would have to have an assessment of each    22     references to some of the papers Libby claimants
23   case, but one could conceive of such a             23     filed in their brief that the population of people
24   circumstance.                                      24     in Lincoln County is around 9,500 people. Is that
25   Q And so, the thing that -- and you haven't        25     your understanding?
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 1          ARTHUR L. FRANK, M.D., PH.D.                1              ARTHUR L. FRANK, M.D., PH.D.
 2   done that assessment here, you haven't compared 2         A. That's roughly the figure I have. 9,300 I
 3   the exposures of the people that live in Libby to  3      think is what I recall.
 4   the Libby amphibole asbestos as compared to a      4      Q So, if we were to call that the Libby
 5   quantitative basis to the exposures of any of the  5      asbestos exposed cohort --
 6   other hundred thousand other people that are       6      A. Well, except people moved in and out. But
 7   exposed to Grace's Libby asbestos-containing       7      basically there are people who lived there and
 8   commercial products?                               8      have lived there on a regular basis for a long
 9   A. I have not done that in this case, nor have     9      period of time that would be some subset of that
10   I done that in any case I've been involved with.  10      number, but somewhere in that neighborhood.
11   Q And it's probably not even possible to do       11      Q Well, you could be a subset or it could be
12   that; would you agree?                            12      bigger; I mean, the 9,500 is how many people lived
13   A. Not accurately.                                13      there, but it could be people who lived there and
14   Q Let's mark this as the next exhibit.            14      either they died or they moved away, so it could
15                  - - -                              15      be bigger?
16            (Exhibit Frank-10 was marked for         16      A. Right.
17   identification and is attached hereto.)           17      Q So, a rough order of magnitude, there's
18                  - - -                              18      9,500 people that were or could have been exposed
19   BY MR. FINCH:                                     19      to Libby asbestos?
20   Q Dr. Frank, do you have Frank-10 in front of     20      A. At least that number, yes.
21   you?                                              21      Q At least that number. So why don't we call
22   A. I do.                                          22      that the Libby asbestos exposed cohort?
23   Q Have you ever seen this document before?        23      A. You can call it anything you want. It's not
24   A. I believe not.                                 24      the term I would choose to use for that, but,
25   Q Is this something that Dr. Welch cited in       25      okay.

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 1          ARTHUR L. FRANK, M.D., PH.D.                 1             ARTHUR L. FRANK, M.D., PH.D.
 2   Q Well, what term would you choose?                 2     asbestos-related disease?
 3   A. I would say the residential cohort of            3     A. If there is no other known cause in any
 4   Lincoln County.                                     4     given individual, yes, that is the mostly likely
 5   Q Okay; the residential cohort of Lincoln           5     diagnosis. With a reasonable degree of medical
 6   County. And that residential cohort of Lincoln      6     certainty, that would be the correct diagnosis.
 7   County would also include some people who used to 7       Q All right. Do you have Dr. Whitehouse's May
 8   work for Grace at the vermiculite processing plant  8     14th --
 9   or the mine there?                                  9     A. Exhibit Seven.
10   A. Correct.                                        10     Q Yes, Exhibit Seven.
11   Q So, there's a residential cohort of Lincoln      11     A. I do.
12   County that's about 9,500 people; right?           12     Q I take it you have reviewed Dr. Whitehouse's
13   A. Yes.                                            13     May 2009 report as part of your work in this case?
14   Q And then at some point in the past eight or      14     A. Yes.
15   nine years a Government agency came in and did     15     Q And I take it you generally agree with it,
16   screenings of some substantial proportion of the   16     although you didn't write it yourself; is that
17   residential cohort of Libby County?                17     right?
18   A. About sixty-one percent, as I recall.           18     A. Correct.
19   Q And what was the Government agency that did 19          Q In this report, at page thirty-one, the May
20   that?                                              20     2009 Whitehouse report --
21   A. ATSDR.                                          21     A. Yes.
22   Q The ATSDR went in and took x-rays of about       22     Q -- first full paragraph, Dr. Whitehouse
23   6,800 people, thereabouts?                         23     writes, "The CARD Clinic has diagnosed over 1,800
24   A. Something like that.                            24     patients with asbestos-related disease by either
25   Q And what did they find when they did that        25     plane chest x-ray or CT scan."
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 1           ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2   analysis?                                           2     A. Yes.
 3   A. I don't recall the exact number. They found      3     Q "Has confirmed diagnosis on about a hundred
 4   a lot of people with evidence of asbestos-related   4     patients in other areas of the U.S."
 5   disease, some of whom have been former workers,     5     A. Yes.
 6   some of whom were simply environmentally exposed, 6       Q So, we would agree with me if I were to call
 7   some who were family members of workers.            7     those 1,800 people the Libby patient cohort?
 8   Q They found some number between a thousand 8             A. Or the CARD Clinic cohort.
 9   and 2000 people that had evidence of                9     Q Okay; the CARD Clinic cohort. The CARD
10   asbestos-related disease on x-ray at least; is     10     Clinic cohort is a subset of the 9,500 person
11   that correct?                                      11     residential cohort of Lincoln County; correct?
12   A. I don't recall the specific number, but they    12     A. Some of the people would be Lincoln County
13   found some percentage of people. If you tell me    13     representatives, others would be people who have
14   it's between one and 2000, I have no basis to      14     now lived elsewhere who have come back to the CARD
15   disagree with you unless you show me the numbers. 15      Clinic to be examined or seen, plus the hundred
16   Q If we say that all those people have an          16     patients from other parts of the United States.
17   asbestos-related disease, would you agree with     17     So, there would be a large overlap, but it is
18   that?                                              18     not --
19   A. I'll take that as an assumption. You just       19     Q It's not so extensive that --
20   said let's say that they all have asbestos-related 20     A. No.
21   disease.                                           21     Q You would expect there to be a pretty large
22   Q Would you agree or disagree with me that         22     overlap between the 1,800 patients of the CARD
23   someone who has x-ray changes that show either 23         Clinic and the 9,500 --
24   pleural plaques or pleural fibrosis or diffuse     24     A. Right.
25   pleural thickening or asbestosis has an            25     Q -- residential exposed --

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 1           ARTHUR L. FRANK, M.D., PH.D.               1             ARTHUR L. FRANK, M.D., PH.D.
 2   A. A large overlap, but not a complete overlap.    2      Grace bankruptcy trust distribution procedures for
 3   Q Of the 1,800 people that are patients of the     3      the settlement of asbestos personal injury claims?
 4   CARD Clinic, how many of them have you generally 4        A. No, sir. I mean, as I look at this, I've
 5   examined?                                          5      seen pieces of it. I have not seen the whole
 6   A. Personally examined by doing a hands-on         6      document.
 7   exam?                                              7      Q You've seen pieces of it and you are aware
 8   Q Yes.                                             8      that Dr. Whitehouse has opinions about certain
 9   A. I've talked to one individual personally.       9      aspects of the Grace trust distribution
10   Q And how many people's x-rays have you           10      procedures --
11   reviewed?                                         11      A. As do I.
12   A. Probably between hundred and 125, something 12         Q As do you -- medical and exposure criteria;
13   like that.                                        13      correct?
14   Q And how many people's pulmonary function 14             A. Right.
15   tests have you reviewed of that 1,800 people?     15      Q And for purposes of -- we keep calling these
16   A. Some subset of that. A relatively small        16      colloquially TDP. Have you ever been asked to
17   percentage.                                       17      design medical exposure criteria for an asbestos
18   Q Some subset of the 1,800 or some subset         18      bankruptcy trust to evaluate and, if the trust
19   of --                                             19      determines, appropriate to offer a settlement to
20   A. No, of the 125 or so.                          20      resolve personal injury claims?
21   Q So, of the 1,800 of the CARD Clinic patient     21      A. No.
22   cohort, you've looked at x-rays or CT scans of no 22      Q Have you ever been asked to design claims
23   more than 150 of them?                            23      evaluations and settlement procedures for any kind
24   A. That would probably be a fair statement.       24      of asbestos-related disease payment vehicle beyond
25   Q And you've looked at pulmonary function         25      a trust?
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 1           ARTHUR L. FRANK, M.D., PH.D.                1              ARTHUR L. FRANK, M.D., PH.D.
 2   tests of no more than twenty-five?                  2     A. No.
 3   A. Something like that, twenty-five, thirty,        3     Q So, you haven't been asked to create those
 4   forty. I don't know.                                4     criteria for any kind of company that has asbestos
 5   Q And approximately how much time have you 5              liabilities?
 6   spent in the past year either looking at x-rays or  6     A. No.
 7   writing a report or doing anything connected with 7       Q Or a workers' compensation board?
 8   the testimony you're expected to give in the Grace 8      A. No.
 9   case?                                               9     Q Or a Federally administered asbestos disease
10   A. In the last year?                               10     evaluation and payment fund?
11   Q Let's break it down. How about in the past       11     A. No.
12   month?                                             12     Q Prior to this case -- I think I might have
13   A. The past month it would be several hours        13     asked you this, but prior to this case have you
14   reading some of these materials. But I'm just      14     ever reviewed medical and exposure criteria for a
15   trying to think, in the last year it would         15     bankruptcy trust?
16   probably be around twenty to thirty hours.         16     A. Other than this one, no. What I did review
17   Actually, maybe a bit more.                        17     was the criteria under the asbestos bill that has
18   Q Fifty hours tops?                                18     been pending in Congress.
19   A. Not more than that.                             19     Q The so-called Fair Act that was --
20                - - -                                 20     A. The very unfair Fair Act, yes.
21             (Exhibit Frank-11 was marked for         21     Q I would agree with that. But the so-called
22   identification and is attached hereto.)            22     Fair Act that was proposed in various points in
23                - - -                                 23     time during 2002 and 2006 that ultimately was not
24   BY MR. FINCH:                                      24     enacted?
25   Q Dr. Frank, have you ever reviewed the W.R. 25           A. Correct.

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 2   Q You've reviewed the proposed criteria in          2      A. I would think it be appropriate if you are
 3   that bill?                                          3      going to collect money that has been derived from
 4   A. Yes.                                             4      a particular company that you would be able to
 5   Q You have some opinions about certain of the 5            prove that you had exposure to that company's
 6   medical and exposure criteria in the Grace TDP; is 6       product, I take that as a reasonable thing. But
 7   that correct?                                       7      the amount of exposure, as you've already
 8   A. Yes.                                             8      determined in some earlier questions, can be
 9   Q I have read Dr. Whitehouse's reports and          9      anything above background. So, theoretically, one
10   I've read your reports, and I think I understand   10      day of exposure would be relevant.
11   everything that either of you criticized about the 11      Q Do you have any criticisms of the exposure
12   medical and exposure criteria in the TDP, but let 12       criteria for any of the diseases that are listed
13   me just see if I can go through them. What is the 13       on page twenty-four through twenty-seven of the
14   basis for your criticism of the medical and        14      TDP?
15   exposure criteria of the TDP?                      15      A. Well, it says on page twenty-four, Lung
16   A. That I believe some of them are unreasonable    16      Cancer 1, quote, "significant occupational
17   or not supported by good science particularly.     17      exposure", with footnote five, which refers to a
18   Q And your belief that they are unreasonable       18      section that I have no knowledge of. So, I don't
19   is from a medical perspective; correct?            19      know what the definition significant occupational
20   A. Yes. I mean, I'm not going to comment on        20      exposure would be. To me, significant exposure
21   the reasonableness, for example, of the dollar     21      would be, you know, as little as a day of
22   amounts. That's not something I have any           22      exposure. If it requires more than that, I think
23   particular knowledge about. I can have a personal  23      that would be inappropriate.
24   opinion, but I have no expertise or knowledge      24      Q But you haven't expressed that opinion in
25   about how these sums get arrived at. But I think   25      any of the reports that you've written here. I
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 1          ARTHUR L. FRANK, M.D., PH.D.                 1             ARTHUR L. FRANK, M.D., PH.D.
 2   I can comment on the medical reasoning --           2     haven't seen it in Dr. Whitehouse's report, that
 3   Q The medical reasoning behind the medical and 3          you criticize the exposure criteria of TDP?
 4   exposure criteria?                                  4     A. Correct. You're asking me now, I'm giving
 5   A. Correct.                                         5     my opinion now.
 6   Q I haven't seen anyone from Libby, or at           6     Q Well, then let's -- if the medical exposure
 7   least either you or Dr. Whitehouse, criticize       7     criteria in Grace exposure -- why don't we take a
 8   either the diagnostic or exposure criteria for      8     look at 5.7 (b)(3). It's on page forty-two.
 9   mesothelioma; is that correct?                      9              MR. HEBERLING: Nat, at this point
10   A. Well, if you want to go by one by one, we       10     I should inform you that based up the Welch
11   can do that. Well, the diagnosis of mesothelioma,  11     deposition, I think we'll be adding an objection
12   I presume to be a tissue or clinical diagnosis. I  12     to the criteria on the basis that CT scans
13   don't know what Grace exposure is defined by       13     apparently are not permitted for Level IV, so
14   section 5.7 (b)(3) is, so I can't comment on that. 14     you should ask about that as well.
15   Q But you haven't expressed any criticism of       15              MR. FINCH: I will, but let's keep
16   the definition of exposure for any of the disease  16     going.
17   categories in any of your reports; is that         17              THE WITNESS: So, page forty-two,
18   correct?                                           18     significant occupational exposure --
19   A. There is no definition of exposure for          19     BY MR. FINCH:
20   mesothelioma that I see here. I don't see any      20     Q No, no. 5.7 (b)(3), page forty-two, Grace
21   for --                                             21     exposure.
22   Q Well, one of the ways the TDP works, would       22     A. Grace exposure; okay.
23   you agree, is that all of the disease categories   23     Q Grace exposure says, "The Claimant must
24   require Grace exposure, as defined? Do you see 24         demonstrate meaningful and credible exposure to
25   that?                                              25     any asbestos-containing products marketed by

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 1           ARTHUR L. FRANK, M.D., PH.D.                1            ARTHUR L. FRANK, M.D., PH.D.
 2   Grace." Or, in clause two, "Meaningful and          2     not be done by a physician, and that someone,
 3   credible exposure which occurred prior to the       3     perhaps untrained in the science of asbestos might
 4   effective date." That means whenever this           4     be making these adjudications, which I think would
 5   bankruptcy claim gets confirmed "To asbestos,       5     be inappropriate. And I think to have this
 6   asbestos-containing winchite asbestos or            6     specificity of time doesn't reflect what disease
 7   unexpanded asbestos-containing vermiculite ore in 7       people can actually develop.
 8   Lincoln County, Montana or asbestos,                8     Q The cynical occupational exposure
 9   asbestos-containing winchite or                     9     requirement doesn't apply to people who were
10   asbestos-containing vermiculite ore from Lincoln 10       exposed in Lincoln County, Montana; do you
11   County during transfer to use prior to completion 11      understand that?
12   of a finished product and expansion plan." And     12     A. If you tell me that that's what it is, I'll
13   there's no time limit on how long that exposure -- 13     take that to be a given, but I have no basis to
14            MR. HEBERLING: Objection;                 14     understand that, never having seen this before.
15   compound.                                          15     And going back to the next section 5.7 (b)(3), I
16   BY MR. FINCH:                                      16     don't know what "meaningful and credible exposure"
17   Q -- has to be. Do you have any criticism of       17     is, and it may not have a time frame, but I don't
18   that as an exposure criteria for mesothelioma?     18     know what that is.
19            MR. HEBERLING: Objection; vague as        19     Q If you assume that meaningful and credible
20   to what "that" may mean and compound.              20     means any identifiable exposure to asbestos that
21            THE WITNESS: There is no specific         21     someone -- the evidence for which would be
22   time frame, but I don't know what the term         22     something that you could rely on, would that be
23   "meaningful and credible exposure" is. So,         23     sufficient exposure to cause mesothelioma?
24   without a definition of that, see, for example     24               MR. HEBERLING: Objection;
25   the section above has a number and I would         25     misstates the document.
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 1           ARTHUR L. FRANK, M.D., PH.D.                1            ARTHUR L. FRANK, M.D., PH.D.
 2   disagree with the number, for example.              2              THE WITNESS: I think simply living
 3   BY MR. FINCH:                                       3     in Libby is reliance enough; that means you were
 4   Q The number of what?                               4     exposed above background, and if you ended up
 5   A. Five years of "significant occupational          5     with disease, that should be sufficient.
 6   exposure means employment for a cumulative period 6       BY MR. FINCH:
 7   of at least five years". I think significant        7     Q On the next page, forty-three, where it
 8   occupational exposure can occur in a matter of      8     says, "That meaningful and credible exposure
 9   days.                                               9     evidence may be established by an affidavit or
10   Q Do you understand the difference between the 10         sworn statement of the claimant or co-worker by
11   presumptive criteria in the TDP and individual     11     invoices, employment, construction or similar
12   review?                                            12     records or by other credible evidence." That's
13   A. Those are not terms I tend to use. I            13     how it can be established. So, in your view if
14   understand "presumptive criteria" are sort of a    14     someone has an affidavit that says I worked around
15   baseline of what can be applied to lots of people. 15     Grace Monokote for a day, that would be sufficient
16   An individual review by the term, I take it to     16     to cause mesothelioma?
17   mean, applies to individuals.                      17     A. Yes.
18   Q Do you understand that if someone doesn't        18     Q And, similarly, if someone were to submit an
19   meet the presumptive criteria, they can have their 19     affidavit that said I lived in Lincoln County,
20   claim individually reviewed and they could still   20     Montana for a day, and while I was there, I know
21   qualify for a settlement even if they don't meet   21     it was -- you know, I lived there for at least a
22   the presumptive criteria? Do you understand        22     day, that would be sufficient to cause
23   that's the way the TDP works?                      23     mesothelioma as long as there was some evidence
24   A. That, I understand is the process, but my       24     they breathed the air while they were there?
25   understanding is that the individual review need   25     A. Well, unless they were using a scuba pack,

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 2   you know, for all the time that they were there or  2     rather than less certain that a lung cancer was
 3   a respirator, yes. I mean, that's from a            3     caused by asbestos exposure as opposed to smoking,
 4   scientific standpoint. Obviously, issues other      4     what sort of medical criteria would you look to?
 5   than science come into effect when you're putting   5     A. If you have both exposures there's no way.
 6   together documents like this. But if you're going   6     You can't say it was more likely due to one or the
 7   to use a scientific basis to do it, you ought to    7     other, both contributed. That's the only
 8   use the most accurate science, and then other       8     scientifically tenable position. You can't say it
 9   decisions can be made that have nothing to do with  9     is more likely due to this or more likely due to
10   science, but at least science should be accurate.  10     that, and if someone had yet a third carcinogenic
11   Q For purposes of the definition of Grace          11     exposure for lung cancer, you would have to
12   exposure, would you agree with me that there is no 12     include that as well. But there's no way that you
13   minimum time period required in the definition in 13      could discount if someone develops a lung cancer
14   section 5.7 (3)(b)?                                14     had exposure to vermiculite or Libby asbestos,
15             MR. HEBERLING: Objection;                15     whatever term we're using, that it wouldn't have a
16   misstates the document.                            16     role.
17             THE WITNESS: It does not speak to        17     Q So, I take it in your view six months of
18   a time period, but it talks about meaningful and   18     Grace exposure in order to contribute to causing
19   credible exposure, which I don't understand as     19     lung cancer would be medically unreasonable?
20   to what that is without a time frame.              20     A. It's capricious and arbitrary, not backed by
21   BY MR. FINCH:                                      21     science.
22   Q But it doesn't say you have to have six          22     Q Okay.
23   months exposure, five years exposure to be Grace 23       A. Selikoff has data from an asbestos factory
24   exposure?                                          24     that less than a month doubled the risk of lung
25   A. It does not.                                    25     cancer. So, to say you have to have six months,
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 1          ARTHUR L. FRANK, M.D., PH.D.                1               ARTHUR L. FRANK, M.D., PH.D.
 2   Q It doesn't seem to say you have to have a        2       you know, is not grounded in science.
 3   week of exposure, it just says "some exposure"; 3          Q At least if you're evaluating it purely from
 4   correct?                                           4       a scientific basis as opposed to what level of
 5   A. "Meaningful and credible". It doesn't say       5       proof you would need to prove a case in a
 6   some exposure.                                     6       courtroom?
 7   Q It says "meaningful and credible exposure". 7            A. That's a different issue. I mean, that's
 8   A. Whatever that's taken to mean.                  8       what lawyers argue about. I'm a physician and
 9   Q Okay.                                            9       scientist, and I'm being asked to look at it from
10   A. And it's a very vague statement and it         10       that perspective. You know, if somebody
11   obviously can be interpreted many different ways. 11       designated me Czar for the day to create a
12   What might be meaningful and credible to one      12       document, you know, maybe I would do it
13   person may not be to another for different        13       differently, but that's not the part of this
14   reasons, but on a scientific basis, meaningful    14       document that I'm here to talk about, you know, in
15   would be, you know, living one day in Libby.      15       terms of the dollar value or whatever else.
16   Q And also working around Grace construction 16                     I am here to talk about the
17   products that had Libby vermiculite in them for   17       reasonableness of the scientific criteria, and
18   one day?                                          18       then I could make some comments as to, you know,
19   A. Correct.                                       19       what the values are in terms of the relationship
20   Q For lung cancer, you would agree with me        20       to, you know, what it cost to take care of people
21   that things, in addition to asbestos exposure,    21       and is this a reasonable amount of money.
22   cause lung cancer; correct?                       22                It's one of the same criticisms I had
23   A. There are many things that cause lung          23       of the Fair Act, that the upper limits, for
24   cancer.                                           24       example, wouldn't in many cases pay for the cost
25   Q So, if you were trying to be more certain       25       of treatment much less all the other issues that

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 2   are normally thought of with regard to litigation     2     related to work. I mean, it's just a presumption.
 3   over an asbestos malignancy, let's say.               3              Here in Philadelphia I've dealt with
 4   Q So, the criticisms you have the exposure            4     a case of a prison guard with hepatitis C, it was
 5   criteria are that -- what are your criticisms from    5     presumed that he got it at work. That was written
 6   a scientific basis of the exposure criteria for       6     into the criteria. So, you could say that you
 7   any disease other than mesothelioma?                  7     don't need a medical opinion, you know, relating
 8             MR. HEBERLING: Objection;                   8     the two.
 9   compound.                                             9              You can simply say in a similar vein.
10             THE WITNESS: Well, why don't we            10     If you were documentably exposed to Libby asbestos
11   take them one by one.                                11     and developed lung cancer, it's a presumption that
12   BY MR. FINCH:                                        12     it had a role in the development of that lung
13   Q Sure.                                              13     cancer and it wouldn't need medical documentation.
14   A. So, let's take lung Cancer 1. It is               14     You would need the documentation of the exposure
15   unreasonable to consider point number one that you   15     and documentation that that was the disease, but
16   need bilateral asbestos-related nonmalignant         16     you wouldn't need somebody to make that linkage.
17   disease. Again, if you look at the scientific        17     Q But that would be true, not just for people
18   literature, not that there aren't some people that   18     who were exposed to Libby asbestos, that would
19   say that you require evidence of disease of a        19     also include, to the extent there were any Grace
20   different nature, but the vast consensus would       20     claimants who were exposed to the portion of Grace
21   clearly state that it is not necessary to have       21     asbestos-containing products that didn't have the
22   evidence of a nonmalignant asbestos-related          22     Libby asbestos in it, that would apply to them as
23   disease to relate a lung cancer to asbestos. So,     23     well; correct?
24   that is unreasonable.                                24     A. You could make it apply to them as well,
25             The six months criteria is                 25     yes.
                                               Page 63                                                    Page 65
 1            ARTHUR L. FRANK, M.D., PH.D.                1              ARTHUR L. FRANK, M.D., PH.D.
 2    unreasonable. The significant occupational          2      Q So, your view as a medical doctor is anybody
 3    exposure, as defined here, you know, seems          3      who had exposure to Grace asbestos-containing
 4    unreasonable. And it says "supporting medical       4      products, regardless of whether they have Libby
 5    documentation establishing asbestos exposure as     5      amphiboles in it or not and developed lung cancer,
 6    contributing factor", I don't know what that        6      you would presume that the asbestos exposure was a
 7    means. It's not medical documentation. It's         7      contributing factor to the lung cancer?
 8    documentation that you had exposure, which can      8      A. Yes.
 9    come from other than -- I mean, it could come from 9       Q What about --
10    a medical setting in where a doctor says, did you  10      A. The other problem I have with the statement,
11    have such and such exposures, but this being a     11      and it's similar in other statements, "this is a
12    legal proceeding, somebody could write an          12      primary lung cancer". It doesn't define the cell
13    affidavit and that would be documentation of       13      types. Not every primary lung cancer would be
14    exposure if it was, in fact, accurate.             14      asbestos related. There are three cell types that
15    Q Well, one medical documentation could be a 15            I recognize as being related. There are other
16    letter from the doctor saying in my opinion the 16         primary lung cancers that I would not think are
17    asbestos exposure was a contributing factor in 17          asbestos related.
18    causing lung cancer. So, that's --                 18               At least in Lung Cancer 2 the
19    A. It says "establishing asbestos exposure as a    19      statement is "in causing the lung cancer in
20    contributing factor". I mean, if you want to say   20      question", which at least you can read into that
21    that you need such a document, yes, but, again,    21      that it would have to be of an appropriate cell
22    you know, one could take another view of this.     22      type. And in Lung Cancer 1, that's not there.
23    There are other settings in which there's certain  23      Q Well, a lung cancer is whether there is a
24    presumptions. Fire fighters who get heart attacks  24      contributing factor in causing the cancer in
25    in New York City are presumed to have gotten       25      question?

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 2    A. The lung cancer in question; okay. So,            2     A.    Okay.
 3    again, you could write that into the criteria,       3                    - - -
 4    that it was a squamous carcinoma, adenocarcinoma     4               (Whereupon a short break was taken
 5    or small carcinoma, the presumption is that there    5     at this time.)
 6    was a relationship. If it's any other cell type,     6                    - - -
 7    such as a carcinoid or a sarcoma or lymphoma of      7     BY MR. FINCH:
 8    the lung, those would not be related. So, you can    8     Q We were looking at the exposure criteria for
 9    eliminate a lot of the need for review and make      9     lung cancer. Let's go to the Asbestos Pleural
10    this a lot simpler or straight forward if you       10     Disease Level II.
11    wrote more of those criteria into this and, in      11     A. Okay.
12    fact, made certain presumptions. And then           12     Q The Asbestos Pleural Disease Level II, would
13    obviously the question is, you know, where do you   13     you agree with me that that has an exposure
14    want to set the bar? And from a scientific          14     criteria and a medical criteria?
15    standpoint, there's no question that if you're      15     A. It has a medical criteria in item one. It
16    exposed to asbestos and get lung cancer, the two    16     has two exposure criteria. I'm not sure I
17    are related. If you want to put other barriers in   17     particularly understand them. It's a six month
18    there, that means you're keeping people out. It's   18     Grace exposure and for claimants whose Grace
19    the same issue that I found unfair in the Fair      19     exposure is not described in clause two of the
20    Act. There's a certain unfairness to these kinds    20     definition of Grace exposure, which I'm not sure
21    of criteria.                                        21     what that refers to, five years a cumulative
22    Q But the unfairness with respect to these          22     occupational exposure asbestos, which I think is
23    types of criteria, in your view, aren't just        23     totally inappropriate.
24    specific to people who live in Libby, Montana,      24     Q But to the extent it is totally
25    they would apply to all people who were suing       25     inappropriate, it would be equally inappropriate
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 1           ARTHUR L. FRANK, M.D., PH.D.                1               ARTHUR L. FRANK, M.D., PH.D.
 2   Grace?                                              2        to construction workers who were exposed to
 3   A. Agreed.                                          3        Monokote as it would be to people who live in
 4   Q So, there's nothing unequal about the             4        Libby?
 5   treatment of the Libby claimants with respect to    5        A. Correct.
 6   the exposure criteria for lung cancer as compared 6          Q Now, for diagnosis of a bilateral
 7   to other Grace claimants?                           7        asbestos-related nonmalignant disease, the
 8   A. The science is the same. There may well be       8        definition of that is found in footnote four on
 9   some difference between Libby claimants and other   9        page twenty-four. Do you understand that?
10   claimants that go beyond the science. But in       10        A. I do.
11   terms of the science, it is the same. It doesn't   11        Q I didn't see in either your reports or
12   matter where you get exposed or to what the nature 12        Dr. Whitehouse's reports any criticism of the
13   of the asbestos exposure was.                      13        requirements for diagnosing bilateral
14   Q So, to the extent that the exposure criteria     14        asbestos-related nonmalignant disease for the
15   in the TDP are, and this is for mesothelioma and   15        asbestosis pleural disease category; is that
16   lung cancer, to the extent that the exposure       16        correct?
17   criteria in the TDP for mesothelioma and lung      17                 MR. HEBERLING: Objection;
18   cancer are unfair or unreasonable in your view     18        misstates the reports. There's an objection to
19   from a medical science perspective, any            19        use of "bilateral".
20   deficiencies would be the same for Grace claimants20                  THE WITNESS: I don't recall all
21   outside of Libby as for people in Libby?           21        the details of what's in the report.
22   A. To that extent, yes.                            22        BY MR. FINCH:
23   Q Why don't we take a little break. We've          23        Q What if any criticism do you have of the
24   been going for about an hour and twenty minutes. 24          medical criteria for bilateral asbestos
25   I would like to take a five minute break.          25        nonmalignant disease as that criteria is applied

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 2    to the Asbestos Pleural Disease Level II?             2      Q I understand that.
 3    A. The reason for that is, I think, comes from        3      A. It just says CT read by qualified physician.
 4    two directions. One is that I believe the data        4      Yes, that would be appropriate. One zero or
 5    would show that about seven percent of people with    5      higher I agree with. Evidence of bilateral
 6    asbestos-related nonmalignant disease have it         6      plaques, thickening, calcification, et cetera.
 7    unilaterally, so it cuts out those individuals.       7      Again, I don't agree with the bilaterality, but if
 8             I would be happier with something            8      you're going to use that that would be not be
 9    along the lines that if it was bilateral, then,       9      inappropriate. And then the pathology, I'm
10    again, it was presumptive because, for example, if   10      familiar with the pathologic grading system,
11    you look at the ATS criteria, bilateral pleural      11      though, again, I'm not a pathologist and don't use
12    changes is almost always related to asbestos. And    12      it and don't know all the fine points of it, but
13    then if you had only unilateral disease, then you    13      that is another way to establish that.
14    would require careful documentation of no prior      14      Q And for people who have asbestos-related
15    disease or trauma that could explain it leaving as   15      nonmalignant disease, which is pleural disease,
16    the only reasonable explanation the asbestos         16      the medical literature suggests that ninety-three
17    exposure. For example, if someone had had a          17      percent of them would be bilateral and seven
18    unilateral pleural thickening but had a severe       18      percent would be unilateral?
19    trauma in an automobile accident or a knife wound    19      A. Yes.
20    or a gunshot wound, those, then, would perhaps not   20      Q So, to the extent that this criteria were
21    qualify. But even unilateral disease with the        21      designed to identify the vast majority of people
22    exclusion of other causes, there is reason to say    22      with asbestos-related nonmalignant disease, it
23    they shouldn't qualify.                              23      would be appropriate; is that correct?
24    Q So, your only criticisms of the medical            24      A. To the extent it meets that comment you
25    criteria for Asbestosis Pleural Disease Level II     25      made, yes. But it does exclude people, which is,
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 1           ARTHUR L. FRANK, M.D., PH.D.               1                 ARTHUR L. FRANK, M.D., PH.D.
 2   in the definition of bilateral asbestos-related    2         I think, inappropriate. But there needs to be a
 3   nonmalignant disease is that it requires the       3         higher level of proof for documentation if it's
 4   disease to be bilateral; is that correct?          4         unilateral, but that should be considered. It
 5   A. That's the only medical criteria that's         5         shouldn't be it only must be bilateral, otherwise,
 6   there.                                             6         you're out of luck.
 7   Q Well, you don't have any criticism with the      7         Q Well, you understand that if someone doesn't
 8   methods for establishing bilateral                 8         meet these presumptive criteria, they're not out
 9   asbestos-related nonmalignant disease --           9         of luck, they can go and demonstrate, for example,
10   A. Well, I didn't finish reading all of that      10         someone with unilateral asbestos-related disease
11   that.                                             11         could go to individual review and demonstrates
12            MR. BERNICK: Give him some time.         12         exactly what you described as proving that they
13            THE WITNESS: I got halfway through       13         have been an asbestos-related disease?
14   it. But, no, I would say that those are           14         A. But, again, my understanding is the
15   reasonable.                                       15         individual review need not be done by physician
16   BY MR. FINCH:                                     16         knowledgeable about disease and the claims
17   Q So, the criteria for bilateral                  17         examiner who doesn't know that seven percent of
18   asbestos-related nonmalignant disease, other than 18         nonmalignant changes can be unilateral has no
19   the requirement that it be bilateral, the         19         scientific basis to know how to evaluate that.
20   radiographic or pathology criteria or CT criteria 20         Q You don't know what resources the trust will
21   set forth in footnote four you believe is         21         have if a claims handler had a question about that
22   reasonable?                                       22         to ask a doctor; do you?
23   A. Well, there are CT criteria.                   23         A. I do not know.
24   Q Well, the fact that you can qualify by CT.      24         Q And so you can't say how the trust is going
25   A. All right, but there's no criteria.            25         to apply these criteria would be reasonable or

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 1            ARTHUR L. FRANK, M.D., PH.D.               1             ARTHUR L. FRANK, M.D., PH.D.
 2   unreasonable as you're sitting here in the context 2      greater degrees of lung function impairment, the
 3   of --                                               3     2004 ATS document doesn't tell you anything about
 4   A. How it's applied is not a question of it's       4     how to grade people based on how severe their lung
 5   reasonable or unreasonable. That's a different      5     function declined as a result of asbestos-related
 6   question. The question is are the criteria          6     disease?
 7   reasonable or unreasonable, and in some ways as     7     A. Correct.
 8   I'm telling you they are unreasonable. But how      8     Q So, looking at the criteria for asbestos
 9   they are applied is a whole different question,     9     pleural disease on page twenty-six of the TDP.
10   and that may or not be unreasonable, but I don't   10     A. Level III.
11   know the procedures by which that will be done.    11     Q Level III. Would you agree with me there is
12   Q For Asbestos Pleural Disease Level III --        12     a diagnosis requirement which includes either a
13   first of all, you are familiar with the 2004 ATS   13     radiographic or pathology or x-ray evidence?
14   statement on the diagnosis of asbestos-related     14     A. That's redundant; radiographic and x-ray is
15   nonmalignant disease?                              15     the same thing.
16   A. I am.                                           16     Q Excuse me. Radiographic, CT and x-ray
17             MR. FINCH: Can we mark this next         17     evidence?
18   exhibit?                                           18     A. Yes. I mean it's the same --
19                   - - -                              19     Q It's the same as for category two?
20             (Exhibit Frank-12 was marked for         20     A. Presumably, yes. The diagnosis based upon
21   identification and is attached hereto.)            21     footnote four.
22                   - - -                              22     Q So, would it be correct that your only
23   BY MR. FINCH:                                      23     criticisms of the diagnosis of bilateral
24   Q Do you have the 2004 ATS Statement on the 24            asbestos-related nonmalignant disease for Level
25   Diagnosis and Initial Management of Nonmalignant 25       III would be the same as the criticisms you have
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 1          ARTHUR L. FRANK, M.D., PH.D.                 1              ARTHUR L. FRANK, M.D., PH.D.
 2   Diseases Related to Asbestos?                       2     for Level II?
 3   A. Yes.                                             3     A. Yes.
 4   Q And they call them diseases; correct? They        4     Q And then it has an exposure criteria?
 5   divide them into different diseases?                5     A. Correct.
 6   A. Yes.                                             6     Q And your criticism of the exposure criteria
 7   Q Would you agree with me that this statement       7     is, I take it, that in your view the duration of
 8   sets forth recommended criteria for determining     8     exposure is too long --
 9   whether someone has a nonmalignant disease related 9      A. I haven't made that statement, nor did I
10   to asbestos?                                       10     make it with regard to the other statement. We
11   A. Yes.                                            11     didn't discuss the time frame with regard to this.
12   Q Would you also agree with me that the 2004       12     I will grant you -- let me be clear about that.
13   ATS statement doesn't give you any criteria for    13     We didn't discuss time with regard to asbestosis
14   dividing nonmalignant diseases according to        14     or pleural disease. I will recognize that there
15   severity of lung function impairment?              15     is a threshold so that some time might be
16   A. Correct. Either you have the disease or you     16     appropriate -- maybe we did discuss it.
17   don't have the disease.                            17     Q No, you're absolutely correct. Let me stop.
18   Q Right. And if you have the disease, lung         18     We discussed the time requirement with respect to
19   function impairment is not required to have an     19     the exposure criteria for mesothelioma and lung
20   asbestos-related nonmalignant disease; correct?    20     cancer; correct?
21   A. Correct. That's never been the case. I          21     A. Correct.
22   mean, as physicians we can also make the diagnosis 22     Q And it's your opinion that six months
23   even with perfectly normal pulmonary functions.    23     exposure is not necessary to attribute -- six
24   Q And if one of the goals of the TDP is to         24     months asbestos exposure is not necessary to
25   ensure that more money goes to people who have     25     contribute a lung cancer, at least in part, to

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 1           ARTHUR L. FRANK, M.D., PH.D.                1               ARTHUR L. FRANK, M.D., PH.D.
 2   asbestos exposure?                                  2       Q If the five years of occupational exposure
 3   A. I would say a minimum of six months, which       3       doesn't apply to the Libby claimants, would you
 4   is what it says.                                    4       agree with me that six months of exposure to the
 5   Q Right. A minimum of six months is too             5       Libby asbestos is a reasonable judgement as to a
 6   restrictive or it's too difficult to meet;          6       threshold amount, if you will, since you could
 7   correct?                                            7       attribute a nonmalignant disease to exposure to
 8   A. Correct.                                         8       asbestos?
 9   Q And that's true for Libby claimants as well       9       A. It is a number for which there would be no
10   as people outside of Libby?                        10       scientific basis. It is probably not
11   A. Anything we're going to talk about with         11       unreasonable.
12   regard to criteria probably are not going to be    12       Q So, to the extent Dr. Welsh and others hold
13   different for who it is. I mean, if you're         13       the view that for the nonmalignant disease
14   talking about the science, it's the same science.  14       categories, and that would be category Level IV,
15   Q So, now we are looking at nonmalignant           15       severe asbestosis or severe pleural disease, or
16   disease criteria, so I didn't ask you whether or   16       asbestosis pleural disease Level III and then the
17   not you have an opinion about whether the duration17        asbestos pleural disease Level II, a six month
18   of exposure criteria for the nonmalignant disease 18        exposure to asbestos requirement for those
19   is appropriate or not?                             19       diseases is at least not unreasonable?
20   A. You did not.                                    20       A. I would put it to this way, the idea of some
21   Q What is your opinion about whether the           21       threshold is not unreasonable. So, for example,
22   duration of exposure criteria for the nonmalignant 22       someone who spends a day in Libby and has
23   disease is medically reasonable or not for         23       subsequently been shown to develop nonmalignant
24   purposes of the Asbestos Pleural Disease Level II? 24       disease, I would say that that would not be a
25   A. I think the requirement that there be five      25       reasonable relationship unless there were other
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 1          ARTHUR L. FRANK, M.D., PH.D.                   1             ARTHUR L. FRANK, M.D., PH.D.
 2   years of occupational exposure is unreasonable. I     2     exposures to asbestos and in other settings and
 3   do not think it is unreasonable to say that there     3     then you would have on say that one day is
 4   is some threshold and that some judgement should      4     contributed to whatever. What might be different,
 5   be made about adequacy of exposure. The problem       5     and, again, there is no science that will support
 6   with the threshold issue is there is no number I      6     this in a scientifically supportable way, is that
 7   can give you, and if you look at the literature       7     we don't really know given the Libby asbestos
 8   the numbers vary by orders of magnitude as to what    8     material, which is, in fact, a one fiber, one
 9   that number is. But it is not unreasonable to         9     component of which is well-known, which is
10   have some minimal time of exposure to develop --     10     tremolite, but the other fibers the whip winchite
11   Q An asbestos-related nonmalignant disease?          11     and richterite, there is no scientific knowledge
12   A. -- nonmalignant disease. Now, the five year       12     about those and that what I would say, and this is
13   requirement for occupational exposure is             13     -- you know, again, there's different ways to
14   unreasonable.                                        14     handle this. One might say if someone had even
15   Q Okay.                                              15     four months exposure, let's say they lived in
16   A. And if you go to the scientific literature,       16     Libby for four months, subsequently were shown to
17   Selikoff, for example, has papers on short-term      17     have pleural disease, then I would have a higher
18   exposure and the subsequent development of           18     order review to document if they did or did not
19   disease, and even six months of exposure in an       19     have in any documentable exposure to asbestos in
20   occupational setting can give you disease.           20     any other setting; did they work with asbestos,
21            If we had some good number that we          21     did they live near a shipyard, did they live near
22   can go by we could use that, but there is no such    22     another asbestos producing facility, et cetera, et
23   good number. So, again, some judgement is            23     cetera. And that if one could document that the
24   appropriate, but I would disagree with the five      24     only known exposure was being in Libby, because we
25   years of occupational exposure.                      25     don't have good science, it might be four months

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 1           ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2   might be enough anyway, but you could reasonably    2     A. I think the total lung capacity less than
 3   set some minimal number to go by, and six months,   3     eighty percent is reasonable, an FVC less than
 4   for example, would not be unreasonable, and that's  4     eighty and the requirement that the ratio being
 5   just a judgement, there's no science that says      5     greater than or equal to sixty-five is probably
 6   that, but that's not an unreasonable judgement,     6     not supportable. There's no scientific basis to
 7   but allowing for the fact that there may be         7     say that that's a requirement that one should
 8   individual cases, those might go to individual      8     have.
 9   review that if somebody had nonmalignant disease    9     Q What is DLCO, D-L-C-O?
10   with no other exposure except something less than  10     A. Diffusion capacity.
11   six months in Libby, could it be attributed to     11     Q How, if at all, does being a smoker or
12   Libby.                                             12     former smoker impact DLCO?
13   Q So, if you assume that the vast majority of      13     A. It depends. It may impact it not at all.
14   people in the Libby claimant population, and I     14     It may impact it if you have severe emphysema.
15   don't mean people who have sued or otherwise would 15     That would be the only thing that I could relate.
16   sue W.R. Grace and they live in or around Libby,   16     The DLCO isn't even listed here. You know, that's
17   Montana, have at least six months exposure to      17     one of the things -- you know, it's funny, the
18   asbestos, if the six month exposure criteria is    18     tests that are being used are all ones that are,
19   reasonable as to them?                             19     to a certain extent, and people have argued, they
20   A. I would think that reasonable.                  20     are manipulable by the individual. You could work
21   Q And as to other Grace claimants with a six       21     harder or not harder. You could have -- you can
22   month exposure criteria to attribute a             22     make the numbers change. Something like the DLCO,
23   nonmalignant asbestos disease to Grace would be a 23      you have no ability to change that, and yet that's
24   reasonable thing?                                  24     not one of the criteria.
25   A. If it's reasonable for one, it should be        25     Q One of your criticisms in your report
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 1           ARTHUR L. FRANK, M.D., PH.D.               1             ARTHUR L. FRANK, M.D., PH.D.
 2   reasonable for somebody else, too.                 2      relates to the fact that DLCO, by itself, is not
 3   Q So, that would cover the exposure criteria       3      something that could be used to qualify for the
 4   for all the nonmalignant diseases; because would 4        TDP criteria, the requirement impairment?
 5   you agree with me that the exposure criteria for   5      A. Can you show that to me? Or what page are
 6   all the nonmalignant diseases is the same?         6      you talking about where that is what it says?
 7   A. Well, they all talk about six months Grace      7      Q Actually, I'll withdraw the question.
 8   exposure. They don't all talk about the five       8      Frank-4 is your rebuttal to Dr. Welch's report?
 9   years of occupational exposure.                    9      A. Yes.
10   Q Well, they all have the six month Grace         10      Q Do you see that?
11   exposure?                                         11      A. I do.
12   A. Right.                                         12      Q On page two of this you write that you're
13   Q And --                                          13      citing to the Whitehouse 2004 paper. In his
14   A. But they don't all have the five year.         14      paper, Whitehouse describes that in his opinion
15   Q Right. Category two and one don't have the 15           the majority of the 1,500 people who have
16   five years; correct?                              16      radiologic changes of asbestos exposure are at an
17   A. No. Category four and three don't have the     17      increased risk for a progressive loss of lung
18   five years. Only category two has the five years. 18      function from pleural changes alone or from
19   Q For the Asbestosis Pleural Disease Level        19      potential future development of interstitial
20   III, there's also a lung function criteria;       20      fibrosis. Do agree with that?
21   correct?                                          21      A. Yes, I do.
22   A. Correct.                                       22      Q Can you quantify that increased risk?
23   Q What, if any, criticism do you have of the      23      A. No. You know, in the future we can go back
24   lung function criteria for the Asbestosis Pleural 24      and look and see what the rate was, but there's no
25   Disease Level III?                                25      way to predict what that will be, and it's going

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 1           ARTHUR L. FRANK, M.D., PH.D.               1               ARTHUR L. FRANK, M.D., PH.D.
 2   to vary from individual to individual.             2      A. No. What I said was up-to-date of those who
 3   Q Do you hold the view that if someone has         3      have had disease and have died, sixty percent have
 4   nonmalignant -- remember how we talked about the 4        been related to asbestos. So, you can say that it
 5   1,800 CARD Clinic patient cohort?                  5      is likely that many of these people will die, but
 6   A. Yes, sir.                                       6      I can't tell you what the exact percentage is.
 7   Q Of those 1,800 people, do you have any           7      Again, the people who are still alive are the
 8   opinion about how many of them will suffer a       8      survivors and they may die of something else. So,
 9   decline in lung function?                          9      the longer it goes, it may be that they are less
10   A. Well, they will all suffer decline in lung     10      likely to die of an asbestos disease or the longer
11   function, a decline greater than what occurs with 11      it goes it may be that they will live long enough
12   aging, and I can't tell you what the percentage   12      to get the cancers and die of those.
13   would be that will have abnormal declination of   13      Q So, you wouldn't say that it is more likely
14   their lung function. Again, the future will tell  14      than not that every person who has pleural disease
15   us what that number is, but why I certainly can   15      as a result of exposure to asbestos in Libby,
16   agree with the statement, it simply says that     16      Montana is going to die from asbestos-related
17   these people are at an increased risk of          17      pleural disease?
18   progressive loss of lung function, not that any   18      A. I would not be able to say that.
19   one individual will suffer it.                    19      Q And you would not be able to say it is more
20   Q So, you wouldn't be able to say, for            20      likely than not that anyone who has been diagnosed
21   example, a person who has been diagnosed with 21          with pleural disease in Libby, Montana is going to
22   pleural disease in Libby would have a seventy     22      suffer a severe lung decline?
23   percent likelihood of progressing to severe       23                MR. HEBERLING: Objection. Unclear
24   disabling pleural disease that affects their      24      as to whether we're talking about individuals or
25   ability to breathe beyond the normal decline you  25      a group.
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 1            ARTHUR L. FRANK, M.D., PH.D.               1             ARTHUR L. FRANK, M.D., PH.D.
 2   would expect.                                       2              THE WITNESS: Well --
 3   A. No. And nobody has ever said that. Nobody        3              MR. BERNICK: I object to the form
 4   has made that statement. They're just saying that   4     of the question, too.
 5   those people are at an increased risk of            5              MR. FINCH: Let me rephrase the
 6   declination, but not who it will be or what the     6     question.
 7   percentage of them will be. But they are all at     7              MR. BERNICK: There may be other
 8   an increased risk. We won't know until the end of   8     grounds as well.
 9   their lives which ones did or which ones didn't.    9              MR. FINCH: I'll withdraw the
10   Q Dr. Whitehouse has also done something           10     question.
11   called a CARD mortality study?                     11              THE WITNESS: I think I know what
12   A. Yes.                                            12     you're trying to get at, but --
13   Q Of the 1,800 people in the Libby patient         13              MR. BERNICK: There's not a
14   cohort, do you have opinions about what percentage 14     question.
15   of them will die as a result of an                 15              THE WITNESS: But there's no
16   asbestos-related disease?                          16     question pending, so I won't answer it.
17   A. Again, we wouldn't know. To date those          17              MR. FINCH: The question is
18   people that have died represent somewhere, what is 18     withdrawn.
19   it, around sixty percent or so people with         19     BY MR. FINCH:
20   nonmalignant disease have died of an               20     Q I take it, then, that you would not express
21   asbestos-related disease.                          21     an opinion if someone presents with pleural
22   Q But you wouldn't be able to say that based       22     disease as a result of exposure in Libby, Montana,
23   on that that sixty percent of the 1,800 people who 23     and has normal lung function test scores right
24   have been shown to have pleural changes on x-ray 24       now, you wouldn't give an opinion that it's more
25   are going to die of an asbestos-related disease?   25     likely than not that that person is going to die

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 1          ARTHUR L. FRANK, M.D., PH.D.               1               ARTHUR L. FRANK, M.D., PH.D.
 2   from asbestos-related pleural disease?            2       my name to it, yes.
 3   A. Correct.                                       3                       - - -
 4   Q The 2000 ILO Classification document, are       4                 (Exhibit Frank-14 was marked for
 5   you familiar with that?                           5       identification and is attached hereto.)
 6   A. To a certain extent. I've not particularly     6                       - - -
 7   studied it in great detail.                       7       BY MR. FINCH:
 8   Q Are you aware that that document requires       8       Q Frank Exhibit Fourteen, what is that
 9   the blunting of the costophrenic angle before you 9       document?
10   would call pleural changes on x-ray diffuse      10       A. It's an article from Environmental Health
11   pleural thickening?                              11       Perspectives, April 2007, the Sullivan paper
12   A. That is what that document says. Other        12       called "Vermiculate; Respiratory Disease and
13   people have not taken that to be a requirement,  13       Exposure in Libby, Montana, Update of a Cohort
14   but that's what document says.                   14       Mortality Study."
15   Q Can you turn to the 2004 ATS statement?        15       Q Are you familiar with this paper?
16   A. I have it. What page?                         16       A. I believe I am. It's been a while since
17   Q 707. In your view, in order to classify        17       I've seen it, but I have seen it in the past.
18   pleural disease as diffuse pleural thickening,   18       Q What is the difference between a cohort
19   does the ATS statement require blunting of the   19       mortality study and a case control study?
20   costophrenic angle?                              20       A. A cohort mortality study is a defined group
21   A. It's not very well written, but one could     21       that you follow over time. A case control study
22   interpret that it does say that.                 22       is a collection of cases, not necessarily
23            MR. BERNICK: I'm sorry; could I         23       requiring a control.
24   have that last question read back?               24       Q And what is a series of case reports?
25                - - -                               25       A. It's a series of case reports. You can make
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 1           ARTHUR L. FRANK, M.D., PH.D.               1             ARTHUR L. FRANK, M.D., PH.D.
 2             (Whereupon the preceding question        2     decisions based on a series of case reports. You
 3   was read back.)                                    3     don't always need epidemiological data, but it's a
 4                - - -                                 4     different kettle of fish.
 5             MR. FINCH: Why don't we take a           5     Q Would you agree with me that Dr.
 6   break.                                             6     Whitehouse's 123 patient progression study that he
 7                - - -                                 7     describes in his 2004 paper is not a cohort study?
 8             (Whereupon a short break was taken       8     A. Is not a cohort study.
 9   at this time.)                                     9     Q And it is not a case control study?
10                - - -                                10     A. He doesn't have controls. I mean, he has
11             (Exhibit Frank-13 was marked for        11     controls for the pulmonary function value, but he
12   identification and is attached hereto.)           12     didn't go out and a control for every patient.
13                - - -                                13     Q And how would you describe that paper?
14   BY MR. FINCH:                                     14     A. A descriptive epidemiological study.
15   Q Dr. Frank, Exhibit Thirteen, is that the        15     Q And what is a descriptive epidemiological
16   article that you co-authored with Laura Welch and 16     study?
17   a bunch of other people?                          17     A. It's a study that looks at a group of
18   A. Co-authored in a sense, to be honest, Laura    18     individuals and describes what occurs in that
19   wrote it, sent it around, we all made whatever    19     group.
20   comments we wanted to make and then fifty-one of 20      Q Does that descriptive epidemiological study
21   us, I believe, signed on.                         21     allow you to make comparisons as between that
22   Q So, you have reviewed it and you agreed with 22        group and other cohorts?
23   the opinions and the statements as expressed in 23       A. Well, first of all, it's not a cohort.
24   the final document?                               24     Q Other groups of people?
25   A. Correct. To the extent that I agreed to put    25     A. It may or may not. It depends on what is

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 1           ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2   being studied and what the other comparisons are.   2     A. On average, of course.
 3   Q You weren't involved in Dr. Whitehouse's          3     Q And, in general, would you agree that the
 4   2004 paper?                                         4     greater the asbestos exposure you have, the more
 5   A. I was not.                                       5     likely it is you are to suffer an asbestos-related
 6   Q Were you involved in any way in his 2008          6     nonmalignant disease?
 7   paper on mesothelioma?                              7     A. Yes.
 8   A. I mean, I had nothing to with writing it or      8     Q Would you agree with me that the more
 9   anything like that. I can't remember if I was a     9     exposure you have, the more likely you are to
10   reviewer for the journal or not. I review so many  10     suffer a lung function decline as a result of
11   articles, I can't remember if I did or did not     11     nonmalignant asbestos disease?
12   review that, or if I just saw it when it came out. 12     A. That is probably true, yes. That's not
13   Q What's a longitudinal study?                     13     really been studied directly. There's no
14   A. A longitudinal study is a study following       14     literature that I'm aware of saying that depending
15   individuals over time or -- that's really a cohort 15     on how much exposure you have, usually it's
16   study. A longitudinal study is looking over time   16     related to some surrogate of that, such as
17   at a population experience with disease. So, you   17     advanced abnormalities on x-ray which tend to
18   might, for example, take a factory and look at all 18     occur with greater exposure rather than a question
19   the workers in 1950 and then look at the workers   19     of lung function versus exposure.
20   again in 1955 and, again, in 1960. That would be   20     Q Diffuse pleural thickening, would you agree
21   a longitudinal study. It's not that you would      21     with me that diffuse pleural thickening is an
22   necessarily have the same workers there at each    22     asbestos-related disease that occurs outside of
23   point in time.                                     23     Libby, Montana?
24   Q For the 1,800 CARD Clinic patients, living       24     A. Certainly.
25   patients, would you agree with me that nowhere in 25      Q And in cohorts of people with pleural
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 1            ARTHUR L. FRANK, M.D., PH.D.               1             ARTHUR L. FRANK, M.D., PH.D.
 2   any of Dr. Whitehouse's reports does he report      2     disease, approximately nine to twenty percent
 3   what percentage of those people currently are       3     typically have diffuse pleural thickening as
 4   suffering from any kind of lung function            4     compared to pleural diseases not pleural
 5   impairment?                                         5     thickening?
 6   A. I don't recall that there is a published         6     A. I have not studied that, so I can't tell you
 7   document as to what percentage of those 1,800 have  7     that I know that that number is correct.
 8   pulmonary function impairment.                      8     Obviously you get a larger number with discrete
 9   Q Have you done any kind of analysis to             9     disease compared to diffuse disease. But I don't
10   compare the exposure histories and the amount of 10       know what the exact number would be.
11   asbestos exposure which 123 patients in the 2004 11       Q Are you familiar with Ruth Lillis 1991 --
12   paper experienced as compared to the 800 people in 12     A. Right, it's eighty/twenty percent; eighty
13   the Libby patient cohort?                          13     and twenty in there.
14   A. Nobody has done that. It's all descriptive.     14     Q And that paper also demonstrates, does it
15   It's not quantitative in terms of their exposure.  15     not, that of the people -- that the diffuse
16   And the best you can do is quantify them by        16     pleural thickening, the people tend to suffer much
17   various groupings. Employees of Grace, family      17     more significant lung function declines than the
18   members of Grace, community exposure, but, again,  18     people that don't have diffuse pleural thickening?
19   there's no documentation or measurements that      19     A. Yes, as a general proposition. But it also
20   would apply to any one of those individuals as to  20     points out that you can't go by the amount of
21   exactly how much exposure they had.                21     disease to correlate with how much abnormal
22   Q Would you agree with me that in general the      22     pulmonary function she had. She had no
23   people who worked at the Grace mine had, on        23     significant difference of the group, for example,
24   average, significantly higher exposure to asbestos 24     of diffuse pleural disease. There was no
25   than the community exposures?                      25     significant difference between those that had a

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 2   lesser amount compared to those that had a greater  2      remember I said that this morning.
 3   amount.                                             3      Q So the answer is "yes"?
 4   Q But there was a big difference between            4      A. Yes.
 5   people who had diffuse pleural thickening as to     5      Q Now, does that mean when something had
 6   people who had pleural disease that wasn't diffuse 6       reasonable scientific basis, does that mean it is
 7   pleural thickening?                                 7      the only reasonable -- the only scientific answer?
 8   A. There was a difference, yes.                     8      A. I don't understand the question.
 9   Q In terms of their lung function declines?         9      Q Well, if you say that something does or does
10   A. Yes.                                            10      not have a reasonable scientific basis, does that
11   Q All right. Why don't we mark that paper for      11      mean that that thing, whatever it is, that
12   the record, so the record is clear what we're      12      opinion, is the only answer that can be reached
13   talking about. I know what you're talking about    13      scientifically?
14   and you know what you know what you're talking 14                    MR. HEBERLING: Objection; unclear.
15   about, but let's mark it.                          15                THE WITNESS: Science can be looked
16                  - - -                               16      at in many ways. You will also recall from my
17            (Exhibit Frank-15 was marked for          17      answers that there were things that I opined
18   identification and is attached hereto.)            18      that I said there was no basis in science to say
19                  - - -                               19      that.
20   BY MR. FINCH:                                      20      BY MR. BERNICK:
21   Q Frank-15, is that the Lillis paper of 1991       21      Q We're going to get to that.
22   that you were thinking of when I asked you         22      A. But for those things that there was a
23   questions about --                                 23      scientific basis, I guess one could read the
24   A. Yes, it is.                                     24      science differently. But I was offering my
25   Q -- the impact of diffuse pleural thickening      25      opinion that I didn't think there was a reasonable
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 1           ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2   on lung function?                                   2     scientific basis to make some of those judgements.
 3   A. Yes.                                             3     Q For something in your view, when you use the
 4   Q All right.                                        4     terms, for something to have a reasonable
 5             MR. FINCH: I'll pass the Witness.         5     scientific basis, does it mean that it must be the
 6                  - - -                                6     best scientific answer?
 7             (Whereupon a short break was taken        7     A. Ideally, science should be done with the
 8   at this time.)                                      8     best scientific answer, but you could use other
 9                  - - -                                9     answers or interpret the material in different
10                  EXAMINATION                         10     ways. Certainly scientists interpret information
11                  - - -                               11     differently, so one could come to a different
12   BY MR. BERNICK:                                    12     conclusion.
13   Q We are back on the record. My name is David 13          Q You've used the terms here expressing your
14   Bernick, and I represent W.R. Grace in connection 14      opinions for something to have a reasonable
15   with its bankruptcy, and I'll be asking you some   15     scientific basis does that mean that it must be
16   questions here as we go forward probably for the 16       the best scientific answer?
17   next couple of hours. I listened pretty carefully  17     A. That is not how I used it. If you ask me
18   this morning, Dr. Frank, to your testimony and I   18     would I think that that's appropriate, I think if
19   heard you make statements or offer opinions to the 19     one is going to make a scientific judgement, one
20   effect that something did not have a reasonable    20     should use the best science available. Does that
21   scientific basis. Do you recall offering opinions  21     mean that doctors might not differ in their
22   that something was, it usually was some aspect of 22      interpretation of what the science says, certainly
23   the TDP, did not have a reasonable scientific      23     that can occur.
24   basis?                                             24     Q I appreciate these answers, and you are
25   A. My short-term memory works well enough to       25     being responsive, but let me be clear about what

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 2   I'm getting at. You're offering opinions in the    2       A. Well, you are interrupting me in my answer.
 3   case; right?                                       3       Q No, I'm trying to get an answer to the
 4   A. Yes.                                            4       question that I've asked.
 5   Q And we want to know what the basis for your 5            A. And I'm trying to give you that answer. You
 6   opinions is and we also want to know what tests or 6       have an automobile wreck and you get your car
 7   standards you apply in expressing an opinion. So, 7        fixed and you get it painted, and you notice that
 8   my questions are all designed to found out what    8       there's blemishes in the paint job. Now, is it a
 9   tests or standard you apply when you offer an      9       reasonable paint job? That's a value judgement.
10   opinion.                                          10       You may say, gee, they could have done it better
11   A. It depends on the issue involved.              11       and they could have gotten it completely correct
12   Q I haven't asked you a question yet,             12       or, you know, it's not quite right, but is it
13   Dr. Frank. So, I'm now going to refer back to the 13       reasonable? That's a value judgement. And you'll
14   testimony that you offered this morning. This     14       say, yes, I'll take the car or you'll say, no,
15   morning you offered testimony that something did 15        that's not reasonable because it's not as good as
16   or did not have a reasonable scientific basis.    16       it could be. And I think the analogy holds.
17   Those were your words.                            17       Q Are you done?
18   A. Yes.                                           18       A. Yes.
19   Q And my question is, for something to have a 19           Q So, when you say that something does or does
20   reasonable scientific basis, must it be the best  20       not have a reasonable scientific basis, that
21   scientific answers, that test that you applied?   21       represents a value judgement on your part; fair?
22           MR. HEBERLING: Objection; asked           22       A. In part it's a value judgement and in part
23   and answered.                                     23       it's a basis of what the scientific literature
24           THE WITNESS: I would think, yes.          24       says you can say.
25   BY MR. BERNICK:                                   25       Q Ultimately when you offer the opinion that
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 1           ARTHUR L. FRANK, M.D., PH.D.                 1             ARTHUR L. FRANK, M.D., PH.D.
 2    Q So, if a scientific proposition or any kind       2     something does or does not have a reasonable
 3    of proposition within your area of expertise is     3     scientific basis, you are making, you, yourself,
 4    not the best scientific answer, then in your view 4       are making a value judgement; correct?
 5    it does not have a reasonable scientific basis; is 5      A. It's not a value judgement so much as basing
 6    that correct?                                       6     it on the science as I understand it and as a
 7    A. It may have a scientific basis, but it           7     scientist I would like to get the best answer, so
 8    certainly isn't the best basis. It's a              8     I would like that paint job to be properly done,
 9    question --                                         9     not that it is unreasonable to have a few
10    Q I didn't ask that. I'm asking for the words      10     blemishes.
11    "reasonable scientific basis". For something to 11        Q I'm just using your analogy. Under your
12    have a reasonable scientific basis must it be the 12      analogy the paint job could have blemishes and it
13    best scientific answer?                            13     could still be reasonable?
14    A. I think it is the most reasonable.              14     A. For some people it could be if they don't
15    Q So, "reasonable" means "most reasonable"? 15            want to use the best scientific evidence
16    A. Let me give an analogy back.                    16     available.
17    Q Can you just answer the question?                17     Q And for everybody who makes a judgement
18    A. No, no, no. I'm trying to explain my            18     about whether something is reasonable, there's a
19    answer.                                            19     value judgement that's involved; correct?
20             MR. HEBERLING: Let him explain his        20     A. That's probably true.
21    answer.                                            21     Q And when you make judgements about what is
22             THE WITNESS: I want to explain my         22     scientifically reasonable, I take it your test of
23    answer.                                            23     what is scientifically reasonable is the test of
24    BY MR. BERNICK:                                    24     whether the judgement is the best scientific
25    Q Well, first of all, lower your voice --          25     answer?

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 2   A. Based upon the science that is out there,       2      also talked about things being not scientifically
 3   yes.                                               3      unreasonable. You've offered opinions this
 4   Q Now, would you agree with me that different      4      morning that something is not scientific --
 5   scientists who are expertly qualified in your      5      A. Correct.
 6   field could have different answers as to what is   6      Q -- reasonable.
 7   the best scientific result?                        7      A. The six months of exposure, for example.
 8   A. From a value standpoint, yes. From a basis      8      Q Well, whatever it is, you've offered --
 9   of science, then the science has to be supportive  9      A. Not whatever it is. That was the issue I
10   of it.                                            10      offered it about.
11   Q But the same science can be viewed by           11      Q You offered it about others as well. But
12   experts within your field to support different    12      when you use the words "not scientifically
13   judgements; correct?                              13      unreasonable", does that mean that it must be the
14   A. Yes.                                           14      best scientific answer?
15   Q Not everybody who is an expert in your field 15         A. It either means it's the best answer or
16   completely agrees about what the right scientific 16      there is no scientific basis to come up with
17   answer is; correct?                               17      another answer that is more or less reasonable.
18   A. That applies to most things in life.           18      Q So, that represents, then, a different kind
19   Q And it applies to your discipline in            19      of judgements that you're making?
20   particular; correct?                              20      A. That's correct.
21   A. Yes.                                           21      Q When you say that something is not --
22   Q So, when you say that something does or does22          A. When there is no science, it's a different
23   not have a reasonable scientific basis, do you    23      judgement.
24   recognize others within your field could disagree 24      Q I try not to interrupt you. Please just
25   with you about what is a reasonable -- what does 25       don't interrupt me until I finish my question; is
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 1            ARTHUR L. FRANK, M.D., PH.D.               1             ARTHUR L. FRANK, M.D., PH.D.
 2    or does not have a reasonable scientific basis? 2        that all right?
 3    A. Of course they could disagree with me, but      3     A. Yes.
 4    then I would also like to see the science that is  4     Q Thank you. So, when you're making the
 5    supportive of their judgement.                     5     judgement that you offered this morning, that
 6    Q Right. But even when you see the science, 6            something is not scientifically unreasonable, that
 7    they may not agree with you on it; correct?        7     is a judgement that you're making where the test
 8    A. Well, then the science will speak for           8     is not whether it is the best scientific answer,
 9    itself. They might not agree with it, but one of   9     but whether it is the only scientific answer?
10    the nice things about science is that there is    10     A. No, it's still --
11    some truth to it.                                 11     Q What's the difference? Explain in your own
12    Q But in your view for something to have          12     words.
13    reasonable scientific basis, it must be the       13     A. When there is no scientific basis, then one
14    correct scientific answer; correct?               14     can make a judgement that is reasonable, but which
15    A. As close to correct as you can get it to be.   15     is unsupported by the science, and I guess you
16    Q Now, I take it, then, that when you say that 16        could say it's still the best, but then you could
17    something does or does not have a reasonable 17          quibble over, to use the example we used this
18    scientific basis, it's not good enough for that   18     morning, six months, could it be four months,
19    thing, that opinion, to have a scientific basis,  19     could it be seven months, could it be six months
20    it must be the best scientific basis; correct?    20     and three days, that sort of quibbling. There's
21    A. Correct, because there is also bad science     21     some things where there is no scientific basis
22    out there and to base your judgement on bad       22     that you can point to, then it is still a
23    science, which is still science, is not correct.  23     reasonable judgement and as good as any other
24    Q So, when you've offered the opinions that 24           judgement. So, there's none that would be better.
25    you've -- I'll get to that in a minute. You've    25     Q Under those circumstances, what's the test

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 2    for reasonableness?                                  2     that unbalanced there's enough there yet because
 3    A. If it has some basis in science that can be       3     there's pieces that are missing from that
 4    applied to it.                                       4     discussion that allows me to make a judgement.
 5    Q What does it mean to say that it has some          5     Q So, where you don't have a study on point,
 6    basis in science that can be applied to it?          6     you can't offer a view about whether something
 7    A. To say that five years of occupational            7     does or does not have a reasonable scientific
 8    exposure is necessary to produce pleural disease     8     basis, you have to go back to your other metric,
 9    is not grounded in science, because there's          9     which is to say that something may or may not be
10    nothing that says that that's what's required.      10     scientifically unreasonable; fair?
11    And first of all, it doesn't require occupational   11     A. That's too simplistic a way of putting it,
12    exposure, one, and, two, it doesn't necessarily     12     but that is one way you could put it.
13    require five years. One can have shorter periods    13     Q Now, what if people disagree about whether
14    of exposure and still develop disease, and so you   14     something constitutes a study that really
15    look to what is there in the literature. And then   15     addresses the question at issue?
16    on that particular subject, which is what we were   16     A. That happens all the time.
17    talking about, there is fairly little that will     17     Q And people in your field and the areas that
18    address that. And what was reasonable would be      18     we're talking about here sometimes have reasonable
19    something like six months, though, again, I         19     views about whether something constitutes the type
20    qualified that with some discussion about other     20     of study that can provide a reasonable scientific
21    ways to deal with it, but it was not an             21     basis or not; correct?
22    unreasonable construct. Could you say that seven    22     A. Sometimes they do. More often they are
23    months would be better or five months would have    23     unreasonable views, but that's a different issue.
24    been better? Again, there's no basis. But I gave    24     Q Well, you agree with me just in a very
25    a judgement that was the best that I could do       25     simple fashion that the views that you're
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 1           ARTHUR L. FRANK, M.D., PH.D.               1                ARTHUR L. FRANK, M.D., PH.D.
 2   given that there was no science.                   2        expressing about whether something does or does
 3   Q Under those circumstances, where you're          3        not have a reasonable scientific basis or whether
 4   saying that it's not scientifically unreasonable,  4        something is or is not scientifically
 5   would you agree with me that other reasonable      5        unreasonable, they're going to be experts in this
 6   scientists might differ with you about your        6        case who disagree with you; correct?
 7   opinion?                                           7        A. There's already experts who disagree with
 8   A. Yes.                                            8        me.
 9   Q And let me ask you this, going back to those 9            Q Right; we know that.
10   views where you said that something does or does 10         A. We know that, so that's a given.
11   not have a reasonable scientific basis, I take it 11        Q And they are experts that you regard, at
12   that when you talk about basis there, you mean    12        least in the case of Dr. Welch, as being a highly
13   some scientific study that actually addresses the 13        qualified expert person in her field, indeed in
14   issue as to what you're offering an opinion?      14        your field; correct?
15   A. Yes.                                           15        A. You're putting words in my mouth that I
16   Q What kind of study does it have to be?          16        didn't use.
17   A. It depends on what the issue is.               17        Q Well, I'm just asking you -- that's the
18   Q Well, but --                                    18        whole idea of leading questions, which are
19   A. It could be an animal study. It could be a     19        permissible for adverse witnesses as you well
20   cohort study. It could be a series of cases. It   20        know. So, yes, I'm putting words in your mouth.
21   depends on what the question is and the level of  21        I'm asking whether you agree or not.
22   scientific information you are required to make a 22        A. Well, first of all, I don't know that
23   judgement. For example, with the issue of the     23        because I'm not schooled in the law. I have done
24   different potency of fibers, there's a lot of     24        a fair number of depositions, but, you know --
25   information about that, and I just don't think    25        Q What's a fair number?

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 2   A. Thousands.                                       2      A. Correct.
 3   Q That's an overwhelming number of                  3      Q And no one would expect that you would;
 4   depositions; right?                                 4      right?
 5   A. People can disagree on that.                     5      A. I don't know. Some people might.
 6   Q Are you going to quibble with me about that       6      Q All right. Mr. Heberling, he agrees with
 7   or would you just -- that's an easy one.            7      every word that you speak; right?
 8   Overwhelming number of depositions.                 8              MR. HEBERLING: Objection.
 9   A. Compared to what most physicians do, that's      9              THE WITNESS: I doubt that.
10   an overwhelming number.                            10              MR. HEBERLING: Argumentative.
11   Q It probably sets a record, in fact. Is           11              MR. BERNICK: Well, of course it's
12   there any other expert that you know who has       12      argumentative. Cross-examinations are always
13   testified in depositions as much as you have?      13      argumentative, Mr. Heberling.
14   A. I don't keep track of how many times            14              MR. HEBERLING: Depositions need
15   people --                                          15      not be excessively argumentative.
16   Q Are you aware of one?                            16              MR. BERNICK: Well, I don't think I
17   A. I've never looked into the issue.               17      was being excessively argumentative.
18   Q I didn't ask you that. I asked, are you          18      BY MR. BERNICK:
19   aware of one?                                      19      Q Dr. Frank, do you consider yourself to be an
20   A. No, I'm not.                                    20      expert?
21   Q Thank you. So, if you go back now to the         21      A. No, I do not. I'm someone who has a certain
22   disagreements that you have with Dr. Welch in this 22      expertise and has spent forty years of his
23   case, you would recognize that she is an expert in 23      professional career studying the subject of
24   your field; correct?                               24      asbestos. I do not call myself an expert.
25   A. She is someone who is experienced in this       25      Q You've never called yourself an expert in
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 2   field. Expert, again, is a designation I take by    2     any context outside of court?
 3   the court.                                          3     A. No.
 4   Q I've heard that. I don't buy that.                4     Q Is my statement accurate?
 5   A. What do you mean? You can buy it or not.         5     A. I have never called myself an expert in
 6   She has expertise beyond what most physicians do    6     anything.
 7   about this topic.                                   7     Q Outside of court?
 8   Q And on that basis, would you consider her,        8     A. Outside of court, I don't believe so. Not
 9   in your own view, Dr. Frank, to be an expert? I'm 9       that I can recall.
10   just asking for your scientific view of her as an  10     Q You are certainly aware that a lot people in
11   expert?                                            11     lay terms talk about somebody being an expert;
12   A. I don't use the term "expert". I really         12     correct?
13   have segregated that in my mind to what court's    13     A. Absolutely.
14   do. Does she have a special experience and         14     Q You also are aware that there are many,
15   expertise and do I value what she says? Certainly  15     many, many, many scientists who from their own
16   more than I would for other physicians and in most 16     point of view as scientists talk about themselves
17   --                                                 17     as being experts; correct?
18   Q Dr. Frank -- I'm sorry.                          18     A. I'm not one of them.
19   A. And in most ways I have agreed with her         19     Q I didn't ask you that.
20   enough of an agreement to sign onto a paper that   20     A. There are such individuals.
21   she was the senior author of. That doesn't mean    21     Q There are many such individuals; correct?
22   we agree about everything.                         22     A. I've never done a study as to how many do
23   Q The issue is not whether -- I know that,         23     that.
24   that's where I'm going. Obviously you don't agree 24      Q You can't make any statement about whether
25   with Dr. Welch about everything; right?            25     there's a lot of those people out there?

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 2    A. Frankly, most scientists do not call               2     Q Now, so we have a situation where -- and you
 3    themselves an expert.                                 3     would, again following those same conventions, you
 4    Q Well, in point of fact, there are ways of           4     would be called an expert, too; correct?
 5    qualifying as having expertise in given fields        5     A. I would expect that would be the case.
 6    scientifically; correct?                              6     Q And would you agree with me, we now have a
 7    A. Yes.                                               7     situation where we have two different scientists,
 8    Q A, they have an education that's                    8     both of whom would be called experts based upon
 9    appropriate; right?                                   9     scientific convention who in this particular
10    A. True, or board certification or advanced          10     situation with these particular issues that we
11    training or series of publications, or whatever.     11     have before us disagree about whether something
12    Q Right. There are lots and lots of things           12     has a reasonable scientific basis; correct?
13    that scientifically can give rise to the             13     A. So it seems.
14    scientific notion that somebody is an expert in a    14     Q Now, is there any scientific criteria on the
15    certain field; correct?                              15     basis of which any well-established convention of
16    A. Yes.                                              16     science that says that you are right and she is
17    Q And based upon those different things, do          17     wrong in making these fundamental judgements?
18    you consider yourself to be an expert in your        18     A. Science doesn't work that way.
19    field?                                               19     Q So, if we now go to another question,
20    A. I am someone who has a certain expertise and      20     another series of terms that you've used, you said
21    experience and a lot of knowledge, but I would not   21     something is reasonable for nonscientific reasons.
22    use the term "expert" to describe myself.            22     Do you remember saying that?
23    Q I didn't ask you that.                             23     A. I don't specifically recall the context of
24    A. Others are very likely to call me an expert.      24     that. If you put down that I said it, there's
25    Q And that's something that's not surprising         25     probably a context in which I said it. At the
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 1           ARTHUR L. FRANK, M.D., PH.D.                1                ARTHUR L. FRANK, M.D., PH.D.
 2   because there are, in fact, conventions, rules,     2        moment, I don't recall that.
 3   expectations in the scientific community on the     3        Q But what is the test for something that's
 4   basis of which people refer to one another as       4        reasonable for nonscientific reasons?
 5   being experts or not being experts; fair?           5        A. I'll go back to my painted car analogy.
 6   A. I would generally agree with that statement.     6        What is reasonable to different people or
 7   Q Now, based upon those same conventions of         7        different car owners will vary depending on
 8   your particular field, do you regard Dr. Welch as   8        whatever sense they bring to it. Somebody will
 9   being an expert in your field?                      9        accept a paint job that somebody else might not.
10   A. Dr. Welch has far more expertise and            10        Q Well, what's the test? I mean, you just
11   experience in this area, and if one wants to use a 11        stated that people have different opinions. We
12   lay term that is commonly used, one could use the  12        know we have different opinions --
13   term "expert", but it is not one I would choose to 13        A. The test is whatever people bring to that
14   use to describe others of my colleagues.           14        issue.
15   Q You wouldn't describe any of your colleagues 15            Q So, it's purely subjective?
16   as being experts because you described yourself as16         A. In some cases it's subjective. On the other
17   being an expert; correct?                          17        hand you could actually go measure as to what
18   A. That's right.                                   18        percentage of the car was properly painted and if
19   Q But I'm saying, if you followed the              19        the contract says we will paint your car to within
20   conventions that scientists in your area use when 20         ninety-eight percent of covering all of the
21   they refer to somebody as being an expert or not, 21         surface of the car, then you can do an actual
22   would you agree that Dr. Welch, following those    22        measurement.
23   conventions, is an expert in your field?           23        Q Well, there you would have a legal notion,
24   A. If one followed those conventions, it is        24        which is what's in the contract and then you would
25   likely she would be called an expert.              25        have a scientific methodology that's used to apply

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 1            ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2    it; right?                                          2     Trust Distribution Procedures. Do you remember
 3    A. That would apply in that case.                   3     that?
 4    Q So, in that case you're talking about             4     A. I do.
 5    something that is reasonable for legal and          5     Q In fact, you went through and offered a
 6    scientific reasons; correct? So, I'm not talking    6     whole bunch of opinions on trust distribution
 7    about that situation. I'm talking about something 7       procedures this morning; correct?
 8    where, as you put it, something is reasonable or 8        A. Yes.
 9    not reasonable for nonscientific reasons what is 9        Q Now, is there anything in the science that
10    the test of that?                                  10     tells us what is the right standard to use in
11    A. The test of that would probably lie in the      11     expressing opinions about trust distribution
12    eye of the beholder and who is making the          12     procedures?
13    judgement and what the purpose of that might be.   13     A. Science doesn't address those issues.
14    Q Then you also had a statement and opinions 14           Science addresses the issues of science, how they
15    saying something is or is not supported. Do you 15        are then utilized in another setting, certainly
16    remember that?                                     16     can lead, apparently is present in this case, to
17    A. Yes.                                            17     vastly different opinions.
18    Q What's the test of whether something is or 18           Q Well, there is nothing in the TDP that says
19    is not supported?                                  19     it's the best scientific answer; is there?
20    A. If there is something in the scientific         20     A. It doesn't speak to the quality of science.
21    literature that you can point to that's of good    21     Q Right. And, therefore, when it comes to the
22    scientific quality that is something one can point 22     TDP itself, there's not in science that you can
23    to say this is a reasonable position to take based 23     look to that says this is how a scientist should
24    upon the scientific evidence.                      24     go about assessing it; is there?
25    Q Is that different from reasonable scientific     25     A. Scientists can't address the procedural
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 1          ARTHUR L. FRANK, M.D., PH.D.               1                 ARTHUR L. FRANK, M.D., PH.D.
 2   basis; to simply say something is or is not       2         issues of a TDP. The scientist can only address
 3   supported?                                        3         the scientific underpinnings of scientific
 4   A. It's pretty much the same.                     4         judgements as they are made part of a TDP.
 5   Q Pretty much the same. So, when you say that 5             Q Well, but, you're assuming that the TDP is
 6   something is not supported or is supported, you   6         purely a scientific document, and we know it's
 7   mean by that that something does or does not have 7         not; right?
 8   a reasonable scientific basis?                    8         A. I have never assumed that it's a scientific
 9   A. Yes.                                           9         document. It's very much a political and legal
10   Q So, when you used the words this morning       10         document.
11   "not supported", that was shorthand for did not  11         Q So, is there any where that science can tell
12   have a reasonable scientific basis?              12         us, is there any scientific document that says
13   A. Correct.                                      13         when a scientist assesses a legal, political
14   Q Is that correct?                               14         document this is the right standard to use in
15   A. That would be --                              15         assessing it?
16            MR. HEBERLING: Asked and answered.      16         A. If you recall the questions this morning, I
17            THE WITNESS: That would be a way        17         made -- can I finish my answer?
18   to look at it, yes.                              18         Q Sure.
19            MR. BERNICK: If he answered it          19         A. I made the distinction between those things
20   once, he can answer it again, Mr. Heberling.     20         that were of a scientific nature, which is what I
21            MR. HEBERLING: No. The objection        21         was commenting upon with regard to the science,
22   is asked and answered.                           22         and the whole legal/political nature of the
23   BY MR. BERNICK:                                  23         document is not one that I have any basis to
24   Q Now, this case focuses -- the issues that we   24         comment upon other than whatever is my personal
25   have here focus to a large extent on these TDP,  25         opinion, which is irrelevant.

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 1           ARTHUR L. FRANK, M.D., PH.D.                1            ARTHUR L. FRANK, M.D., PH.D.
 2   Q Well, that may well be, but the document          2     peer review article is a good opinion
 3   you, yourself, have acknowledged was not and is 3         scientifically or a bad decision scientifically?
 4   not intended to be a scientific document?           4     A. I'm using the same scientific judgement I
 5   A. But judgements made that are based upon          5     would use for that. The political or legal
 6   science should be based upon proper science, those 6      aspects of the document are not what I'm
 7   parts of it, otherwise you don't need science at    7     commenting on.
 8   all and a bunch of people can sit in a room and     8     Q Now, who told you, in offering opinions
 9   say, all right, we're going to do this for this     9     about the TDP, to apply that same scientific
10   and this for that and it doesn't matter what the   10     standard that you would ordinarily apply in the
11   science tells us.                                  11     field of research? Who told you that?
12   Q But your opinion about the relationship, the 12         A. Nobody told me that. That's what I have
13   proper relationship, between the TDP and science 13       chosen to apply. I think science should be based
14   is an opinion that itself does not have a          14     upon what science tells us, otherwise it becomes
15   scientific test for; correct? There's nothing in   15     an arbitrary and capricious experience and
16   the field of science that tells you how a          16     document.
17   scientist should look at this particular document; 17     Q I certainly agree that science should do
18   correct?                                           18     that. Let me ask you another question, which is
19   A. I'm not looking at that way, nor do I           19     about the materials that you've reviewed. This is
20   suspect that anybody should look at it that way,   20     going to be much concrete and tangible. You tend
21   and I'm leaving it to the lawyers to do the legal  21     to get excited here at certain point. You look
22   stuff. But what I was commenting upon is the       22     like you're kind of slipping off the edge.
23   scientific basis for judgements in the TDP that    23     A. I'm not the one slipping off the edge.
24   purportedly are based upon science or to reflect   24              MR. HEBERLING: Objection;
25   what science can tell us about those issues.       25     argumentative, improper questioning.
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 1            ARTHUR L. FRANK, M.D., PH.D.               1            ARTHUR L. FRANK, M.D., PH.D.
 2   Q But the judgements about what is in the TDP       2             THE WITNESS: I've dealt with a lot
 3   are judgements about what to include in the         3     of lawyers and --
 4   compensation scheme; correct? The TDP is a          4     BY MR. BERNICK:
 5   compensation scheme.                                5     Q Oh, I know, thousands of them. How many
 6   A. It's a compensation document that one would      6     lawyers have you dealt with, incidentally? It's
 7   like to think is based upon --                      7     got to be over a thousand.
 8   Q I didn't ask you that.                            8     A. Well, sometimes it's a lot of the same ones
 9   A. Okay. It is a compensation document, and         9     that show up.
10   the only reason I am here is that there appears to 10     Q I see. Well, this is the first time and I'm
11   be some scientific questions or issues with regard 11     exactly like all those other guys and women. So,
12   to that document, because otherwise you would have 12     materials that you've reviewed, this is a question
13   some economist sitting here instead of me making   13     everybody always asks --
14   judgement about what's fair for people.            14     A. Am I to take that as a statement or fact or
15   Q Now, to make a scientific judgement about        15     opinion?
16   this legal political document --                   16     Q However you want. I say that with a smile.
17   A. I'm not making scientific judgements about      17     A. Okay; I'll take it the way I want.
18   this document. I'm making scientific judgements    18     Q Good. So, one of the questions that all the
19   about the scientific underpinning of those parts   19     lawyers have asked you, and this will be
20   of the document that purportedly are based upon    20     completely true to form, is questions about
21   science.                                           21     materials that you've reviewed. And I know a lot
22   Q And in making those judgements, are you          22     of the materials you have reviewed from your
23   making those judgements applying the same          23     expert reports because they identify those. I
24   criteria, the same standards that you would apply 24      want to know about materials that you've reviewed
25   in determining whether an opinion published in the 25     that are not in your expert reports or not

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 2    referred to in your expert reports.               2      can get expedited evaluation of their claims and,
 3    A. I have reviewed the scientific literature on   3      they hope, expedited payment for their claim; is
 4    the subject of asbestos for forty years. That     4      that your understanding?
 5    includes thousands of articles and that's what I  5      A. No, that is not my understanding.
 6    bring in reaching my judgements.                  6      Q Well, if everybody had individual review you
 7    Q Now, I want to ask specifically whether you 7          wouldn't need all the rest of this stuff; right?
 8    have reviewed the testimony or expert reports of 8       A. It would be an alternate system and
 9    anybody who testified or offered expert           9      personally I happen to think that an individual
10    disclosures in the criminal case that was just   10      review would be better and probably quicker.
11    concluded?                                       11      Q It may well be, and I don't have an opinion
12    A. I have seen nothing about that case other     12      one way or another, God bless us, it's not up to
13    than what was on the blog. I've seen no          13      me.
14    testimony. Obviously some of the people who      14      A. But you just stated that the reason that you
15    testified in that I've seen other materials of   15      put forth for this document was to make it quicker
16    their's, such as Dr. Whitehouse, but I have seen 16      and to get payments to people quicker, and I'm not
17    nothing out of the criminal case.                17      sure that that, in fact, is the case.
18    Q That's helpful. That folder just got turned    18      Q Well, I just asked -- all I, in fact, asked
19    over very quickly.                               19      you was your understanding. Do you have an
20    A. Good.                                         20      understanding that the reason, the purpose, for
21    Q So, we know that the TDP is part of a          21      having these TDP criteria is so that large volumes
22    compensation scheme. You certainly have that 22          of people can get their claims processed without
23    understanding; do you not?                       23      individual review?
24    A. I do.                                         24      A. I do not understand what the rationale for a
25    Q And do you understand that the TDP is not 25           TDP is. If you tell me that that is why they are
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 1           ARTHUR L. FRANK, M.D., PH.D.                1            ARTHUR L. FRANK, M.D., PH.D.
 2   the individual review, it is a series of criteria   2     often constructed, that certainly seems
 3   that can be satisfied by submitting the right kind 3      reasonable.
 4   of documentation?                                   4     Q I want you to assume that the purpose of the
 5             MR. HEBERLING: Objection;                 5     TDP categories that you've looked at is to be able
 6   misstates the document.                             6     to establish entitlement to compensation for a
 7             THE WITNESS: So, it seems.                7     large number of people, and on the basis solely of
 8   BY MR. BERNICK:                                     8     the submission of documentation, certain kinds of
 9   Q And, again, I think that's correct in any         9     documents. I want you to assume that; okay?
10   event, but that's certainly your understanding;    10     A. Yes.
11   correct?                                           11     Q Now, for that to have any scientific basis,
12   A. It's a document that lays out criteria that,    12     would you agree with me that the TDPs need to
13   as Mr. Finch and I discussed this morning, allows  13     identify a pattern of disease that has been
14   for individual review of some criteria are not     14     recognized and established scientifically?
15   met.                                               15     A. One would like to think, but I don't think
16   Q And when we about talk the TDP criteria, can 16         this document does that.
17   we just have in mind those same things that you 17        Q I didn't ask you that. We're going to get
18   looked at with Mr. Finch as the different category 18     to whether it does or not, and I respect that
19   of disease and what requires to make a claim for 19       you're going to have different views on that. I'm
20   that kind of disease?                              20     just asking you if the purpose of the TDP is to
21   A. We can.                                         21     handle the large volume of claims without
22   Q Now, do you understand that those criteria       22     individual review, would you agree with me that
23   set forth in those TDPs, that part of the TDP, do  23     the only way that can be done with any scientific
24   you understand that the purpose of having that as 24      basis is if science has identified and established
25   opposed to the individual review is so that people 25     that certain pattern of disease?

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 2   A. Science doesn't establish anything. People       2     Q We'll adopt your standard, to have the best
 3   establish things. Scientists establish things.      3     scientific basis if you want to have a
 4   Science doesn't establish things and as we've       4     compensation scheme that works without individual
 5   discussed, science can be seen differently by       5     review and processes large numbers of people,
 6   different people. Now, how you can construct a      6     would you agree with me for it to have the best
 7   TDP will very much reflect on the philosophical     7     scientific basis that scientist must have
 8   rationale you want to bring to it such as the       8     established a recurrent pattern of disease that
 9   possibility that you want to pay people quickly or  9     can be identified through objective criteria?
10   the possibility that you want to differentially    10     A. Yes.
11   pay people in certain ways?                        11     Q Now, if the compensation scheme is to
12   Q Again, I don't think we're disagreeing on        12     neither overpay nor underpay, this same -- you're
13   that. I'm just trying to frame that if the goal    13     going to agree with me about this. This one is
14   is a goal that says we want to determine           14     going to be an easy one. Would you agree with me
15   compensation for a large number of people without 15      that if the compensation scheme without individual
16   individual review, for that to have any scientific 16     review is to neither overpay, that is to not to
17   basis, science must have identified, scientists    17     pay too many people, or underpay, which is to pay
18   must have identified a certain pattern of disease  18     too few people, that it must further be tailored
19   that recurs in a number of people and can be       19     to what science says about that disease?
20   established through objective criteria; correct?   20     A. I'm not sure I would agree with that. I
21   A. If all you are interested in is any criteria    21     think it's not a question of worrying so much
22   or any science, or whatever the phrase.            22     about overpayment and underpayment as it is about
23   Q Any scientific basis.                            23     a certain sense of equity and where you want to
24   A. Any scientific basis, then I would agree        24     set the bar as to how easy it is to get payment or
25   that that is one way to do it. If you want to do   25     not. The question of what the levels of payment
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 1           ARTHUR L. FRANK, M.D., PH.D.               1              ARTHUR L. FRANK, M.D., PH.D.
 2   it on a basis that most accurately reflects the    2      are is a whole other issue that I'm not
 3   science, then any scientific basis is not a        3      particularly prepared to discuss. But, no, I'm
 4   standard I would like to hold to.                  4      not sure I would necessarily agree with your
 5   Q Well, let's take it one step further and go      5      statement.
 6   to a question that you indicated. If the purpose   6      Q Well, let me rephrase the question, because
 7   of the TDP is to assess compensation for large     7      I thought it was going to be easy, and I still
 8   numbers of people without individual review, would 8      think it's going to be --
 9   you agree with me that for that TDP to have a      9      A. No, it's not.
10   reasonable scientific basis science must have     10      Q Well, I'm saying I want you to assume that
11   studied and determined a certain pattern of       11      the purpose of the compensation scheme is neither
12   disease as occurring repeatedly?                  12      to overpay nor to underpay; that's the purpose,
13            MR. HEBERLING: Objection; asked          13      that's what you want to accomplish. Would you
14   and answered twice.                               14      agree with me that under those circumstances if
15            MR. BERNICK: No, it's a different        15      the compensation scheme is to have the best
16   question.                                         16      scientific basis, it must be tailored to what
17   BY MR. BERNICK:                                   17      science has established is recurrent patterns of
18   Q Do you understand the difference now?           18      disease?
19   A. It's a difference, and then the only           19      A. If that is your desire, I guess you could
20   qualifier would be when you used the phrase       20      say that that would be an easy one, and, yes, I
21   "reasonable scientific basis" is that your        21      could say I agree with it, but I don't think
22   reasonable and my reasonable, my reasonable was   22      that's what the compensation scheme should aim to
23   the best science and your reasonable, as we       23      do.
24   discussed, could include not necessarily the      24      Q Now, in talking about the categories of
25   best --                                           25      disease that we have in the TDP, it's true, is it

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 2   not that, that there are different categories, one  2      Q Fair enough. Now, you are aware that the
 3   for mesothelioma, another for lung cancer and the 3        TDP, many parts of the TDP have been used
 4   like?                                               4      literally for years; correct?
 5   A. It's self-evident. That's an easy one.           5      A. I gather that is the case and have found it
 6   Q That's an easy one. I'll try to make them         6      just as inappropriate in other settings as I have
 7   all like that.                                      7      in this.
 8   A. No, you won't.                                   8      Q Well, I'm sure that would be true, but I was
 9   Q You know, you remind me of this very smart 9             really getting at a different thing, which is that
10   and able client that I named Dori Kuchinsky.       10      these TDPs have been used in a variety of
11             MS. KUCHINSKY: Don't make me take        11      bankruptcies for many, many years. Is that your
12   you off mute.                                      12      understanding?
13             MR. BERNICK: That's why you guys         13      A. That is my understanding.
14   get along so well.                                 14      Q Is it your understanding that the TDP in
15             MS. KUCHINSKY: I take that as a          15      this case was revised to include a brand new
16   compliment, David. Thank you.                      16      category?
17             MR. BERNICK: It was meant to be a        17      A. No.
18   compliment to both of you.                         18      Q You weren't aware that the --
19   BY MR. BERNICK:                                    19      A. I've never looked at an old one, so I don't
20   Q So, you have categories in the TDP and the 20            know if this one is the same or different. So,
21   categories are basically driven, defined by, A,    21      I'm not aware.
22   the type of disease and, B, some measure of        22      Q Well, let's get specific then. I'm not
23   severity; correct?                                 23      going to go back on that. If you weren't aware of
24   A. So it appears.                                  24      it, you weren't aware of it, but let's take a look
25   Q Well, but based upon what you went through 25            at what is the TDP. The TDP is Exhibit Eleven, so
                                             Page 139                                                   Page 141
 1           ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2   this morning, is that your --                       2     if you page through that pile and go to Exhibit
 3   A. That's what the scheme has. It has cancer        3     Eleven.
 4   one type, which is relatively easy and              4     A. I have it.
 5   straightforward, and it has another type of cancer  5     Q And on page twenty-six I think we get to the
 6   that has several levels, it has the third type      6     page of interest. We have a category for Severe
 7   that pays a different amount of money for cancers   7     Asbestosis, Level Roman IV A, and a category for
 8   that are in some dispute and then when things       8     Severe Disabling Pleural Disease, Level IV B. Do
 9   really get a bit hairy is this question of          9     you see that?
10   asbestosis.                                        10     A. I do.
11   Q Right. But in each of the cases that you've 11          Q Now, severe asbestosis, as it's defined,
12   talked about -- well, actually, it's really more   12     you've got a bunch of different criteria, but
13   in the case of asbestosis, but in each of the      13     asbestosis is a disease type that is defined in
14   cases that you talked about, with the exception of 14     the scientific literature; correct?
15   mesothelioma, I think, would you agree with me 15         A. It is a type of pneumoconiosis caused by
16   that categories are driven both by disease type    16     asbestos. The type is pneumoconiosis, the
17   and by severity?                                   17     definition is the pneumoconiosis caused by
18   A. No. Lung cancer is not a question. It's         18     asbestos.
19   just as severe to have it or not have it, the only 19     Q So, when you think about the pneumoconiosis
20   difference in severity is if you can be cured of   20     caused by asbestos, is asbestosis, as it is
21   it or not. Obviously for the others, for the       21     targeted here, I'll just use that loose term, do
22   nonmalignant diseases, they are driven by          22     you refer to that as a disease type or a subtype,
23   severity. I don't know how you have levels of      23     or, you know, what is the right way of talking
24   severity of cancer. That's never a good thing to   24     about --
25   have.                                              25     A. It is a disease.

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 2    Q A disease?                                         2     Q And it is also defined, not only by that
 3    A. It is a specific, definable disease.              3     diagnostic entity, pleural disease not involving
 4    Q And asbestosis is a specific, definable            4     the parenchyma, but it has to be a severely
 5    disease; correct?                                    5     disabling disease; right?
 6    A. Yes.                                              6     A. That's what it says.
 7    Q Now, as asbestosis involving interstitial          7     Q So, the purpose of this TDP on its face is
 8    fibrosis, is that a type of asbestosis or is it a    8     to focus not on parenchymal asbestosis and not on
 9    subtype? Again, how do you --                        9     pleural disease that's short of severely
10    A. That's where there's some varying opinions       10     disabling, but to focus specifically on pleural
11    in the scientific community. Some people claim      11     disease that is severely disabling; right?
12    that asbestosis is only a disease of the            12     A. That question didn't make sense. The
13    parenchyma of the lung and the term "asbestosis"    13     beginning didn't match the rest of it.
14    for those individuals applies to fibrotic changes   14     Q I'll rephrase it.
15    in the parenchyma of the lung caused by asbestos.   15     A. Please.
16    There's another school of thought that says that    16     Q We can see that the disease, the diagnostic
17    it's either the parenchyma of the lung or the       17     entity that's targeted by Level Roman IV B is
18    pleura surrounding the lung which becomes           18     different from the diagnostic entity that's
19    fibrotic, and those together are called             19     targeted by Level IV A?
20    "asbestosis". And then one can have subtypes,       20     A. Yes, I agreed to that already.
21    which is parenchymal asbestosis or pleural          21     Q Right. And we can also see that Level IV B
22    asbestosis. But it would still be asbestosis.       22     is differentiated from Level III by virtue of it's
23    And if you ascribe to the first school, then        23     being focused on those cases that are severely
24    asbestos applies only to the parenchyma, and        24     disabling; correct?
25    there's no subtypes. If you apply to the second     25     A. That's what the title says.
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 1           ARTHUR L. FRANK, M.D., PH.D.                1               ARTHUR L. FRANK, M.D., PH.D.
 2   definition, then it's applies to two different      2       Q Now, if we went to the scientific
 3   types of asbestosis.                                3       literature, we would find that parenchymal
 4   Q But certainly the scientific literature           4       asbestosis has been identified as a diagnostic
 5   recognizes that there is a distinct diagnostic      5       entity going back for decades; correct?
 6   entity; that is, parenchymal asbestosis?            6       A. Yes.
 7   A. Yes.                                             7       Q Is it also true that if we went to the
 8   Q I mean, when I use the term "distinct             8       scientific literature, pleural disease has been
 9   diagnostic entity", is there a better word to use.  9       defined as a diagnostic entity going back for
10   And this is purely nomenclature so that the        10       many, many years in the scientific literature?
11   deposition can go more smoothly.                   11       A. It goes back as far as the parenchymal
12   A. That's as good as anything.                     12       disease, the original description of
13   Q Okay. Now, would you agree with me severe 13              pneumoconiosis was 1867 by a German pathologist by
14   asbestosis, as it appears in the TDP level Roman 14         the name of Zenker, and he said that a
15   IV A is focused on, I'm not asking whether it does 15       pneumoconiosis, and he was the one that coined the
16   a great job or a bad job, is focused on            16       term, dust disease of the lung, was a disease that
17   parenchymal asbestosis?                            17       affected both the parenchyma and the pleura of the
18   A. That's how it's defined in this TDP.            18       lung.
19   Q So the answer is "yes"?                          19       Q Fascinating. In the scientific literature
20   A. Yes.                                            20       going back for a very long time, there was a
21   Q Whereas severe disabling pleural disease,        21       diagnostic entity related to asbestos exposure
22   Roman IV B, is focused on pleural asbestosis or 22          called diffuse pleural thickening; correct?
23   pleural disease not involving fibrosis of the      23       A. I don't know what you mean by "a long time".
24   parenchyma?                                        24       Q Back to at least the early 1970's.
25   A. Yes.                                            25       A. That's not a long time. There's a lot

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 1          ARTHUR L. FRANK, M.D., PH.D.                 1             ARTHUR L. FRANK, M.D., PH.D.
 2   longer and older literature.                        2      entity in the scientific literature?
 3   Q Okay. Okay.                                       3      A. Distinct from what?
 4   A. You know, that's why I was confused.             4      Q Distinct from other forms of pleural
 5   There's a lot longer and older literature than      5      disease?
 6   that.                                               6      A. Yes.
 7   Q Dori was a flower child back at that point        7      Q And it is diffuse pleural thickening that is
 8   in time. No, Dori is much to young to have been a 8        the target or focal point for Level IV B; correct?
 9   flower child, but you were a flower child; right?   9      A. Yes.
10   A. Probably. On a given day, yes.                  10      Q Now, let me ask you a little bit about
11   Q It's considered fashionable then and now,        11      diffuse pleural thickening, then. Diffuse pleural
12   but back in -- I'll rephrase my question. Is it    12      thickening can involve, I think you've made
13   true that the scientific literature defined a      13      mention, in fact, that the pleura actually has
14   diagnostic entity called diffuse pleural           14      different parts to it anatomically?
15   thickening at least as of the 1970's and without   15      A. I have not. We haven't discussed that, but
16   relationship to Libby, Montana?                    16      I would if so asked. There's the visceral pleura
17   A. Yes.                                            17      and the parietal pleura.
18   Q And would you agree with me by the 1970's it 18          Q I thought you had referred to that for sure,
19   was a well-established diagnostic entity?          19      but --
20   A. I have not researched or studied the            20      A. No, I have not.
21   specific use of that term, but certainly pleural   21      Q I'm probably confusing you with a less able
22   disease caused by asbestos, by whatever name it    22      witness that I have asked the same questions of.
23   went, had various descriptions and that would have 23      A. Or many of the other thousand doctors that
24   been one characterization of the pleural disease   24      you have taken depositions from.
25   you got from asbestos.                             25      Q No, to the contrary. I have not taken a
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 1           ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2   Q Well, for purposes of this case or at any         2      thousand depositions of doctors. I don't think
 3   other time, have you actually gone back and done a 3       I've taken a thousand depositions. I'm not nearly
 4   literature search to determine what the literature  4      as experienced in that area as you are. So, the
 5   has to say about diffuse pleural thickening?        5      parietal pleura is what portion of the pleura?
 6   A. Not that term. I have studied the issue of       6      A. That that would line the inside of the chest
 7   what one should call pleural disease caused by      7      wall.
 8   asbestos, and descriptive changes one could say     8      Q And the visceral pleura is what part of the
 9   include both what is now called diffuse pleural     9      pleura?
10   thickening or circumscribed or discrete pleural    10      A. The pleura overlying the lung parenchyma.
11   thickening or pleural plaquing. But the older      11      Q And those are distinct anatomical features
12   literature, and I have gone back and read that,    12      of the human body; correct?
13   did not make that specific distinction. When that  13      A. Yes.
14   distinction was first made, I don't know, but it   14      Q And is it true that the literature
15   was certainly relatively recently.                 15      distinguishes, scientific literature distinguishes
16   Q That distinction is well-recognized in the       16      diffuse pleural thickening of the parietal pleura
17   scientific literature today; that is, the          17      from diffuse pleural thickening that also involves
18   distinction between diffuse pleural thickening and 18      the visceral pleura; correct?
19   circumscribed pleural plaques; correct?            19      A. I have not studied that particular issue.
20   A. It is recognized as being different, but the    20      I'm sure they have been discussed in separate
21   definition of what accounts for either of those is 21      terms. I recall reading some people talk about
22   not necessarily consistent.                        22      the parietal pleura and some about the visceral
23   Q We'll get to that definition in a minute.        23      pleura, but I have not studied the use of
24   Would you agree with me that today diffuse pleural 24      terminology with regard to that.
25   thickening is recognized as a distinct diagnostic  25      Q Well, is there a difference between diffuse

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 1            ARTHUR L. FRANK, M.D., PH.D.                1              ARTHUR L. FRANK, M.D., PH.D.
 2    pleural thickening involving the parietal pleura    2      Q Well, are you familiar that diffuse pleural
 3    only versus just diffuse pleural thickening         3      thickening actually can involve different
 4    involving both the parietal pleura and the          4      presentations of the tissue?
 5    visceral pleura?                                    5      A. Yes.
 6    A. There are some things that are the same and      6      Q And pleural plaques are the distinct
 7    there are some things that are different. What's    7      appearance of pleural tissue; correct?
 8    the same is that they are caused by the cell type   8      A. Yes, and they may or may not be calcified.
 9    laying down the same collagenous material. What's 9        Q And they may or may not be calcified. But
10    different is they are anatomically in two          10      do you know whether there's a certain kind of
11    different places.                                  11      diffuse pleural thickening that involves the
12    Q Well, but they are not only anatomically in      12      appearance of overlapping pleural plaques?
13    two different places, there are different types of 13      A. I'm not aware. As I said, I've never seen
14    diffuse pleural thickening; aren't they?           14      that term.
15    A. No, it's the same collagen being laying down    15      Q Do pleural plaques involve the parietal
16    by fibroblast. It's the same in that sense, it's   16      pleura, the visceral pleura or both?
17    just that it's in different places. There is       17      A. It can be either.
18    nothing structurally different about the           18      Q I'm sorry?
19    thickening in the parietal or visceral pleuras.    19      A. It can be either or both.
20    Q Are you testifying that as an expert based       20      Q Well, is there any difference in frequency
21    upon your actual review of the scientific          21      with which --
22    literature?                                        22      A. I have not studied that. I don't know.
23    A. I'm testifying to the extent that I have not    23      Q I'm sorry; let me just finish so that the
24    studied the terminology. I'm not a pathologist.    24      record is clear. Do you know, are you aware of
25    I'm not an anatomist. That would be my             25      the frequency with which pleural plaques can
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 1           ARTHUR L. FRANK, M.D., PH.D.               1               ARTHUR L. FRANK, M.D., PH.D.
 2    understanding from what I've read.                2       involve the parietal pleura or the visceral
 3    Q I am just asking kind of pretty candidly,       3       pleura?
 4    have you actually focused on what the literature 4        A. I do not know.
 5    has to say --                                     5       Q Are you familiar with the term blunting of
 6    A. I've already said no. I'm sorry.               6       the costophrenic angle?
 7    Q What the literature has to say about the        7       A. Yes.
 8    differences, if any, between diffuse pleural      8       Q What is blunting of the costophrenic angle?
 9    thickening involving the parietal pleura only     9       A. It's when fibrotic changes occur in not that
10    versus diffuse pleural thickening involving also 10       part of the sulcus where the diaphragm and the
11    the visceral pleura?                             11       side wall of the chest meet.
12    A. I have not focused on that in my review of    12       Q Does the pleura extend down into the
13    the scientific literature.                       13       costophrenic angle?
14    Q Thank you. Now, are you familiar with the 14            A. Yes.
15    difference between -- are you familiar that      15       Q So, when we talk about blunting of the
16    certain kinds of diffuse pleural thickening      16       costophrenic angle, is that blunting of the pleura
17    involved overlapping pleural plaques?            17       at the costophrenic angle?
18    A. I am not sure what you mean by overlapping 18          A. It can be, or it can be a collection of
19    pleural plaques.                                 19       fluid.
20    Q I guess, then, that you wouldn't be familiar 20         Q Are you familiar with what the literature
21    with diffuse pleural thickening involving        21       says about the blunting of the costophrenic angle
22    overlapping pleural plaques?                     22       in connection with diffuse pleural thickening? Do
23    A. I guess not. I don't understand the term.     23       you understand the --
24    I've never seen the term "overlapping pleural    24       A. Not really. One of the definitions of
25    plaques".                                        25       diffuse pleural thickening requires a blunting of

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 1            ARTHUR L. FRANK, M.D., PH.D.               1             ARTHUR L. FRANK, M.D., PH.D.
 2    the angle with fibrotic change. Others do not      2     A. From changes in the pleura, yes.
 3    take it as a requirement.                          3     Q Solely from changes of -- let me be much
 4    Q But if you examine the literature to             4     more precise so that we don't go back and forth on
 5    determine either the -- first of all, if you       5     this. I want to make sure we're clear. Where you
 6    examine the literature to determine the origin of 6      have blunting of the costophrenic angle and
 7    diffuse pleural thickening where there is a        7     diffuse pleural thickening, is it your testimony
 8    blunting of the costophrenic angle?                8     that that can be caused without either fibrosis of
 9    A. I don't understand the question. What do        9     the parenchyma or the residue from a benign
10    you mean by "origin". What the cause is?          10     pleural effusion?
11    Q Yes.                                            11     A. I haven't studied to know if it can occur in
12    A. There are many causes of it.                   12     the absence of fibrosis in the parenchyma, so I
13    Q Many causes of diffuse pleural thickening 13           don't know about that.
14    where there was a blunting of the costophrenic 14        Q So, when you talked about fibrosis, you were
15    angle?                                            15     talking as opposed to a benign pleural effusion,
16    A. There can be.                                  16     you were talking as a second cause, you were
17    Q Well, tell me what all the different causes 17         talking about fibrosis emanating from the
18    are.                                              18     parenchyma; correct?
19    A. Obviously, asbestos is one, but you can have 19       A. No, pleura.
20    infections in the chest that give you a blunted   20     Q Well, but fibrosis emanating from the pleura
21    angle with pleural thickening, that would tend to 21     in the absence of interstitial fibrosis and in the
22    be unilateral. Theoretically, trauma can do it.   22     absence of benign pleura effusion, I thought you
23    Benign asbestotic pleural effusions, the residue  23     just said you hadn't studied that?
24    of that can you give you that finding.            24     A. No, it's the other way around. I haven't
25    Q Well, let's focus on diffuse pleural            25     studied the parenchyma. You're --
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 1           ARTHUR L. FRANK, M.D., PH.D.                1              ARTHUR L. FRANK, M.D., PH.D.
 2   thickening involving blunting of the costophrenic   2      Q Oh, I see.
 3   angle associated with asbestos. I'm assuming that   3      A. You're reversing it now.
 4   we have asbestos exposure and I'm assuming that we 4       Q So, you're saying that there are two causes
 5   have an association with an asbestos exposure.      5      that you are aware of?
 6   A. Then you have two possibilities. You've got      6      A. You can have scarring of the pleura or you
 7   the fibrotic changes or you've got the residue of   7      can have residue of benign asbestotic pleural
 8   a benign asbestotic pleural effusion.               8      effusion. I do no know if you will bet a blunted
 9   Q So, to be clear, where you have blunting of       9      costophrenic angle. I imagine you can if you get
10   the costophrenic angle and diffuse pleural         10      severe parenchymal fibrosis and subpleural
11   thickening, the cause of the diffuse pleural       11      fibrosis, but I haven't studied that issue.
12   thickening is either the residue of benign pleural 12      Q Well, where you don't have the benign
13   effusion or fibrosis?                              13      pleural effusion and the residue from that --
14   A. Yes. Well, they're both fibrosis, it's just     14      A. Yes.
15   fibrosis without a precedent benign asbestotic     15      Q -- and you still have blunting of the
16   pleural effusion.                                  16      costophrenic angle, are you saying that it comes
17   Q And if it's fibrosis without a precedent         17      from the plaquing process?
18   benign pleural effusion, where does the fibrosis   18      A. You're throwing in another term now. What
19   come from?                                         19      is the plaquing process?
20   A. From the irritation of asbestos of the          20      Q Well, the fibrotic process induced by the
21   pleura.                                            21      presence of asbestos fibers.
22   Q Of the pleura or of the parenchyma? Are you      22      A. But it's not the plaquing process, it's a
23   saying that you can get blunting of the            23      fibrotic process, and plaques are plaques and
24   costophrenic angle, pleural thickening involving   24      obviously you're using diffuse pleural thickening
25   blunting of the costophrenic angle --              25      as a different entity, so that's why I didn't want

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 1            ARTHUR L. FRANK, M.D., PH.D.                1            ARTHUR L. FRANK, M.D., PH.D.
 2    to respond to the plaquing process, not knowing     2     proposition, that not all diffuse pleural
 3    what you meant by that.                             3     thickening is associated with severe impairment?
 4    Q Well, I could be precise. First of all, are       4     A. And conversely, what would be considered
 5    you aware of any scientific literature that says    5     very mild or minimal kinds of disease can be
 6    that the fibrotic process giving rise to plaques    6     associated with severe disabling changes, none of
 7    can cause blunting of the costophrenic angle of 7         which is reflected here in the document.
 8    the pleura?                                         8     Q I didn't ask you about what was reflected in
 9    A. I don't recall what's in the literature, but     9     the document. We're going to get to the document,
10    I've certainly seen such cases clinically.         10     let me assure you. I'm just trying to find out
11    Q So, without any evidence of benign pleural 11           about the science first.
12    effusion, you've seen cases -- are these personal 12      A. Well, the science is, what you said is
13    cases you've seen not reported in the literature 13       correct and the converse is correct.
14    or you just don't know?                            14     Q Is it also true that, I'm assuming that it
15    A. Well, certainly it's cases I've seen. We've     15     is by virtue of your prior answer, that the
16    seen all kinds of things at Sinai.                 16     relationship between diffuse pleural thickening
17    Q Well, I'm talking about very specific --         17     and impairment has been studied by scientists?
18    A. You're being very specific, and I will tell     18     A. Mr. Finch and I reviewed the Lillis article,
19    you that if you're asking me to give answers about 19     for example, which studied that very question.
20    the specificity of this particular entity and its  20     Q And Lillis is not alone; correct? There are
21    pathologic and anatomic roots, this is not a       21     other people that have done research on the same
22    subject that I have particularly studied. This is  22     subject?
23    the second or third time I've said this now. So,   23     A. Yes.
24    I'm giving you the answer based on my experience. 24      Q Have you done a review of the literature to
25    But if you're asking me about the scientific       25     study the different studies or different articles
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 1           ARTHUR L. FRANK, M.D., PH.D.              1               ARTHUR L. FRANK, M.D., PH.D.
 2   literature, I do not recall what the scientific   2        that have been published on the relationship
 3   literature says specifically about that subject.  3        between diffuse pleural thickening and impairment?
 4   Q And just to be clear, that subject is the       4        A. Not specifically, no.
 5   cause of diffuse pleural thickening involving     5        Q Is it true that studying that relationship
 6   blunting of the costophrenic angle?               6        is a complicated process?
 7   A. In the absence of a benign asbestotic          7        A. Studying most relationships in science is a
 8   pleural effusion; correct.                        8        complicated process, and this one is, too.
 9   Q Have you looked at the literature to see, or    9        Q And the complications that are involved in
10   do you know, whether the confluence of pleural 10          determining the relationship between diffuse
11   plaques can affect the visceral pleura?          11        pleural thickening and impairment include the fact
12   A. I don't understand the phrase "the            12        that there are other causes of lung impairment;
13   confluence of pleural plaques". You asked me     13        right?
14   about overlapping plaques. Now you're asking me  14        A. There's many causes of lung impairment.
15   about confluence of plaques. Those are not terms 15        Q Including smoking, obviously?
16   I'm familiar with.                               16        A. Yes.
17   Q Is it true that not all diffuse pleural        17        Q And that if you want to look at diffuse
18   thickening is associated with severe impairment? 18        pleural thickening in particular, diffuse pleural
19   A. The simple answer is yes, and the simple      19        thickening is not the only asbestos-related
20   answer beyond that is there is very poor         20        disease that can impair the functioning of the
21   correlation with radiologic appearance and       21        lung; correct?
22   pulmonary function, if you want to use the term  22        A. Correct.
23   "severe" or "disabling" in terms of someone's    23        Q Obviously, you have parenchymal fibrosis as
24   pulmonary function status.                       24        well?
25   Q But you would agree with me, to the general 25           A. Yes.

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 1           ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2   Q Is the research also complicated by the fact      2     Q I understand that, but certainly --
 3   that you need to have reliable radiographic         3     A. I'm not aware of any paper that was designed
 4   readings?                                           4     to look at just severe impairment. That was the
 5   A. I'm not sure I understand the question. I        5     nature of the question.
 6   mean, any time you're going to do a scientific      6     Q Then I'll be clearer about my question. Are
 7   study you need to have reliable assessment of what  7     you aware of any studies that have included the
 8   the radiographs look like.                          8     assessment of whether diffuse pleural thickening
 9   Q Right. And what I'm really kind of getting        9     results in severe impairment or is associated with
10   at, isn't it true that when it comes to diffuse    10     it?
11   pleural thickening in particular that quality of   11     A. I'm sure I've read things that says that,
12   the radiographic assessments has not always been 12       yes, they can be associated. I can't give you the
13   very strong; correct?                              13     citations for it at the moment.
14   A. The quality of radiograph assessments for       14     Q I just want the science. Based upon the
15   asbestos disease in general has not always been    15     scientific literature, under what --
16   very strong.                                       16     A. Well, there's another problem that we have,
17   Q You're right. I deserve that. Is it also         17     and that is I don't know what the term "severe"
18   true that diffuse pleural thickening is actually   18     means to you. We have one set of document -- or
19   more rare than other forms of asbestosis?          19     we have a document here that gives some
20   A. Yes.                                            20     definition, but I don't know what "severe" is as
21   Q Now --                                           21     you used the term.
22   A. It is less common.                              22     Q Well, you know that there could be
23   Q Less common.                                     23     significant reductions in lung function without it
24   A. Or more rare.                                   24     being severe; correct?
25   Q Isn't it true that there is no scientific        25     A. It's an arbitrary cutoff as to what you say
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 1            ARTHUR L. FRANK, M.D., PH.D.             1               ARTHUR L. FRANK, M.D., PH.D.
 2   literature, none, demonstrating that diffuse      2       is mild, moderate or severe. I mean, it's like
 3   pleural thickening involving the parietal pleura  3       people asking me is it a moderate or severe or
 4   alone is associated with severe lung impairment? 4        heavy smoking history. It's all in the eyes of
 5   A. I have never studied that. I do not know       5       the beholder. Until you have a working
 6   one way or the other.                             6       definition --
 7   Q Did you study the McCloud paper?                7       Q I'm going to give you one. Are you familiar
 8   A. I have.                                        8       that PFD, pulmonary function test scores, have
 9   Q Well, are you familiar with it today so you     9       with them a range of normal, that is that in
10   can speak to it as an expert?                    10       interpreting pulmonary function tests there are
11   A. If you have a copy of it, it will refresh my  11       standards or guidelines for what the range of
12   memory.                                          12       normal is?
13   Q I'm just asking do you know what McCloud 13             A. Yes.
14   studied?                                         14       Q And I'll just ask you, are you aware of any
15   A. He was looking at -- I forget the details of  15       science which demonstrates that diffuse pleural
16   it, so I would rather have a copy to look at     16       thickening can be associated with a diminution in
17   before I comment.                                17       lung function such that is below normal range?
18   Q Well, what studies do you know about the       18       A. Yes.
19   relationship between diffuse pleural thickening  19       Q Tell me what science says what are the
20   and severe impairment, that is to say --         20       conditions under which diffuse pleural thickening
21   A. I'm not sure studies look at -- no study      21       can result in a diminution of lung function below
22   that I'm aware of looked at the level -- was     22       the range of normal?
23   designed to study only one level of impairment.  23       A. I'm not sure I understand the question.
24   The Lillis paper was not designed to study just  24       Q Well, if there are scientists that are
25   severe impairment.                               25       examining -- I'll be clearer. If there are

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 1           ARTHUR L. FRANK, M.D., PH.D.                1               ARTHUR L. FRANK, M.D., PH.D.
 2   scientists who are examining the relationship       2        Q So, with that statement, which I appreciate,
 3   between diffuse pleural thickening on the one hand 3         when we're talking about interstitial fibrosis or
 4   and impairment on the other --                      4        would be picked up by asbestosis, what is it Roman
 5   A. Right.                                           5        IV A, when we're talking about that, science says
 6   Q I'm just asking, what does the scientific         6        that as groups people who have the higher levels
 7   literature say about the circumstances under which 7         of fibrosis on radiographic reading tend to have
 8   diffuse pleural thickening is associated with a     8        more diminished lung function; is that fair?
 9   diminution of lung function below normal limits?    9        A. Yes.
10            MR. HEBERLING: Objection; unclear         10        Q In the same fashion, can you tell me what
11   as to what "circumstances" means.                  11        science has to say about when diffuse pleural
12            THE WITNESS: That's exactly right.        12        thickening is associated with lost of lung
13   I don't know what you mean by "circumstances".     13        function?
14   Some patients with the radiologic findings will    14        A. I cannot. I have not studied that.
15   have normal pulmonary function, some will have a   15        Q Do you ever get blunting of the costophrenic
16   mild diminution of function and some will have a   16        angle in the pleura where the fibrosis is only
17   significant diminution of function.                17        parietal?
18   BY MR. BERNICK:                                    18        A. I don't know.
19   Q And tell me what the literature says about       19        Q Now, we started out -- if we were to go
20   the circumstances under which -- the conditions    20        through the criteria in this TDP Roman IV B, we
21   under which diffuse pleural thickening is found to 21        see that there are requirements regarding the
22   be associated with an impairment such that lung 22           extent and thickness of the pleura; right?
23   function drops below normal limits. What are       23        A. Yes.
24   properties of --                                   24        Q There are criteria involving blunting of the
25   A. I don't know that there are some that are       25        costophrenic angle; correct?
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 1            ARTHUR L. FRANK, M.D., PH.D.                  1              ARTHUR L. FRANK, M.D., PH.D.
 2    cited in the literature, and if they are, I'm not     2      A. Well, it is assumed under Dr. Welch's
 3    familiar with them.                                   3      definition. She has adopted, I believe, the ATS
 4    Q Let me just be clear. Is it completely              4      document and the interpretation that says that
 5    arbitrary and unpredictable whether diffuse           5      blunting is required.
 6    pleural thickening will, in fact, be associated       6               MR. HEBERLING: David, if you are
 7    with a significant drop in lung function, or have     7      going in to a new area --
 8    you just not looked at this in the literature?        8               MR. BERNICK: No, I just want to
 9    A. I have not looked at it in the literature.         9      close this out.
10    I've looked at other issues of a similar nature.     10               MR. HEBERLING: You know, it's
11    It is not exactly arbitrary in terms of what,        11      12:30. It might be time for lunch.
12    let's say, the degree of parenchymal change.         12               MR. BERNICK: I'm going to close
13              There is some evidence that the            13      this out and that's fine. I will be a few
14    higher the radiographic score, the more severe       14      minutes.
15    pulmonary function abnormalities will be in          15               MR. HEBERLING: So, you'll be done
16    groups. But for any individual, you can have a       16      with the deposition?
17    mildly abnormal x-ray with severe pulmonary          17               MR. BERNICK: No, we'll just take a
18    function abnormality and for others you can have a   18      lunch break. I would like to be able to tell
19    significantly high score in terms of parenchymal     19      you yes, but I can't tell you that. I know I'm
20    change with perfectly normal pulmonary function.     20      going on and on, but I want to get out of here,
21    So, in that sense it is very arbitrary. It is not    21      too, so.
22    predictable for any individual. For groups, as a     22      BY MR. BERNICK:
23    group, the higher the radiographic score the more    23      Q So, if we go to the TDP for Roman IV B, we
24    likely one will have a significant diminution of     24      can see, I think just to get us back on the same
25    pulmonary function.                                  25      page, there are criteria for the extent and

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 2   thickness of the pleura and there's also an         2     true with regard to extent and thickness?
 3   assumption of blunting of the costophrenic angle; 3       A. I'm not aware that there is data that would
 4   correct?                                            4     speak to that.
 5   A. It doesn't speak to it here, but that would      5     Q Is it correct, then, that if you have a TDP
 6   be my understanding.                                6     that is designed to capture large numbers of
 7   Q And, again, Roman IV B is specific to severe      7     people being processed on the basis of objective
 8   impairment, is it not, as measured in the way that  8     data as groups of people, wouldn't it make sense
 9   it indicates?                                       9     if you're trying to pick up severe impairment from
10   A. Yes. That is this definition of "severe         10     diffuse pleural thickening, wouldn't it make sense
11   impairment".                                       11     to include a requirement of blunting of the
12   Q Okay.                                            12     costophrenic angle?
13   A. And it has certain requirements.                13     A. It depends on -- you know, I don't
14   Q And, again, would the answers to the             14     understand the question.
15   questions here be the same as what you said        15     Q I'll rephrase it.
16   previously, which is you have not studied what     16     A. It's got a problem in there. You've got a
17   science has to say about the relationship, if any, 17     severe problem with the question.
18   between the extent and thickness of the pleura and 18     Q So, if we have a process where the TDP
19   severity of impairment of lung function; have you? 19     portion of the process is designed to process
20   A. I have not, nor am I aware that there is a      20     large groups of people on the basis of objective
21   need to have any particular extent or width.       21     findings and without individual review, and it
22   Q And would the same thing be true about           22     also includes the part where people who fail those
23   blunting of the costophrenic angle; have you made 23      criteria can still get individual review, doesn't
24   a study of what the scientific literature says     24     it make sense to have, as part of the TDP review,
25   about the relationship between blunting of the     25     a requirement for blunting of the costophrenic
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 1           ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2   costophrenic angle and degree of impairment?        2     angle if you want to pick up severe impairment?
 3   A. Well, to the extent that there is presence       3     A. Not especially. I think the judgement
 4   of a blunted costophrenic angle, the impairment     4     should be what the pulmonary function -- severe is
 5   seems to be greater in groups of such individuals   5     a pulmonary function judgement, not a radiologic
 6   compared to groups of such individuals with pleura  6     judgement. So, if your desire is to compensate
 7   plaquing but without the blunted angle.             7     people based upon the severity of their disease
 8   Q But have you actually studied the literature      8     clinically, which is not a radiologic diagnosis,
 9   on that subject?                                    9     but a physiologic diagnosis, then you would use
10   A. Well, Lillis talks to that subject.             10     pulmonary function testing and you would use DLCO
11   Q Well, that one article.                          11     and it wouldn't matter what the radiographic
12   A. And there's McCloud, there's another one, I     12     changes are.
13   think. I just don't have the recollection of       13     Q But you only want to compensate people who
14   those articles as well.                            14     have --
15   Q Well, is it true that blunting of the            15     A. You're telling me who I want to compensate?
16   costophrenic angle is a good marker for diminution 16     Q No, no?
17   of lung function; that is to say, that often       17     A. If one wants to compensate.
18   diminution of lung function is associated with     18     Q If one wants to compensate people who have
19   blunting of the costophrenic angle and,            19     the severe impairment, however it might be
20   conversely, blunting of the costophrenic angle is 20      measured, the severe impairment from the diffuse
21   often associated with loss of lung function?       21     pleural thickening, not from any other source, but
22   A. For groups of individuals, it is a marker       22     from the diffuse pleural thickening, wouldn't it
23   that there is a correlation, but for any given     23     be appropriate, in light of the science on
24   individual it may not hold.                        24     costophrenic angle blunting, to include that as a
25   Q And you just don't know whether the same is 25          requirement?

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 2   A. It depends on what your definition -- first      2     A. Okay. So, that would not be using the
 3   of all, it's the same problem you had with the      3     definition according to the 2000 revision of the
 4   last question that I said you a problem with. It    4     ILO Classification.
 5   depends on what your definition of diffuse pleural  5     Q First of all, I'll put out the question.
 6   thickening is. If you use Dr. Welch's definition    6     You're now going to target for volume treatment
 7   of diffuse pleural thickening, you don't have to    7     people who have diffuse pleural thickening with or
 8   use the idea of the presence or absence of a        8     without costophrenic angle blunting, you want to
 9   blunted angle, because by definition, it can't be   9     target them and you want to use the scientific
10   diffuse pleural thickening unless there's a        10     literature to figure out of those people who have
11   blunted angle.                                     11     diffuse pleural thickening and a significant
12   Q Well, I'm saying -- I understand it and I        12     diminution of lung function and which ones of them
13   want to get very specific and clear so you're okay 13     is the diminution of lung function most clearly
14   with at least the question. You're smiling like    14     caused by the diffuse pleural thickening. That's
15   you don't believe me when I say that, but be that 15      what you want to do.
16   as it may, I'm going to ask you the question a     16     A. Yes.
17   different way. The goal is to have -- I want you   17     Q Isn't it true that the only marker or
18   to assume that the goal is to have groups of       18     requirement the literature gives you in order to
19   people processed in a way that is reflective of    19     differentiate those people who are severely
20   what the scientific literature says about diffuse  20     impaired in association with diffuse pleural
21   pleural thickening. I want you to assume that. I 21       thickening, is blunting of the costophrenic angle?
22   further want you to assume that you only want to 22                MR. HEBERLING: Objection; compound
23   capture people who have severe pulmonary           23     and vague.
24   impairment, however that might be measured, and 24                 THE WITNESS: It's irrelevant. If
25   have that impairment from no cause other than the 25      you've got somebody with diffuse pleural
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 1           ARTHUR L. FRANK, M.D., PH.D.                1              ARTHUR L. FRANK, M.D., PH.D.
 2   diffuse pleural thickening, it's the only cause.    2      thickening, even without a blunted angle and
 3   That's what you want to pick up. And if people      3      they have severe diminution of the pulmonary
 4   aren't picked up, then they can go through          4      function test and you have determined that they
 5   individual review, but you want to process volumes 5       had exposure to asbestos and there is no other
 6   of people. Are you aware of the scientific          6      explanation for their --
 7   literature identifying any other marker of diffuse  7      BY MR. BERNICK:
 8   pleural thickening that is associated with lung     8      Q I didn't say no other explanation. That's
 9   function impairment other than blunting of the      9      the whole point --
10   costophrenic angle?                                10               MR. HEBERLING: Objection. Let him
11              MR. HEBERLING: Objection;               11      finish his answer. One question at a time.
12   compound, vague.                                   12               THE WITNESS: The finding of the
13              THE WITNESS: It's a                     13      blunted angle doesn't mean that it was caused by
14   self-fulfilling question.                          14      asbestos. You still need the history of
15   BY MR. BERNICK:                                    15      exposure, which is part of the criteria, but
16   Q Well, I'll begin with the end. Are you           16      whatever. The presence or absence of the
17   aware of anything in the literature that is a      17      blunted angle becomes irrelevant.
18   marker for a linkage between diffuse pleural       18               If you've got the pulmonary
19   thickening and impairment of lung function other 19        function data and you have a disease that you've
20   than blunting of the costophrenic angle?           20      ascribed to asbestos, with or without the
21   A. It goes back to the question of how do you      21      blunted angle, you ought to be able to make the
22   define diffuse pleural thickening?                 22      determination. If you want to be clearer or if
23   Q Diffuse pleural thickening defined to            23      you want to -- this whole issue, not just
24   include both blunting of the costophrenic angle    24      regarding IV B, but any of these, becomes a
25   and cases where it's not there.                    25      philosophical issue. Do you want to make it, as

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 2    you put it, quick and simple and, you know,          2      that would be an additional factor you could use.
 3    maximizing the number of people you put through,     3      You could also change where you set the numbers
 4    or do you want to set up so many barriers that       4      for your pulmonary function. You can set them,
 5    it makes it hard for people to get through this?     5      like Social Security Disability does, so low that
 6    And where you set that, you know, is a               6      the likelihood is you're going to be dead within a
 7    determination that ought to be based on science,     7      year before they're going to pay you disability,
 8    but is obviously, to me anyway, based upon other     8      you can set it wherever you want and you can
 9    issues with regard to this whole document --         9      require or not require more or less proof to make
10    Q Let's go back to --                               10      you feel more or less comfortable. Clearly given
11    A. -- because it's irrelevant with regard to        11      your construct if you want to make it more
12    the specific issue if you have a blunted angle or   12      different and to be more sure under whatever
13    not if you have diminished pulmonary function and   13      construct you want to be more sure, which is also
14    you have pleural disease caused by asbestos.        14      a way of saying you're less likely to pay people,
15    Q Let's be clear, because I don't think that's      15      so I don't see how it cuts down on individual
16    consistent with what you've already told us?        16      review or getting more people through the system,
17             MR. HEBERLING: David, let me               17      then you would adopt the idea of using the
18    advise you, he gets up really early in the          18      costophrenic angle as one additional information
19    morning and usually likes to each lunch before      19      that makes it more likely that their pulmonary
20    noon.                                               20      function is, in fact, related to their pleural
21             MR. BERNICK: We'll finish up here.         21      thickening.
22    If the Witness wants to take a break, we'll take    22      Q Would you agree with me that there is a
23    a break. I want to take a break soon, too, but      23      reasonable scientific basis for using blunting of
24    I want to finish up this line of examination        24      the costophrenic angle as a criteria if the goal
25    before the skeen is lost.                           25      is to make it more certain that a group of
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 1           ARTHUR L. FRANK, M.D., PH.D.               1                 ARTHUR L. FRANK, M.D., PH.D.
 2   BY MR. BERNICK:                                    2         people's diminution of lung function is, in fact,
 3   Q If you have somebody who has significant         3         attributable to diffuse pleural thickening?
 4   impairment of lung function measured by whatever 4           A. More certain than what? Than what else?
 5   test you want to pick --                           5         Q Than without using it, that the inclusion
 6   A. Well, the ones I want to pick aren't here.      6         of --
 7   Q Well, I didn't ask you that. I said by           7         A. I don't think so. It's a question of more
 8   whatever ones you wanted to pick, and you wanted 8           or less likely to be due to that cause or some
 9   to know the likelihood -- and they had diffuse     9         other cause.
10   pleural thickening with or without a costophrenic 10         Q That's what I'm saying.
11   angle, they have diffuse pleural thickening --    11         A. Diffuse pleural thickening with or without a
12   A. Right, I understand.                           12         blunted angle, you want to be able to determine in
13   Q And you say, I want to go to the scientific     13         that case, especially if you're requiring
14   literature and determined if there is any way to  14         bilateral changes, that it's caused by asbestos.
15   find out whether their diffuse pleural thickening 15         So, the addition of the blunted angle or not
16   is caused by -- or causes the diminution of lung  16         should make no difference. You've already --
17   function, isn't it true that the only factor that 17         Q Should?
18   the literature tells us makes it more likely that 18         A. It doesn't make any --
19   diffuse pleural thickening is the cause of the    19         Q Well, that's where we're going.
20   diminution of lung function is blunting of the    20                   MR. HEBERLING: Objection. Let him
21   costophrenic angle?                               21         finish his answer.
22   A. It depends on what level you want to set       22                   THE WITNESS: It's a question of --
23   your assurance at.                                23         you can set up a hierarchy and say you have to
24   Q I understand that.                              24         meet three of these or four of these or five of
25   A. If you're looking for an additional factor,    25         these or six of these. The higher the number of

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 2   things you want to meet before you feel             2     not apply to any given individual.
 3   comfortable in paying somebody money, then that     3     Q Subject to that, is the answer to my
 4   would be something that you would include.          4     question "yes"?
 5            If you actually want to use the            5     A. It is a piece of science that makes you more
 6   idea that you want to be equitable to people and    6     certain that a group of individuals has their
 7   pay people and get them through the system          7     disease caused by asbestos, but it would not apply
 8   quickly and not require a lot of review, it         8     to a particular individual.
 9   shouldn't matter if there's blunted angles or       9     Q And is that also true with respect to
10   not, you're using a lower level of proof, which    10     bilateral as opposed to unilateral diffuse pleural
11   should still be adequate if it is believed that    11     thickening?
12   it was caused by asbestos with or without the      12     A. Yes.
13   blunting. But if you wanted to make it more        13     Q Now, in light of your Counsel's remark, I
14   different, than you can, in fact, can add the      14     want to close this up by just talking about lung
15   blunting in.                                       15     function briefly, and then we'll take the break.
16   Q Fair enough. Let's adopt your rue brick,         16     Lung function, under this TDP, this category, lung
17   but use -- you have the business about how you     17     function is measured by forced vital capacity
18   want to make it more different or make it harder   18     results; correct?
19   and we'll let the court decide what the            19     A. Yes.
20   appropriate answer to that is or whether that's    20     Q And it's not measured by DLCO; correct?
21   even relevant. I'm just asking about the science. 21      A. Correct.
22   And there's a difference between -- I'm going to   22     Q Now, is it true that, again, if you're
23   focus on between making something harder on the 23        processing large groups of people and you want to
24   one hand and then on the other making the number 24       know do they have a severe loss of lung function,
25   of people narrower, but based upon scientific data 25     science says that there's a reasonable basis for
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 1           ARTHUR L. FRANK, M.D., PH.D.                1            ARTHUR L. FRANK, M.D., PH.D.
 2   and study. So, it's not just arbitrary, the         2     measuring their severe loss of lung function by
 3   science tells you, yes, if you do that you make it  3     using forced vital capacity results?
 4   more likely that the diminution in function is, in  4     A. That is certainly one way you can do that
 5   fact, caused by the disease that you're trying to   5     measurement, but it doesn't exclude the
 6   compensate for. So, having said all that, I'll      6     possibility of using other measurements as well.
 7   put a question to you.                              7     Q Again, I would accept that answer, and I
 8   A. Okay.                                            8     would then want to go to DLCO in particular. DLCO
 9   Q We want to compensate people who have both a 9          is another way of measuring loss of lung function;
10   severe diminution in lung function and diffuse     10     correct?
11   pleural thickening, and the two are causally       11     A. Correct, one that is not as capable of being
12   related; that is, the diminution of lung function  12     manipulated by the individual.
13   is caused by diffuse pleural thickening. I want    13     Q Well --
14   you to assume that's what the goal is of the       14     A. It is more objective than the subjective
15   category. And now we want to say, well, what can   15     nature of PFTs.
16   we do to make it more certain scientifically that  16     Q But results from DLCO, that is when you have
17   the two things are tied together, the diffuse      17     diminished DLCO, there can be many causes of
18   pleural thickening and the loss of lung function?  18     diminished DLCO that are not specific to asbestos;
19   That's the question on the table. And what I'm     19     correct?
20   asking you is, isn't it true that there is         20     A. Yes.
21   science, that science says, that blunting of the   21     Q Now, with forced vital capacity results,
22   costophrenic angle, if it's present, makes it more 22     you're able to differentiate impairment due to
23   likely that a severe loss in lung function was, in 23     restriction from impairment due to obstruction;
24   fact, caused by diffuse pleural thickening?        24     correct?
25   A. It would apply to groups of people, it would    25     A. Yes.

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 2   Q In the case of diffuse pleural thickening,        2      done by people of a certain -- probably a "B"
 3   isn't it correct, absolutely correct under the      3      Reader.
 4   science, that the impairment associated with        4      Q But I'm saying, by the time the
 5   diffuse pleural thickening is restrictive and not   5      documentation comes in to be processed, no one
 6   obstructive?                                        6      else is looking at x-rays anymore, it's just
 7   A. I do not know. I know you can get                7      what's recorded on the piece of paper. So, if all
 8   restrictive changes, but you can also get           8      that you know from the piece of paper is DLCO, you
 9   obstructive changes following exposure to           9      can't tell -- let me be more clear about this.
10   asbestos. I do not know if you will find that      10      From forced vital capacity you can tell whether
11   with diffuse pleural thickening or if you require  11      the lung function impairment is obstructive or
12   parenchymal disease.                               12      restrictive. We've established that; correct?
13   Q Very fair. If it is the case that science        13      A. But you can also have -- it doesn't speak to
14   says that the impairment associated with diffuse 14        that here. It's not asking anybody to look at the
15   pleural thickening is restrictive and not          15      FEV1, for example. You can sometimes have a mixed
16   obstructive, isn't it true that forced vital       16      picture, and sometimes your FVC can be diminished
17   capacity will enable you to determine whether lung 17      because you have --
18   function impairment is associated with diffuse     18      Q There's a ratio requirement.
19   pleural thickening or something else?              19      A. Well, it's a ration requirement, but --
20   A. Yes.                                            20               MR. HEBERLING: Let him finish.
21   Q DLCO can't tell you that; correct?               21               THE WITNESS: -- but you could have
22   A. Can't tell you if it's related to -- well --    22      a severe obstructive disease, your FVC will go
23   Q It can't tell you whether the lung function      23      down, so it would look like a restrictive
24   impairment is either restrictive or obstructive;   24      process, but it's really secondary to an
25   correct?                                           25      obstructive process.
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 1            ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2    A. But you have other pieces of information         2     BY MR. BERNICK:
 3    that will help you decide that it's not an          3     Q Well, the point of the ratio is to be able
 4    isolated finding. If you have -- if you do          4     to determine whether there's a restrictive versus
 5    pulmonary function testing, you will know if        5     an obstructive process; correct?
 6    somebody has obstructive disease. If they have a    6     A. It does help with that, but it would still
 7    chest x-ray, you'll know if they have severe        7     be nice to look at all the numbers including the
 8    emphysema which would reduce DLCO because it        8     FEV1, because you're getting it anyway.
 9    had --                                              9     Q You're getting it anyway. So, my question,
10    Q True enough.                                     10     though, is if you put in DLCO as an alternative
11    A. If I can just finish. If you're doing it        11     basis where the forced vital capacity results do
12    only in isolation, it is not as good as a single   12     not show restrictions, how do you find out whether
13    isolated test, but if you're doing it as a battery 13     the DLCO, on its face, the DLCO won't tell you
14    of assessments, knowing the other factors such as 14      whether a loss of defusing capacity is caused by
15    what the chest x-rays looks like and what the PFTs 15     restriction or caused by many other things,
16    look like, DLCO may, in fact, be a better          16     including smoking; correct?
17    measurement.                                       17     A. How do you tell that is, you go to item four
18    Q But we're now talking about volume               18     of this medical exposure criteria, supporting
19    processing of claims without doctors doing -- I'm 19      medical documentation. You look to see what the
20    sorry -- without doctors doing, you know, "B"      20     documentation says and what the judgement of the
21    Reads as part of the claims qualification process, 21     doctor is as to what the cause of the reduced DLCO
22    so if you wanted --                                22     is.
23    A. But I believe it does require a "B" Read,       23     Q But that's individual review.
24    because if you're having a criteria that requires  24     A. Not if you're asking it to be done before
25    an ILO reading, I believe it is required to be     25     you send it in.

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 1           ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2   Q No. What you're asking to be done is that         2      Q I want to figure out whether that TDP has
 3   people must qualify for things that appear above, 3        the effect of excluding, not picking up, what's
 4   plus supply the documentation of it. It doesn't     4      called excluding, people with diffuse pleural
 5   require that you submit the whole medical record. 5        disease outside of Libby; people who are described
 6   A. It says, "Supporting medical documentation       6      in the scientific literature, nothing to do with
 7   establishing asbestos exposure as a contributing    7      Libby, and have diffuse pleural thickening. And
 8   fact in causing the pulmonary disease in            8      my question to you is whether some of them are
 9   question."                                          9      excluded, not picked up by the TDP, Roman IV B?
10   Q Which is what they have above. That is, you 10           A. There shouldn't be anything different about
11   have to have documentation of these things.        11      people outside Libby than inside Libby. It will
12            MR. HEBERLING: Objection;                 12      pick up or not pick up people according to
13   argumentative.                                     13      whatever criteria you get adopted.
14            THE WITNESS: It says you have to          14      Q We know from the literature that there are
15   have --                                            15      people with diffuse pleural thickening outside of
16   BY MR. BERNICK:                                    16      Libby who wouldn't meet the thickness and the
17   Q Let's make it simpler, because now we're         17      extent requirements; right?
18   back into parsing the TDP, and I know that that is 18      A. There will be people inside Libby who won't
19   something you don't have the -- forget all that.   19      meet it.
20   Question, if you have a DLCO, that's what you      20      Q I understand that. But I'm focusing first
21   have, there are many other causes of loss of       21      on outside and then we'll get to Libby.
22   diffusing function capacity that in order to       22      A. There is nothing different about the people
23   evaluate you would have to have medical files;     23      outside than inside.
24   correct?                                           24      Q Well, I guess that really kind of then takes
25   A. You need to have medical files to do this       25      me to the question. Is there any analysis that
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 1            ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2    assessment.                                         2     has been done which says that the proportion of
 3    Q I'm asking you whether you would need to 3              people with nonmalignant asbestos-related disease
 4    have medical files; correct?                        4     as a result of exposures in Libby, that the mix of
 5    A. You would need to have medical files just as     5     those people, in terms of whether they have
 6    you would need to have medical files for these      6     diffuse pleural thickening or not is any different
 7    cases as well.                                      7     than it is outside of Libby?
 8    Q Well, you wouldn't need to have medical -- 8            A. I haven't seen that kind of comparison.
 9    all you need to have for the forced vital capacity 9      What I can tell you is the percentage of people in
10    are the force vital capacity results?              10     Libby with only community exposure getting disease
11    A. No, it requires all of these things, that       11     is far higher than I've seen anywhere else. But
12    somebody still has to look at, including a medical 12     I've not seen what proportion have that particular
13    assessment that links them all together. That's    13     problem in Libby versus the proportion that have
14    what it says here.                                 14     it outside of Libby. The closest you would be
15    Q Okay. We'll take a lunch break.                  15     able to get to look at that is, let's say,
16    A. Okay.                                           16     something like Dr. Lillis study where you have the
17                   - - -                               17     insulators where she found roughly twenty percent
18              (Whereupon a short break was taken       18     met those criteria. I don't know what the
19    at this time.)                                     19     percentage would be in Libby.
20                   - - -                               20     Q But the insulators would have been workers;
21    BY MR. BERNICK:                                    21     right?
22    Q Dr. Frank?                                       22     A. Well, you didn't specify workers or
23    A. Yes, sir.                                       23     nonworkers. You said people in Libby, that could
24    Q The TDP, focusing again on Roman IV B. 24               include workers.
25    A. Yes.                                            25     Q But I mean, just in general terms, you're

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 1           ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2   not aware of anybody else who has done an analysis 2      has now been updated as of May of this year?
 3   of disease patterns of Libby to see if it comes to  3     A. Yes.
 4   nonmalignant respiratory disease and diffuse        4     Q And that updated data is not reflected in
 5   pleural thickening specifically whether there is a  5     various
 6   different pattern of manifestation of those         6     sur-sur-supplemental-supplemental-supplemental
 7   conditions on Libby versus elsewhere?               7     reports; right?
 8   A. I've not seen it published. I can tell you       8     A. I'm not sure I know what a
 9   from my various trips to Libby and in talking with  9     sur-sur-supplemental-supplemental-supplemental
10   the doctors at the CARD Clinic that there do seem  10     report is, but I think you're being a little
11   to be factors in Libby that do not sound like what 11     facetious, but it has been reflected in other
12   I've seen in any other group or read about in any  12     documents.
13   other group. There's a higher percentage of        13     Q Right. I was being a little facetious?
14   people with chest pain, which is a rare            14     A. Well, I just want the record to be clear
15   manifestation of asbestos-related disease in other 15     about that so I'm not answering something that
16   populations.                                       16     made no real sense.
17             There appears to be a pattern in some    17     Q Later on it will come back to haunt you as a
18   individuals of acute obstructive changes, which    18     serious statement.
19   tend not to be seen elsewhere. There is a          19     A. You can imagine in the number of depositions
20   severity of disease leading to death with rather   20     that I've given lines are pulled out in kinds of
21   minimal changes on x-ray, some of which are even   21     places.
22   only found occasionally on CT scan that is not     22     Q Right. So, as I understand it, you in
23   like the pattern of disease I see elsewhere, but   23     particular have gone ahead and reviewed the
24   none of that has been written or put into the      24     medical records of seventy-six nonmalignant
25   scientific literature.                             25     deaths; is that correct?
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 1          ARTHUR L. FRANK, M.D., PH.D.                1              ARTHUR L. FRANK, M.D., PH.D.
 2   Q And have you done the analysis about whether     2      A. No, I have not reviewed the medical records.
 3   the TDP category Roman IV B would have any kind of 3      I have reviewed radiographic data, but I've not
 4   disproportionate effect on people with diffuse     4      reviewed the medical records in all those cases.
 5   pleural disease at Libby?                          5               MR. HEBERLING: Off the record.
 6   A. I have not done that kind of analysis.          6                     - - -
 7   Q Are you aware of anybody who has?                7               (Whereupon a discussion was held
 8   A. No.                                             8      off the stenographic record.)
 9   Q Let me ask you about the mortality data that     9                     - - -
10   you've worked on, and then I'll be done. As I     10      BY MR. BERNICK:
11   understand it, there's a group of people who were 11      Q To get back on the same page, there were
12   residents of Libby who died and whose disease has 12      seventy-six nonmalignant deaths where you read the
13   been recorded at the CARD Clinic and in turn      13      documentation of the radiographic readings?
14   reviewed by Dr. Whitehouse and others, including  14      A. I read the x-rays or the CT scans and made
15   yourself?                                         15      measurements, not just reading the documentation.
16   A. Yes.                                           16      Q Now, how did seventy-six get picked out?
17   Q And that the review of the mortality            17      A. Those were the deaths at the clinic from
18   experience at the CARD Clinic, can we just call   18      individuals I believe you said the criteria were
19   that the CARD mortality study or CARD mortality   19      nonoccupational exposure.
20   data?                                             20      Q No, I didn't say that.
21   A. Yes.                                           21      A. These were the deaths at the clinic with --
22   Q Which would you prefer?                         22      I'm not exactly sure, as I sit here right now, to
23   A. The latter.                                    23      remember how those seventy-six got selected.
24   Q Okay. And as I further understand it, the       24      Q And maybe this will shorten the examination
25   CARD mortality data, the analysis of that data,   25      even more and we'll wait for Dr. Whitehouse to

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 2   clarify all these things when we examine him. My 2        A. I did not have a role in the decision about
 3   understanding is that of the people who had         3     any given case I had discussions over what the
 4   asbestos-related illness at the CARD Clinic and     4     criteria to be used would look like to make the
 5   died, and have died up through May of this year,    5     data as compatible as we could with the way that I
 6   that those cases of mortality were reviewed in      6     have been trained and brought up at Mount Sinai
 7   order to determine whether asbestos-related         7     with Dr. Selikoff to make that determination.
 8   illness was a contributing factor in the deaths of  8     Since you know, as I'm sure you do, his data looks
 9   these individuals?                                  9     at, for example, death certificate data and then
10   A. No. It was reviewed --                          10     best evidence. And the best evidence sometimes
11            MR. HEBERLING: Objection;                 11     supercedes and clarifies what is written on the
12   misstates the record.                              12     death certificate. So, the mortality study, the
13            MR. BERNICK: That's not even an           13     ultimate decision was not made by me, but the
14   objection. It's object to form.                    14     process and the construct to use I had a
15   BY MR. BERNICK:                                    15     contribution to.
16   Q If I'm wrong, tell me why I'm wrong.             16     Q So, you are knowledgeable about it?
17   A. The last part of your statement --              17     A. Yes.
18   Q Well, there was some analysis that was done. 18         Q So, the goal is to isolate or find within
19   A. Right, that these --                            19     the broader group of people who died at CARD, or
20   Q All right. You go ahead.                         20     who died and whose records are at CARD, find the
21   A. These were people that have died at the CARD 21        subgroup of those whose deaths were, in some
22   Clinic, and I forget how you characterize it. I    22     fashion, causally attributable to their asbestos
23   was just about to answer and the objection came in 23     exposure. That was the goal; right?
24   and the thought left my head. There were people    24     A. Yes.
25   that died at the CARD Clinic for which there was   25     Q And the question was, what should be the
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 1           ARTHUR L. FRANK, M.D., PH.D.                1            ARTHUR L. FRANK, M.D., PH.D.
 2   radiographic evidence and you said as --            2     test of the relationship? What test should be
 3   Q As the cause.                                     3     adopted in determining whether the death was
 4   A. -- cause of death. No, that was the              4     caused by asbestos exposure, that was the issue
 5   mischaracterization. There were seventy-six         5     you were addressing; right?
 6   deaths and they had been analyzed by underlining    6     A. Yes.
 7   cause of death or the disease was present but       7     Q And what ultimately was the test, as you
 8   didn't necessarily cause their death. So, the       8     understood it, that was used in analyzing the CARD
 9   number who died of what appeared to be              9     mortality data? Just state it for us.
10   asbestos-related disease who entered that study, I 10     A. That those that would be said to have died
11   think the number is now sixty-two, that's the --   11     of an asbestos-related disease had their, as the
12   Q Let me just get at this. A subset -- if we       12     underlining cause of death, a disease that was
13   begin with the group of people who died and who 13        related to asbestos. Other individuals had
14   were studied or seen at the CARD Clinic --         14     evidence of asbestos disease, but it did not
15   A. Right.                                          15     contribute -- or it may have contributed to their
16   Q -- and, therefore, made their way into the       16     death or it may have been present when they died
17   mortality study, some subgroup of them was         17     of something unrelated to asbestos, and those
18   identified where a determination was made that     18     would be categorized separately.
19   their death was, in some fashion or by some test, 19      Q So, I want to become now more precise about
20   caused by their asbestos exposure?                 20     that. As I understand it, there was a review done
21   A. Correct.                                        21     of the death certificates for the individuals at
22   Q Were you involved in the process of making 22           the CARD Clinic; correct?
23   the determination of the causal relationship       23     A. Yes.
24   between the death of those individuals on the one 24      Q And death certificates typically have a
25   hand and their exposure to asbestos on the other? 25      primary cause of death and then they have a second

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 1           ARTHUR L. FRANK, M.D., PH.D.              1                ARTHUR L. FRANK, M.D., PH.D.
 2   line --                                           2       precedent to death, and then it's also supposed to
 3   A. It's not primary. It's usually immediate       3       reflect the cause of death; that is, what the
 4   cause of death caused by or due to -- they have   4       death was due to.
 5   several such lines, and then they usually have    5       A. Is that a question or a statement?
 6   another box that says, other significant          6       Q An attempt to make a succinct statement and
 7   conditions.                                       7       ask you whether it was true or not.
 8   Q So, in your own words, then, two lines to       8       A. The reality of the way death certificates
 9   the death certificate?                            9       are filled out is sort of as follows, very rarely
10   A. Well, there's at least three, probably four   10       do physicians in their training, either in medical
11   lines. For example, the immediate cause of death 11       school or as residents, get training in filling
12   could be listed as pulmonary arrest or cardiac   12       out death certificates. We are not trained as a
13   arrest. The underlying cause could be a lung     13       nosologist would be trained, and death
14   cancer or asbestosis. So, you code it as to what 14       certificates have significant problems with it.
15   the underlying cause was, not the immediate      15                 Most physicians will put down as the
16   physiological entity.                            16       cause of death not the immediate physiologic
17   Q So, what does "immediate cause" mean in a 17            entity, such as cardiac arrest or pulmonary
18   death certificate? What is it supposed to mean?  18       arrest, or whatever, but they will put down the
19   A. What was the final event that caused the      19       underlying cause. Some go through more of a
20   demise.                                          20       complicated step. But I would say the vast
21   Q And then the second line or second cause was 21         majority of death certificates will have one
22   what, again?                                     22       cause, but it is also entirely legitimate to put
23   A. It's usually called "due to" or sometimes it  23       down that series of events, and there's no good
24   says "as a consequence of".                      24       rule that doctors follow.
25   Q And what's the test for whether something is 25                   For example, it may say pulmonary
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 1            ARTHUR L. FRANK, M.D., PH.D.               1             ARTHUR L. FRANK, M.D., PH.D.
 2   a cause? What's the test of what goes on that       2     arrest caused by mesothelioma as a consequence of
 3   second line?                                        3     asbestos exposure. I mean, you will see that on
 4   A. There are official ways of doing that called     4     death certificates. So, you have to make some
 5   -- there are individuals who do such coding.        5     judgement and the judgement is the cause of death
 6   They're called nosologists.                         6     was really mesothelioma.
 7   Q Right.                                            7     Q That's what you are aiming for, is to
 8   A. And that's the official way to do it. But        8     determine the cause of death?
 9   basically the other way to do it is to look at the  9     A. The cause of death. The most accurate
10   totality of the record and make a clinical         10     depiction of the cause of death.
11   judgement as to what the cause of death is. And    11     Q Now, what you're saying is that because the
12   so the death certificate may say, you know,        12     death certificate either might not be available or
13   pulmonary arrest or heart attack or something like 13     may not be properly filled out or may not be very
14   that, but then it's caused by something else.      14     revealing, in the work that you've done outside of
15   Sometimes they're very simple and straightforward, 15     Libby, you can look to the best evidence, I think
16   there isn't this multiplicative of lines that are  16     is what you called it?
17   used.                                              17     A. Correct.
18             It simply says lung cancer or            18     Q And what does the best evidence refer to?
19   mesothelioma, but sometimes it says pulmonary      19     A. And I haven't done those kinds of study,
20   arrest due to mesothelioma. So, the cause of       20     just to be clear. I was part of the studies at
21   death was mesothelioma and not the physiological   21     Sinai where this was done and it had to do with
22   event.                                             22     the insulators cohort that we talked about earlier
23   Q So, to put it in a nutshell, the death           23     this morning.
24   certificate is supposed to reflect the immediate   24              When an insulator would die, a copy
25   cause of death, that being the condition immediate 25     of the death certificate would come to Mount

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 2   Sinai. What Dr. Selikoff would then do is write       2     A. Yes.
 3   to the physician and/or to the hospital, it was       3     Q And so he's got a lot of people who have
 4   usually the hospital where the death occurred, and    4     death certificates and those death certificates
 5   obtain medical records and ideally obtain             5     are going to be filled out to reflect the cause in
 6   pathology, and then Dr. Suzuki, one of the            6     the way that you've indicated subject to all its
 7   pathologists who was on the staff in the              7     limitations?
 8   environmental sciences laboratory, would review       8     A. Yes.
 9   the tissue, because there were many errors,           9     Q And where he didn't have the death
10   especially back in the '70's and such where things   10     certificate or he had new people coming in and he
11   as mesothelioma weren't as well-recognized, and      11     wanted to include them in all cases the common
12   there would be misdiagnoses.                         12     denominator was, for doing his research, he wanted
13            For example, it would say                   13     to be able to say, here was the cause of death;
14   carcinomatosis of the abdomen as a cause of death,   14     fair?
15   and they would miss the fact that it was a           15     A. First of all, he did have a death
16   peritoneal mesothelioma. Or it would be listed as    16     certificate in every case. He wouldn't always
17   a lung cancer when it was a meso. Or sometimes it    17     have hospital records or tissue. And if you look
18   was listed as a meso when it was actually a lung     18     at his published data, he always listed both. He
19   cancer. So, at the end of the day we relied upon     19     puts down DC, death certificate evidence, and then
20   the most accurate and experienced pathologic         20     he puts BE, best evidence. And you'll notice for
21   diagnosis, along with the clinical judgement that    21     particularly the malignancies there are a fair
22   Dr. Selikoff would bring as he would classify        22     number of discrepancies.
23   those.                                               23     Q So, I stand corrected, and that's fine, but
24   Q Again, was the goal to be looking for the          24     basically for Dr. Selikoff to do his research and
25   judgement that you were looking to make was a        25     put together mortality studies, which involve
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 1           ARTHUR L. FRANK, M.D., PH.D.                1              ARTHUR L. FRANK, M.D., PH.D.
 2   judgement about the cause of death; correct?        2       death, it was important for him to be ascertaining
 3   A. Yes.                                             3       in each case a cause of death?
 4   Q Now, this process, this kind of best              4       A. Yes.
 5   evidence method, I understand that you're familiar 5        Q And in your consultation in connection with
 6   with it and it was used by Dr. Selikoff, but has    6       this case, you advised Dr. Whitehouse, or others,
 7   it ever actually been published anywhere as a       7       on how to do it the same way as Dr. Selikoff?
 8   methodology for determining the cause of death? 8           A. As close as we can get to it, yes, without
 9   A. Not that I'm aware of and I'm aware of many      9       doing a separate pathological review.
10   other studies where they've gone to that level of  10       Q Now, in the legal world, how many times have
11   follow-up to obtain the original tissues and so    11       you been asked for your opinion on whether a
12   forth. And so most studies will just use what's    12       certain asbestos exposure was a substantial
13   listed on the death certificate, but, again,       13       contributing factor in causing disease or death?
14   having done a study as a student working with      14       A. Many times.
15   Dr. Selikoff reviewing death certificates, I can   15       Q Many times. "A substantial contributing
16   tell you that death certificates are woefully      16       factor" is a legal term; correct?
17   incorrect and inadequate for good epidemiological  17       A. Yes.
18   work.                                              18       Q "Substantial contributing factor" is not a
19   Q For purposes of the work that Dr. Selikoff       19       scientific term; correct?
20   was doing, which was to do research; right?        20       A. Correct, and so I've testified many times.
21   A. Yes.                                            21       Q And so you've testified many times. In
22   Q It was important for him in doing his            22       figuring out which of the CARD mortality cases
23   research to have consistency in what he was using 23        were caused by Libby asbestos exposure, did
24   as a measure of cause and including cause of       24       anybody apply -- was the test applied whether
25   mortality in his mortality studies; is that right? 25       asbestos exposure was the cause or was the test

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 1            ARTHUR L. FRANK, M.D., PH.D.               1            ARTHUR L. FRANK, M.D., PH.D.
 2    applied whether asbestos exposure was a            2     thickening?
 3    substantial contributing factor?                   3     A. It's all there on the table. I don't have
 4    A. I believe it was the latter rather than the     4     the number in my head out of that what number did.
 5    former. For example, you could have a lung cancer 5      More had pleural plaques and diffuse pleural
 6    which could have two causes, but a substantial     6     thickening, is my recollection, but I can't give
 7    contributing cause would be the exposure to        7     you the numbers. I would have to see the tables
 8    asbestos. If you had a mesothelioma, then it's a   8     and look them again.
 9    lot easier than it's the asbestos.                 9     Q Do you know out of the seventy-six people
10    Q So, in the case of lung cancer, even where 10          how many people in the CARD study had both diffuse
11    the person was a smoker, if they had a history of 11     pleural thickening, with or without costophrenic
12    exposure to asbestos, asbestos could still be     12     blunting, and had restrictive lung function below
13    found to be a substantial contributing factor;    13     the range of normal?
14    fair?                                             14     A. I didn't look at the pulmonary function data
15    A. Yes.                                           15     for those individuals. I was simply reading those
16    Q Whose decision was it to use "substantial       16     x-rays and doing my own independent analysis of
17    contributing factor" as opposed to "the cause"? 17       what was on the x-rays or CT scans. I do know
18             MR. HEBERLING: Objection; assumes        18     just antidotally without an analysis that there
19    that "substantial contributing factor" was used.  19     would have been many individuals who were judged
20    BY MR. BERNICK:                                   20     to have died of an asbestos-related disease --
21    Q This is an effort to tell you something.        21     Q The cause, or substantial --
22    But I'm just asking for what you know. Whose      22     A. The cause, who would not fit the criteria as
23    decision was it?                                  23     they are outlined in document eleven.
24    A. I am not sure the decision was used to use     24     Q Which is, are you talking about, category
25    the term "substantial contributing cause", which  25     one --
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 1          ARTHUR L. FRANK, M.D., PH.D.                 1              ARTHUR L. FRANK, M.D., PH.D.
 2   is we have now both agreed is a legal term. It      2     A. Any category. They wouldn't fit any
 3   was Dr. Whitehouse who made the ultimate decision 3       category.
 4   of was this a death that was an asbestos-related    4     Q They wouldn't fit any category?
 5   death or not.                                       5     A. Correct. Well, I guess they would fit
 6   Q When it came to the seventy-six nonmalignant 6          probably the second to last one, whatever the --
 7   deaths that you read --                             7     there were people --
 8   A. Yes.                                             8     Q Well, let's be clear.
 9   Q -- was it your understanding that these were      9     A. Okay. There were people who would not have
10   deaths where asbestos-related illness was a        10     fit the category of severe asbestosis, though they
11   substantial contributing factor or a significant   11     died of asbestos disease because they wouldn't
12   contributing factor or is it your understanding    12     have either met the criteria as listed here, nor
13   that these were cases where asbestos-related       13     would they have fit category IV B, severe
14   illness was the cause of death?                    14     disabling pleural disease, because they wouldn't
15   A. When I read the x-rays I knew that these        15     fit those criteria either. But they were dead
16   were all patients that had had asbestos-related    16     from their asbestos disease.
17   disease. I did not know what the ultimate          17     Q Well, let's just be clear, have you done
18   judgement was about those particular individuals   18     your own analysis of the cause of death for
19   as to what was thought to be their cause of death. 19     anybody at the CARD Clinic?
20   That was not a part of the analysis that I made.   20     A. No.
21   So, I don't know ultimately, and you'll ask        21     Q So, when you say there are people who died
22   Dr. Whitehouse, I'm sure, what criteria he used.   22     of asbestos-related disease, you're relying upon
23   Q Ultimately, how many of the people who were 23          there being a death certificate that says that or
24   included in the seventy-six nonmalignant deaths, 24       the best evidence analysis done by somebody else?
25   how many of those people had diffuse pleural       25     A. Dr. Whitehouse.

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 1           ARTHUR L. FRANK, M.D., PH.D.             1               ARTHUR L. FRANK, M.D., PH.D.
 2   Q Dr. Whitehouse. In how many cases -- did       2       A. I don't know. I didn't do any of that
 3   you actually look at the death certificates?     3       analysis. I told you the only thing I did was
 4   A. No.                                           4       read the radiology and make my independent
 5   Q So, you don't know how many of the people      5       judgement of what was there on the radiographs.
 6   who comprised the mortality study had a death    6       Q I just want to ask you very plainly, on
 7   certificate that said they died of asbestos      7       reading the radiology, you filled out a bunch of
 8   disease or Whitehouse analysis based on best     8       forms; right?
 9   evidence? You don't know how the population      9       A. I did.
10   breaks out?                                     10       Q Who put together the forms?
11   A. More than half the people died of an         11       A. Dr. Whitehouse. It was a form that he had
12   asbestos-related disease.                       12       used to do the first reading, and then he brought
13   Q In the CARD Clinic study?                     13       blank forms and the materials and we sat there and
14   A. Of this seventy-six.                         14       I read the x-rays independently.
15   Q I understand that, but you don't know in how 15        Q So, Dr. Whitehouse had already read all the
16   many cases that statement was based upon a death16       x-rays that comprised the seventy-six people?
17   certificate as opposed to Dr. Whitehouse's best 17       A. He had.
18   evidence analysis?                              18       Q And he had filled out his own form and
19   A. Well, every case that had a death            19       basically you were there to be a second read?
20   certificate was also given his best evidence    20       A. Yes.
21   analysis, so there's both and they could be     21       Q Now, that was not a blind read; right? You
22   congruent or they could be different.           22       didn't have any controls that you were looking at?
23   Q But I'm saying, you don't know --             23       A. No.
24   A. I don't know how that breaks down.           24       Q You just knew that everybody who
25   Q In how many cases -- well, did                25       comprised --
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 1           ARTHUR L. FRANK, M.D., PH.D.               1               ARTHUR L. FRANK, M.D., PH.D.
 2   Dr. Whitehouse fill out any of the death           2      A. Actually, no, I think I asked him -- now
 3   certificates himself?                              3      that I think about it. I can't recall. We
 4   A. I believe he did, but I can't say that for      4      discussed it and I just can't recall if we did
 5   sure. Some of them were patients he knew. Over     5      this. He had, you know, a computer full of these
 6   the years I don't know if he himself filled out    6      reads and I said I would like to also put some in
 7   the death certificates or not.                     7      there that aren't part of this group, because that
 8   Q In how many cases --                             8      way I'm reading them blind and I don't know who is
 9   A. He knew all of these individuals.               9      who.
10   Q He knew all of these individuals, and where     10      Q Do you know if he did that or not?
11   he didn't fill out the death certificate, the     11      A. Honestly, I don't recall.
12   death certificate could have been filled out by   12      Q Do you know, when you did the reading --
13   somebody who talked with him about how it should13        A. We may not have, but we certainly discussed
14   be filled out; correct?                           14      it.
15   A. Anything could be possible. They could have    15      Q But did you fill out a sheet for every one
16   talked to him. They could have talked to somebody 16      that you read?
17   else. They could have just filled it out          17      A. Yes.
18   themselves, it depends where they died. It could  18      Q And then a total of how many did you read?
19   have been the house staff on duty who filled it   19      A. I don't recall.
20   out. Who knows.                                   20                MR. BERNICK: The sheets that he
21   Q With respect to the seventy-six nonmalignant 21         filled out, were they attached to something?
22   deaths that you analyzed, in how many cases was a22                 MR. STANSBURY: An expert report,
23   cause of death determined by somebody other than23        yes.
24   Dr. Whitehouse or people who practiced with       24      BY MR. BERNICK:
25   Dr. Whitehouse?                                   25      Q Did you attach to your expert report all of

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 1          ARTHUR L. FRANK, M.D., PH.D.                 1             ARTHUR L. FRANK, M.D., PH.D.
 2   the sheets that you filled out?                     2      A. We did not have that discussion. And CTs
 3   A. I belive so. If there are seventy-six, then      3      are not relevant with regard to "B" Readership
 4   there's only that seventy-six. If there is more     4      anyway in terms of the measurements on those.
 5   than seventy-six, then it was other cases as well.  5      Q But you just didn't review the CTs?
 6   Q But if it's only seventy-six, if it's             6      A. No, we didn't do just that. No, that's
 7   seventy-six or less, than, in fact, the procedure   7      true.
 8   that you used --                                    8      Q So, when it came to the x-rays there are
 9   A. I knew that these were all people that had       9      certainly people who are more qualified than you
10   been judged to have had disease.                   10      to performed a second "B" Read of x-rays; is that
11   Q So, in that case, it was not a blind             11      correct?
12   reading?                                           12      A. Is that a statement or a judgement?
13   A. Correct.                                        13      Q It's a statement that I think you're going
14   Q And we'll, again, try and figure that out        14      to agree with because I think it's true.
15   with Dr. Whitehouse. Was there anybody else,       15      A. I don't think being a "B" Reader or not,
16   besides you and Dr. Whitehouse, who read the       16      even though I took the exam once and didn't pass
17   x-rays of these people for purposes of doing this 17       it, makes me either unqualified or less qualified.
18   analysis?                                          18      I have been reading x-rays for close to forty
19   A. Not that I'm aware of. And Dr. Welch was        19      years. I have been trained by Dr. Selikoff to
20   present when we did this, as were some of your     20      read them. I've had research papers published on
21   legal colleagues.                                  21      the basis of my readings of x-rays, but I am not a
22   Q Is that right? They're holding out on me.        22      "B" Reader. I mean, that's the only thing I am
23   Do you know why you were chosen or asked to do 23          not, but if you say that just because someone is a
24   this second read of the x-rays?                    24      "B" Reader they are more qualified --
25   A. You would have to ask the people that asked     25      Q I didn't say that.
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 1           ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2   me why they chose me.                               2     A. Well, that was the implication.
 3   Q You didn't say why me?                            3     Q I'll repose my question. I apologize for
 4   A. No.                                              4     its coming across as being, in some fashion, a
 5   Q You just said okay?                               5     slight. It was not intended to be. But there
 6   A. Yes.                                             6     certainly are people who are more qualified than
 7   Q Now, you testified before, as I know, I'm         7     you to do a second reading of an x-ray for
 8   sure because I have such a good memory, that        8     asbestos-related illness; correct?
 9   typically you don't do reading of x-rays; correct?  9     A. I think I'm as qualified as anyone to do a
10   A. I do them whenever they are sent to me.         10     second reading or a first reading or a tenth
11   Most lawyers do not send me x-rays. Those that     11     reading of an x-ray looking for asbestos disease
12   do, I read. And years ago, when there were a lot   12     as anybody else. So, I don't know what you mean
13   more cases of asbestosis that were part of the mix 13     by "more qualified".
14   of the cases that I saw, I saw a lot more x-rays   14              The only qualification that I don't
15   and read them quite regularly.                     15     have, if you want to use that as a standard, is
16            I would say at least eighty, maybe        16     there are "B" Readers. I am not a "B" Reader.
17   ninety percent of the cases that I see now are     17     That would be one judgement to say they are better
18   mesotheliomas, and x-rays are pretty irrelevant.   18     qualified. But I would think there are very few
19   And even in the few that are lung cancers, I       19     physicians who have seen as many x-rays as I have.
20   probably don't see more than two or three cases of 20     Q Let's just talk about asbestosis, and let's
21   asbestosis a year any more.                        21     talk about pleural thickening in particular. Do
22   Q Did you discuss with Dr. Whitehouse or with      22     you think that following the conventions that are
23   anybody else what was the purpose of you doing the 23     followed by scientists in your field when it comes
24   second read as opposed to somebody who was a       24     to saying somebody is an expert or not, do you
25   certified "B" Reader?                              25     think that you're an expert in "B" Reading of

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 1            ARTHUR L. FRANK, M.D., PH.D.               1              ARTHUR L. FRANK, M.D., PH.D.
 2    diffuse pleural thickening?                        2     Q Do you know about the background of the
 3    A. First of all, I'm not a "B" Reader, so let's    3     revisions to the ILO guidelines in 2000; that is,
 4    leave that out. "B" Reading is a convention. I     4     how the revision came about?
 5    mean, I do readings using the ILO classification.  5     A. No. I was not part of that process.
 6    That doesn't make them a "B" Read, but they are    6     Q Have you studied that process?
 7    like what a "B" Reader would use. I would say      7     A. Not especially. I had colleagues at Sinai
 8    that I've had as much experience in doing this as  8     who were involved with earlier such iterations,
 9    anyone I know of, especially with regard to        9     and they were off doing that. Selikoff would do
10    asbestos.                                         10     it, Dr. Lillis would do it.
11              If you want to say to me are there      11     Q The ILO guidelines are part of a process
12    people who are more experience in reading x-rays 12      that involves people who you would, in fact,
13    for co-workers pneumoconiosis or more silicotics  13     acknowledged that given conventions of the word
14    than I've seen, there are probably, undoubtedly,  14     "expert" in the scientific field are experts in
15    people that have seen far more of those x-rays.   15     your field; correct?
16    But I have seen as many x-rays and have probably 16      A. Yes.
17    have had as much experience as any of my          17     Q And the process of developing and revising
18    contemporaries that I am aware of.                18     the ILO classifications and guidelines is a
19    Q Well, why can't you tell us whether blunting 19        process taken very, very seriously and an attempt
20    of the costophrenic angle affects either or both 20      is made to meet the highest standards; correct?
21    of the parietal or viscera pleura?                21     A. I would like to think so.
22    A. You can't tell that from an x-ray.             22     Q That's certainly your understanding;
23    Q You can't?                                      23     correct?
24    A. Well, when you see a blunting, you don't       24     A. Right. But there are serious flaws with the
25    know exactly -- I mean, we had that discussion    25     system in many ways.
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 1            ARTHUR L. FRANK, M.D., PH.D.              1              ARTHUR L. FRANK, M.D., PH.D.
 2   earlier. I don't know the anatomy of that.         2      Q    I have nothing further at this time.
 3   Q Why wouldn't you if you were an expert in        3               MR. HEBERLING: Anyone on the
 4   reading the x-rays in that particular respect?     4      speaker phone who would like to examine?
 5   A. Because you are not marking down on a form      5               MS. KUCHINSKY: I would, but I
 6   is it a parietal pleura or is it a visceral        6      won't.
 7   pleura. You're marking down is there evidence of   7               MR. COCKRELL: Dale Cockrell; I
 8   a blunted angle. That's all you're marking down.   8      have no questions.
 9   And you don't know what it's from. I mean, it      9               MR. HEBERLING: Well, I will ask a
10   could be fluid, too. That's all -- you know, I    10      couple.
11   can tell a blunted angle as well anybody else.    11               MR. BERNICK: At your peril.
12   You could probably even tell one.                 12                 - - -
13   Q Don't get carried away.                         13                EXAMINATION
14   A. There are some lawyers who have either         14                 - - -
15   wanted to or actually took the "B" Reader exam.   15      BY MR. HEBERLING:
16   Q I'm not one of those people. Any question       16      Q Do you recall the discussion of the 1,800
17   that smoking can cause a loss of diffusing        17      people diagnosed at the CARD Clinic with
18   capacity?                                         18      asbestos-related disease?
19   A. In some people, it certainly does.             19      A. I do.
20   Q That's not an infrequent -- it's a              20      Q And of the 1,800 so diagnosed, do you have
21   well-established potential consequence of smoking;21      an opinion whether an individual with normal lung
22   correct?                                          22      functions and an asbestos-related disease
23   A. I wouldn't say it's all that frequent. You     23      diagnosis will be more likely than not to die of
24   have to have pretty severe lung disease to get a  24      an asbestos-related disease, malignant or
25   drop in DLCO just from cigarettes.                25      nonmalignant?

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 1           ARTHUR L. FRANK, M.D., PH.D.               1              ARTHUR L. FRANK, M.D., PH.D.
 2             MR. FINCH: Objection.                    2               MR. BERNICK: Well, there's no
 3             MR. BERNICK: Objection. It's not         3      basis for it. It's in his report, but there's
 4   in his expert reports and you haven't provided a   4      no basis for it in his report. It's the same
 5   foundation for it.                                 5      problem. Go ahead, answer the question.
 6             MR. FINCH: Same objection.               6               THE WITNESS: If the pattern of
 7             THE WITNESS: The data that we have       7      disease holds as it has for people so far, it is
 8   from the CARD Clinic, as I understand it, is       8      more likely than not that an individual will die
 9   that more than fifty percent of the individuals    9      of an asbestos-related disease. That does not
10   who have been diagnosed with a nonmalignant       10      mean everyone will, and I can't predict who
11   asbestos disease will ultimately die of an        11      those would be, but the odds are given on the
12   asbestos disease. So, it is entirely possible     12      basis of what has occurred. So far if the
13   that of the 1,800 people, a large number of them  13      pattern holds, more than fifty percent will die
14   will die of an asbestos-related disease.          14      of an asbestos-related disease.
15             MR. BERNICK: Is that the best you       15               MR. BERNICK: Fifty percent of
16   can do?                                           16      what?
17             MR. HEBERLING: Wait a minute, I'm       17               THE WITNESS: Of the 1,800.
18   doing the examination.                            18               MR. BERNICK: He didn't ask you
19             MR. BERNICK: We're creating a           19      that. He's asking about an individual.
20   record here. Go ahead.                            20               MR. HEBERLING: You will have the
21             MR. FINCH: Go ahead. I'll have          21      opportunity to examine him, Mr. Bernick. Please
22   some follow up based on this.                     22      don't interrupt.
23   BY MR. HEBERLING:                                 23               MR. BERNICK: Go ahead. Sorry.
24   Q As to an individual diagnosed with asbestos 24          BY MR. HEBERLING:
25   disease, do you have an opinion whether it is more25      Q Do you recall a discussion of the Lillis
                                            Page 227                                                  Page 229
 1            ARTHUR L. FRANK, M.D., PH.D.              1             ARTHUR L. FRANK, M.D., PH.D.
 2    likely than not that they would die of an         2     1991 article?
 3    asbestos-related disease, malignant or            3     A. Yes.
 4    nonmalignant?                                     4     Q And there was a group with diffuse pleural
 5             MR. BERNICK: I'm sorry; can I have       5     thickening defined as requiring blunting?
 6    the question read back?                           6     A. Yes.
 7               - - -                                  7     Q And then there was another group with
 8             (Whereupon the preceding question        8     pleural thickening without blunting?
 9    was read back.)                                   9     A. Yes, called pleural plaques.
10               - - -                                 10               MR. FINCH: Objection to form.
11             MR. BERNICK: Which individual,          11     BY MR. HEBERLING:
12    Libby or some place else?                        12     Q And in the group without blunting, was
13             MR. HEBERLING: CARD Clinic person.      13     increasing pleural thickening predictive of loss
14             MR. BERNICK: CARD Clinic person,        14     of lung function?
15    so somebody diagnosed today; is that the         15               MR. BERNICK: Objection; leading.
16    question?                                        16               THE WITNESS: Yes. There was a
17             MR. HEBERLING: That's the               17     statistically significant relationship that as
18    question, yes.                                   18     the severity of the pleural disease got worse,
19             MR. FINCH: Objection; lack of           19     the pulmonary function would get worse.
20    foundation, lack of disclosure of expert         20     BY MR. HEBERLING:
21    information on which he relies to make that      21     Q And did this hold for the diffuse pleural
22    statement.                                       22     thickening group?
23             MR. HEBERLING: It's in his report.      23               MR. BERNICK: Objection; leading.
24             MR. FINCH: No, it's not.                24     BY MR. HEBERLING:
25             MR. HEBERLING: Yes.                     25     Q Do you have an opinion whether this held as

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 1            ARTHUR L. FRANK, M.D., PH.D.               1            ARTHUR L. FRANK, M.D., PH.D.
 2   to the diffuse pleural thickening group, which did  2     Q So, do you know how many of those people
 3   have blunting?                                      3     have pleural plaques?
 4             MR. BERNICK: Same thing; it's             4     A. No.
 5   still leading.                                      5     Q Do you have idea how many of those people
 6             THE WITNESS: I have an opinion,           6     have pleural thickening?
 7   and the opinion, based upon the data, is that       7     A. It's not enumerated here.
 8   there was no statistically significant              8     Q Do you know how many of those people have
 9   difference with regard to the severity of           9     any diminution in lung function?
10   disease correlated, pulmonary function related,    10     A. No.
11   to the severity of the radiologic changes.         11     Q So, you offered an opinion that 1,800 people
12             MR. HEBERLING: That's it.                12     are more likely than not -- of those people each
13                - - -                                 13     one of them is more likely than not to die of an
14               EXAMINATION                            14     asbestos-related illness when you have no idea of
15                - - -                                 15     the portion of those people with pleural plaque;
16   BY MR. BERNICK:                                    16     correct?
17   Q Do you believe it's appropriate as an expert     17     A. What I have seen is similar patients with
18   witness to testify in response to your Counsel's   18     nonmalignant asbestos disease --
19   question to opinions where you don't have          19     Q I didn't ask you that.
20   knowledge of the data?                             20     A. It's not based on the statement if I know if
21   A. If I don't have knowledge of the data, as       21     they had pleural plaques or not.
22   you've heard me say, I will say I don't have       22     Q I want you to assume that ninety percent of
23   knowledge of the data.                             23     these people have pleural plaques. That's all
24   Q Will you say to us here today,                   24     they have is pleural plaques. Is it still
25   notwithstanding having answered the questions that 25     accurate to stay that more than half of the 1,800,
                                             Page 231                                                 Page 233
 1          ARTHUR L. FRANK, M.D., PH.D.               1               ARTHUR L. FRANK, M.D., PH.D.
 2   Mr. Heberling posed, you don't have the data on   2       or within the 1,800, it is more likely than not
 3   what comprises the 1,800 people?                  3       that they will die of an asbestos-related illness?
 4   A. The data I have is that there are 1,800        4                MR. HEBERLING: Objection; unclear
 5   people who have been diagnosed with nonmalignant 5        as to the meaning of "pleural plaques".
 6   disease at the CARD Clinic.                       6       BY MR. BERNICK:
 7   Q And who told you that?                          7       Q Does "pleural plaque" have any lack of
 8   A. Mr. Heberling.                                 8       clarity to you, Dr. Frank?
 9   Q Did anyone else tell you that?                  9       A. Not at the moment.
10   A. It's probably in Dr. Whitehouse's report.     10       Q So, with that clear notion of what a pleural
11   Q Did anyone else tell you that?                 11       plaque is, I want you to assume that ninety
12   A. Tell me that 1,800 people at the CARD Clinic  12       percent of the people who comprise the 1,800 have
13   have asbestos disease?                           13       pleural plaques. Is your testimony in response to
14   Q Have been diagnosed as having                  14       Mr. Heberling's question still accurate?
15   asbestos-related illness?                        15       A. My statement was if it follows the same
16   A. Not that I recall.                            16       patterns as other -- that's what I said. If it
17   Q Did you actually look to see whether that      17       follows the same pattern as other individuals that
18   statement of Mr. Heberling gave you was true?    18       have died so far with asbestos-related disease.
19   A. I did not look at 1,800 sets of records.      19       And we didn't qualify those as to asbestosis or
20   Q I didn't ask you that. Did you have any        20       pleural plaques or whatever, then the statement
21   data saying what Mr. Heberling said was true?    21       would hold true.
22   A. If I can find it -- here is Dr. Whitehouse's  22                If you want to ask me about the
23   report. I believe he has a statement to that in  23       pleural plaques specifically, I would have to go
24   here. The CARD Clinic has diagnosed over 1,800   24       back and look at the seventy-six that have died
25   patients with asbestos-related disease.          25       and see which percentage of those had only pleural

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 1          ARTHUR L. FRANK, M.D., PH.D.                 1             ARTHUR L. FRANK, M.D., PH.D.
 2   plaques or how many had asbestosis, how many        2     So, similarly, on the basis of what we do have, if
 3   malignancies there were and then I can more         3     the same pattern holds for the 1,800 as applies to
 4   actually answer your question. But I answered       4     the seventy-six, that is what you would expect.
 5   accurately within the confines of what was put to   5     Q But for the insulators you had
 6   me and how I answered.                              6     epidemiological studies follow that cohort over
 7   Q The data that you have is for mortality;          7     time, correct, years of epidemiological studies?
 8   right?                                              8     A. Right.
 9   A. Right.                                           9     Q Controlled epidemiological studies; correct?
10   Q And the mortalities are mortalities where        10     A. Right.
11   you have the data, you know what the pattern is    11     Q With respect to the Libby CARD study, you do
12   and, therefore, you can make the statement;        12     not have any controlled epidemiological data;
13   correct?                                           13     correct?
14   A. And I said, if the pattern holds, then --       14     A. But what you have is --
15   Q I'm sorry; just one at a time.                   15     Q Do you have any controlled --
16   A. Yes.                                            16              MR. HEBERLING: Just a minute. Let
17   Q With respect to the people who have died and 17         him finish his --
18   the mortality that are comprised by the mortality  18              THE WITNESS: You don't have
19   data, you have there knowledge of what the pattern 19     controlled epidemiology, but you have a pattern
20   of disease and manifestation is; correct?          20     of disease in those people that have been
21   A. Right. Some got lung cancer, some got           21     diagnosed with a nonmalignant asbestos disease,
22   mesothelioma, some died of asbestosis or pleural   22     and more than half of them have died of --
23   disease.                                           23     ultimately have been judged to die of an
24   Q I asked you before would it appropriate to       24     asbestos-related condition.
25   offer testimony, even in response to               25     BY MR. BERNICK:
                                             Page 235                                                 Page 237
 1          ARTHUR L. FRANK, M.D., PH.D.                 1             ARTHUR L. FRANK, M.D., PH.D.
 2   Mr. Heberling's questions where you don't have any 2      Q Right. And those are the people who have
 3   data. Do you remember that?                         3     already been diagnosed and died of an
 4   A. Yes.                                             4     asbestos-related illness?
 5   Q You don't have data for what the pattern of       5     A. Right. And these are people, the 1,800 of
 6   disease is for the 1,800; correct?                  6     those who have been diagnosed, but they haven't
 7   A. Which is why I said if the pattern holds.        7     died yet.
 8   You're right, I do not have the pattern of          8     Q Right. And, therefore, you do not know what
 9   disease.                                            9     the pattern of mortality is for that group of
10   Q Therefore, it would be inappropriate to          10     people; correct?
11   express any opinion with respect to what the       11     A. We'll know it when they're all dead.
12   future might bring with respect to the 1,800       12     Q No. You do not know anything about the
13   themselves; correct?                               13     pattern of mortality for the 1,800; correct?
14   A. No, it's not inappropriate. It's the same       14     A. No. If the seventy-six are a subset of the
15   thing going back to the 17,800 insulators. We      15     1,800, then we have some data as to the pattern of
16   know after years and the pattern of disease from a 16     mortality.
17   subset of those that have died, that about twenty  17     Q That's what's called apples and oranges.
18   percent die of lung cancer and ten percent die of  18     A. No.
19   mesotheliomas and ten percent die of asbestosis,   19     Q 1,800 haven't died, so you can't say --
20   and another percent die of other asbestos-related  20     A. But 17,800 asbestos insulators haven't died
21   cancers.                                           21     either.
22            So, in the asbestos insulators,           22     Q With respect to the 17,000, they all have
23   looking to the future to the ones that haven't     23     not died, but instead of simply knowing
24   died, you can say that about half of them can be   24     proportions of those who have died have died of a
25   expected to die of an asbestos-related disease.    25     certain disease --

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 1           ARTHUR L. FRANK, M.D., PH.D.                1             ARTHUR L. FRANK, M.D., PH.D.
 2   A. Right.                                           2     the people studied at the CARD Clinic, 1,800 have
 3   Q -- you know much more than that. You have 3             been judged by the clinicians at that clinic as
 4   controlled epidemiological studies which tell you 4       having nonmalignant asbestos disease.
 5   with respect to the cohort as a whole both the      5     Q And, therefore, you believe that there is a
 6   incidence of disease and incidence of mortality,    6     reasonable scientific basis for making future
 7   and it's on the basis of that control data that     7     predictions about the probabilities of mortality,
 8   you're able to make predictions about what future 8       a reasonable -- wait. We want to go back to your
 9   mortality will be both with respect to people and 9       own standard. Do you believe that there's a
10   the cohort as a whole and with respect to people 10       reasonable scientific basis for making predictions
11   who die.                                           11     about probabilities of mortality in the 1,800; yes
12   A. I wouldn't exactly agree with that statement    12     or no?
13   because you have epidemiological data as to the    13     A. Yes, with the caveats as I answered the
14   deaths and you can compare that to the general     14     question.
15   population to say if it's more or less than would  15     Q So, that satisfies your standard. Your
16   occurred anywhere else. You don't have an          16     opinion about the future of the 1,800 satisfies
17   epidemiological study as to the percent that have  17     your own standards as representing the best
18   disease.                                           18     science?
19             In fact, insulators with thirty          19     A. It's the best of what's available.
20   years, over ninety percent of them have disease,   20     Q No, hold on.
21   so it's pretty much a given that everybody in that 21     A. No, it's the best of what's available.
22   cohort has disease. So, there's some               22     Unless you have --
23   similarities. 1,800 people, all of whom have been  23     Q No.
24   diagnosed with a nonmalignant disease. 17,000      24              MR. HEBERLING: Objection. Let him
25   insulators, at least ninety percent plus after     25     finish.
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 1           ARTHUR L. FRANK, M.D., PH.D.               1               ARTHUR L. FRANK, M.D., PH.D.
 2   thirty years have disease. You have some subset    2                 MR. BERNICK: I'll withdraw the
 3   of those that have died, and here you have a       3       question.
 4   subset.                                            4                 MR. HEBERLING: Let him finish. Go
 5   Q Remember I asked you at the beginning what 5             ahead and finish your answer.
 6   it took to have a reasonable scientific basis for  6       BY MR. BERNICK:
 7   an opinion?                                        7       Q Go ahead, do whatever you want. Go ahead,
 8   A. Yes.                                            8       answer the question.
 9   Q And you told me that, A, that it had to be       9       A. Would I like more data? Yes. If I had more
10   the best scientific answer and, B, it had to be   10       data, I probably wouldn't have qualified it the
11   based upon studies; right?                        11       way I did. I said if the pattern holds with what
12   A. Right.                                         12       we've seen with the seventy-six, we can expect
13   Q There is no study of the 1,800; correct?        13       that of the 1,800 more than half will die of a
14   A. Yes, there is. There is a study of the         14       disease.
15   1,800, which is that they all have                15       Q I didn't ask about that. That wasn't even
16   asbestos-related disease.                         16       remotely related to my question. I asked you
17   Q That's not a study. That's just an              17       about --
18   assertion that's been given to you.               18                MR. HEBERLING: Objection;
19            MR. HEBERLING: Objection;                19       excessively argumentative.
20   argumentative, excessively argumentative.         20       BY MR. BERNICK:
21   BY MR. BERNICK:                                   21       Q I asked you very specific question. I said
22   Q Are you saying that there has been a            22       following your own test of reasonable scientific
23   scientific study of the 1,800 people; yes or no?  23       basis, are you telling me that you have a
24   A. I will say that there has been an assessment   24       reasonable scientific basis for making future
25   of 1,800 people -- more than 1,800 people, but of 25       predictions about what will happen in the way of

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 1           ARTHUR L. FRANK, M.D., PH.D.               1              ARTHUR L. FRANK, M.D., PH.D.
 2   mortality for the 1,800 people as a group if       2     the question.
 3   you're following your own test?                    3               MR. HEBERLING: No, I don't quite
 4   A. I think within certain limits I have a          4     think so.
 5   reasonable ability to say that this group will     5               MR. BERNICK: You can pick it up if
 6   have a higher mortality of asbestos disease        6     there is something that I --
 7   than --                                            7               MR. HEBERLING: We're losing the
 8   Q I didn't ask you that question.                  8     question now because of this verbiage.
 9   A. Well, that's how I took the question.           9               MR. BERNICK: Well, the verbiage is
10   Q Do you want to go back over what you said? 10          necessary because I'm not getting an answer to
11   You said that where you didn't actually have a    11     the question.
12   study, but instead you had to make reference to   12               THE WITNESS: You're getting an
13   other science, you said under those circumstances 13     answer, you just don't like the answer.
14   you would say that it's not scientifically        14     BY MR. BERNICK:
15   supported, but it's not unreasonable.             15     Q Let me assure you --
16   A. Well, here we have a study. It is a limited    16     A. And if you're not clear, then let's pursue
17   study. It is seventy-six deaths --                17     it until you're clear.
18   Q That's the answer you gave me before. You       18     Q I am completely and utterly satisfied with
19   had to have a study of the issue. Before --       19     every answer that you give that's responsive to my
20   A. That is a study.                               20     question. It's not a question of preference, its
21   Q Of the issue; the 1,800. You have no study      21     a question of responsiveness. And I just want to
22   whatsoever of the 1,800.                          22     know, with respect to the 1,800 all you have is
23   A. You're the one doing the apples and oranges.   23     Dr. Whitehouse saying they've been diagnosed with
24   You're saying you have to have the answer before  24     asbestos-related illness. With respect to the
25   you can make a statement about what will happen.  25     CARD mortality study you have far more data and
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 1           ARTHUR L. FRANK, M.D., PH.D.               1             ARTHUR L. FRANK, M.D., PH.D.
 2   If I have to have a study of the 1,800, all        2     it's focused on a group of people who not only
 3   1,800 --                                           3     have been so diagnosed, they've died. That's a
 4   Q No.                                              4     different perimeter. They are differently defined
 5   A. -- then this --                                 5     groups; correct?
 6   Q You just have to have a --                       6     A. One is a subset of the other group.
 7            MR. HEBERLING: Objection. Let him         7     Q That could be. Well, there's a lot of
 8   finish.                                            8     things. They're all a subset of Libby just
 9   BY MR. BERNICK:                                    9     because --
10   Q You have to have a study of people --           10     A. Okay.
11            MR. HEBERLING: Let him finish.           11     Q Well, you don't know that either one of them
12   BY MR. BERNICK:                                   12     are representative of what happens with respect to
13   Q You have to have a study --                     13     the Libby population as a whole because you
14            MR. HEBERLING: Let him finish.           14     haven't tested that; correct?
15   BY MR. BERNICK:                                   15     A. And I'm not making any statements about the
16   Q You have to have a study of people --           16     Libby population as a whole.
17            MR. HEBERLING: Let him finish.           17     Q That's my whole point. You have nothing on
18   BY MR. BERNICK:                                   18     the basis of which scientifically to extrapolate
19   Q -- who aren't actually dead.                    19     or extend --
20            MR. BERNICK: Objection.                  20     A. To the whole Libby population; absolutely
21   BY MR. BERNICK:                                   21     not. You're absolutely correct.
22   Q All you have with respect --                    22     Q And, likewise, you have nothing on the basis
23            MR. HEBERLING: Objection,                23     of which to extend the mortality experience of
24   Mr. Bernick. You're not letting him finish.       24     people who already have died to what will be the
25            MR. BERNICK: He finished answering       25     mortality experience of people who actually have

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 1          ARTHUR L. FRANK, M.D., PH.D.                 1             ARTHUR L. FRANK, M.D., PH.D.
 2   only been diagnosed as having disease. The one 2          Libby. Do you disagree with that?
 3   statement is a statement about causes of death      3               MR. HEBERLING: Objection;
 4   with respect to people who have died. The other 4         inadequate reading of the context of the
 5   statement is a statement about what people will     5     statement.
 6   die of who have simply been diagnosed with the      6               THE WITNESS: You'll have to ask
 7   disease. They are two different measures of two 7         Dr. Whitehouse what he means. And I didn't say
 8   different groups scientifically; correct?           8     I knew what was going to happen. You know,
 9   A. No. One is a subset of the other group. I        9     you're --
10   assume that the seventy-six patients who died were 10     BY MR. BERNICK:
11   a subset of the 1,800 patients with disease.       11     Q You said it was "possible"; you're right.
12   Q Fair enough. That is your assumption;            12     A. It's possible and if it follows the same
13   correct?                                           13     pattern, this is what you can expect. It may turn
14   A. Right. And, again, that's why I said, if        14     out -- we won't know until either a study is done
15   the pattern holds.                                 15     or until these 1,800 people are dead.
16   Q Have you done anything to test that              16     Q Right. And what kind of study would need to
17   assumption?                                        17     be done to be able to make a scientific
18   A. I have not.                                     18     prediction? What kind of study?
19   Q Do you know of anyone else who has done          19     A. Some pieces of it would already exist. For
20   anything to test that assumption?                  20     example --
21   A. To date, no.                                    21     Q Please tell me what kind of study would need
22   Q Now, I want to ask you whether you agree or 22          to be done?
23   disagree with Dr. Whitehouse himself on this       23               MR. HEBERLING: Objection. Let him
24   subject. Have you looked to find out what          24     finish.
25   Dr. Whitehouse himself has said about whether he 25       BY MR. BERNICK:
                                             Page 247                                                 Page 249
 1          ARTHUR L. FRANK, M.D., PH.D.                1              ARTHUR L. FRANK, M.D., PH.D.
 2   has the science to be able to predict the future   2      Q     What kind of scientific study --
 3   of what will happen with respect to the people who 3                MR. HEBERLING: He began an answer
 4   have been diagnosed?                               4      and you interrupted him. Let him finish.
 5   A. I do not know how he has responded to --        5                MR. BERNICK: You know, all you're
 6            MR. HEBERLING: Objection;                 6      doing is interfering.
 7   misstatement of the record.                        7                THE WITNESS: A study of the
 8   BY MR. BERNICK:                                    8      literature that looks at similar issues. Dr.
 9   Q Are you familiar with the fact that his          9      Elms in Northern Ireland took shipyard workers
10   testimony on this subject was stricken?           10      and showed that those with pleural plaques were
11            MR. HEBERLING: Objection; outside        11      more likely to develop a malignancy than those
12   this case, misrepresentation of the record. In    12      without pleural plaques. So, one could look at
13   the criminal case you were talking about whether  13      what percentage of people with pleural plaques
14   he could predict the progression of disease in    14      and see if it might be applicable to this
15   the town of Libby. It's an entirely different     15      population.
16   subject.                                          16      BY MR. BERNICK:
17            MR. BERNICK: I don't know what in        17      Q What if they're not exposed to the same
18   the world you're talking about.                   18      material?
19            MR. HEBERLING: I've got the              19      A. They were exposed to asbestos.
20   transcript.                                       20      Q No. I'm talking about Libby amphibole.
21            MR. BERNICK: I'm looking at it           21      Dr. Lehman said, in the case of Libby, you have to
22   myself.                                           22      look at the data relating to Libby because of the
23   BY MR. BERNICK:                                   23      nature of the material and the nature of the
24   Q Dr. Whitehouse says that he couldn't make       24      exposures. Would you agree or disagree with that
25   predictions of the future based upon science at   25      statement?

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 1           ARTHUR L. FRANK, M.D., PH.D.                1            ARTHUR L. FRANK, M.D., PH.D.
 2   A. That would get you closer to what might          2     predictive of either asbestosis or diffuse pleural
 3   ultimately occur. But if you're looking for         3     thickening?
 4   studies that would allow you to make some           4     A. No.
 5   predictive judgements about what might have         5     Q So --
 6   occurred to these people, you could look to other   6     A. It is predictive of malignancy, though.
 7   situations that are similar.                        7     Q So, pleural plaques, you can't on the basis
 8   Q If you want to have, using your own test,         8     -- we've already studied malignancy at Libby ad
 9   which is a reasonable scientific basis, to have a   9     nauseam; correct? You have full-blown controlled
10   reasonable scientific basis for scientifically     10     epidemiological studies that give you the
11   predicting the future of what's going to happen to 11     mortality curves for Libby; correct?
12   the 1,800, what kind of study would you need to    12     A. Which are enormous.
13   have at Libby, using your own test?                13     Q Which are enormous for people with high
14   A. Any studies that you would do is no longer      14     dose.
15   predictive. It's showing what is occurring at the  15     A. As you would expect.
16   time.                                              16     Q Right. And we also know that nobody has
17   Q Right.                                           17     found on the basis of carcinogenic mortality
18   A. And so you could say, perhaps arbitrarily,      18     studies or morbidity --
19   you have 1,800 and when the first 900 have died,   19     A. What is a carcinogenic mortality study?
20   you have a better sense of what the other 900 will 20     Q Nobody has found on the basis of the
21   die of.                                            21     epidemiological studies for mortality or morbidity
22   Q If you have analyzed the people who have         22     for cancer end points, nobody has found that the
23   died and compared them to the 1,800 as a whole to 23      people of the community of Libby are more likely
24   see whether they are the same or different, you    24     than others to die of cancer; correct?
25   couldn't extrapolate to the 1,800 unless you've    25     A. That's not correct.
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 1           ARTHUR L. FRANK, M.D., PH.D.               1               ARTHUR L. FRANK, M.D., PH.D.
 2   picked a representative group of people; correct? 2                 MR. HEBERLING: Objection;
 3   A. Well, by the time you got to 900, you would     3       misstates the record.
 4   expect them to be representative and you would     4                THE WITNESS: Dr. Whitehouse's 2008
 5   look to that. You would see -- first of all, they  5       paper --
 6   all have one common characteristic already, which  6       BY MR. BERNICK:
 7   is they've already all been diagnosed with an      7       Q That's not a mortality study and it's not an
 8   asbestos-related nonmalignant disease, so they     8       epidemiological study.
 9   have either asbestosis or pleural plaques or       9                MR. HEBERLING: Objection;
10   pleural thickening or some manifestation of       10       misstates the record.
11   asbestos disease.                                 11                THE WITNESS: But it is a
12   Q So, you then have to follow that cohort.        12       sufficient basis to say that eleven, or whatever
13   A. So, you know already that those people,        13       the number of cases, in a population of roughly
14   without knowing what the exact number would be,   14       10,000 in fifteen years gives you a rate of
15   are at a greatly increased risk of dying of an    15       mesothelioma in that community far beyond what
16   asbestos disease and certainly of an              16       you see in any other community in the United
17   asbestos-related malignancy.                      17       States.
18   Q Not if they're all pleural plaques.             18       BY MR. BERNICK:
19   A. Sure.                                          19       Q If you assume that those eleven people with
20   Q Oh, really?                                     20       mesothelioma got it from exposures of Libby?
21   A. Yes.                                           21       A. Yes.
22   Q Pleural plaques are predictive --               22       Q But they didn't; right?
23   A. Predictive of cancer, absolutely. I was        23                MR. HEBERLING: Objection;
24   just giving you the Elm's study.                  24       misstates the record.
25   Q Are pleural plaques predictive, alone,          25                THE WITNESS: Most of them did.

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 1            ARTHUR L. FRANK, M.D., PH.D.             1               ARTHUR L. FRANK, M.D., PH.D.
 2   BY MR. BERNICK:                                   2       scientific evidence that you have, the best
 3   Q Well, how do you know? Did Dr. Whitehouse 3             scientific studies that you have, that can be used
 4   tell you that?                                    4       by a reasonable science to actually predict future
 5   A. I have seen data that were, I think, three     5       mortality at Libby. What's the best science?
 6   of the eleven had potentially other exposures.    6       A. I would say the experience in the last few
 7   Eight had only known community exposure.          7       years of community only exposures with
 8   Q Really?                                         8       mesothelioma and the rate being somewhere around
 9   A. That is my understanding.                      9       eighty per million having been calculated from
10   Q Did you actually study that?                   10       that tells me that we've got a rate that is eight
11   A. I didn't go back and verify that. On the      11       to eighty times higher than you would expect in
12   basis of that information, if that is, in fact,  12       any other community pretty much.
13   correct, and I have no reason to believe that it 13       Q And those number comes from the 2008 paper
14   isn't, then that would be a rate that's much     14       with the eleven mesotheliomas?
15   higher than what you would expect to see in a    15       A. Yes.
16   community of that size.                          16       Q That's all I got.
17   Q Are you going to testify to that as being      17                 MR. FINCH: I have some follow up
18   the best that science can say?                   18       based on Mr. Heberling's questions.
19   A. It is the best information that I have at     19                       - - -
20   the moment.                                      20                 (Exhibit Frank-16 was marked for
21   Q I didn't ask you that.                         21       identification and is attached hereto.)
22   A. The best that science can say is studies      22                       - - -
23   that haven't been done yet.                      23                     EXAMINATION
24   Q Right. And is it also true --                  24                       - - -
25   A. Are you out there doing those studies? Is     25       BY MR. FINCH:
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 1            ARTHUR L. FRANK, M.D., PH.D.               1             ARTHUR L. FRANK, M.D., PH.D.
 2   anybody else out there doing those studies? Is      2     Q Dr. Frank, would you agree with me that for
 3   anybody paying to get the data that you're asking   3     any individual who has pleural plaque, it is not
 4   me to present to you?                               4     more likely than not that that individual will
 5   Q This is not --                                    5     later develop mesothelioma?
 6   A. You know, it's fascinating. We don't have        6     A. I would agree with that.
 7   data, so you go on the basis of what's best and     7     Q Would you agree with me that for any
 8   then what's best in terms of what's available       8     individual who has pleural plaque, it is not more
 9   isn't good enough because it's not what the best    9     likely than not that that person will develop lung
10   studies would be.                                  10     cancer?
11   Q I'm sorry; I'm not going to respond to that      11     A. I agree with that.
12   because I don't think it's appropriate that I do.  12     Q So, when you gave the opinion that of the
13   So, I'll ask you a question --                     13     1,800 people who have been diagnosed with some
14             MR. HEBERLING: Objection;                14     kind of asbestos-related disease that for each and
15   argumentative. Just ask him a question.            15     every one of them it was more likely than not they
16   BY MR. BERNICK:                                    16     would die of an asbestos-related disease, what
17   Q Would you agree with me that when it comes 17           diseases were you talking about?
18   to predicting the future of what is going to       18     A. The combination of nonmalignant and
19   happen to the 1,800 or to any other group of       19     malignant disease accumulatively if the pattern
20   people at Libby, that the best science that is a   20     holds with what we have seen so far.
21   reasonable scientific basis for making a           21     Q And what you have seen so far, you were
22   prediction of future mortality has not been put in 22     referring to the people, the 186 people examined
23   place as of this date?                             23     in the CARD mortality study -- the seventy-six?
24   A. No, I would not agree with that.                24     A. The seventy-six.
25   Q And I want you to tell me now the best           25     Q -- in the CARD mortality study?

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 1          ARTHUR L. FRANK, M.D., PH.D.                 1             ARTHUR L. FRANK, M.D., PH.D.
 2   A. Yes.                                             2      lung function decline?
 3   Q I have put a document in front of you that        3      A. Correct.
 4   we've marked Exhibit Sixteen. The first page of     4      Q You can't predict how many of the 1,800
 5   that is the 9,521 people who live in Lincoln        5      people will suffer a lung function decline?
 6   County, Montana. I think we agreed --               6      A. Correct.
 7   A. We discussed this this morning.                  7      Q For any individual person in the 1,800, you
 8   Q We discussed this this morning. That's            8      can't say it's more likely than not that that
 9   basically the population of people potentially      9      person will suffer a lung function decline caused
10   exposed to asbestos in Libby; right?               10      by asbestos that is greater than what you would
11   A. Correct.                                        11      expect from aging; correct?
12   Q And the next sheets shows the 1,800 CARD         12      A. Correct.
13   Clinic patients with some kind of asbestos-related 13      Q You can't say it's more likely than not that
14   disease; correct?                                  14      that will happen; correct?
15   A. Yes.                                            15      A. Correct.
16   Q The third page -- well, why don't we skip to     16      Q Okay. What I believe you testified to in
17   the fourth page. The 1,800 is broken down into     17      response to Mr. Heberling's question is that if
18   950 people who are living claimants, and in 850    18      the pattern of disease you have seen in the
19   people who there has not been any medical records 19       seventy-six people that have died of
20   produced in this case. Are you aware of that?      20      asbestos-related disease as determined by
21   A. I'm aware that not all 1,800 records have       21      Dr. Whitehouse, if that pattern holds, then you
22   been produced. How many were or were not produce, 22       could say that for any given person in the 1,800
23   I do not know.                                     23      patient cohort that it is more likely than not
24   Q Why don't you go to the last page of the         24      they will die of an asbestos-related disease?
25   document.                                          25      A. Yes.
                                             Page 259                                                   Page 261
 1         ARTHUR L. FRANK, M.D., PH.D.                  1             ARTHUR L. FRANK, M.D., PH.D.
 2   A. The last page?                                   2      Q That can only be true if the seventy-six
 3   Q The last page. You personally don't have          3      people are representative of the 1,800; correct?
 4   any data about the 1,800 CARD Clinic patients with  4      A. Yes.
 5   asbestos-related disease other than as shown in     5      Q The only common criteria, as far as you
 6   the seventy-six who are in the mortality study;     6      know, that the seventy-six have with the 1,800 is
 7   correct?                                            7      that they were -- well, there are two. One, that
 8   A. Correct.                                         8      they were exposed to Libby asbestos, and, two,
 9   Q The 1,800 people in the CARD Clinic with          9      they were diagnosed at some point with an
10   asbestos-related disease, you don't know how many 10       asbestos-related disease; correct?
11   of them had community exposures versus             11      A. Yes.
12   occupational exposures at the Grace mine; correct? 12      Q Other than that, you don't know how
13   A. Correct.                                        13      representative, if at all, the seventy-six are of
14   Q You don't know the approximate dose of           14      the 1,800?
15   asbestos that any of them were exposed to;         15      A. Correct.
16   correct?                                           16      Q And so if it turns out that the seventy-six
17   A. Correct. And I doubt anybody knows what the     17      people who died of asbestos-related disease had
18   dose was that anybody was exposed to.              18      far higher occupational level of exposures than
19   Q Well, you don't even know whether it was an      19      the type of exposures that the 1,800 patients had,
20   --                                                 20      that seventy-six may not be representative at all;
21   A. Occupation or nonoccupational.                  21      correct?
22   Q Occupational or nonoccupational?                 22      A. Correct.
23   A. Correct.                                        23      Q And if it turns out that the seventy-six
24   Q You don't know whether any of the 1,800 or       24      people who died of asbestos-related diseases as
25   how many of the 1,800 are suffering any kind of    25      determined by Dr. Whitehouse had a greater

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 1           ARTHUR L. FRANK, M.D., PH.D.                1            ARTHUR L. FRANK, M.D., PH.D.
 2   duration of exposure than the 1,800 patients, you 2       think you had said something about you did that in
 3   couldn't say that they were representative;         3     the presence of Dr. Welch and maybe some
 4   correct?                                            4     attorneys?
 5   A. Well, whatever their dose was, or whatever       5     A. Yes, sir.
 6   their exposure was, if they are not representative  6     Q Who was there besides Dr. Welch, yourself
 7   of the 1,800, then I can't say that the pattern     7     and Dr. Whitehouse?
 8   will hold.                                          8     A. Mr. Heberling was there -- no. An attorney
 9   Q And you don't know whether when in making 9             from Boston was it and Mr. Bailor.
10   his assessment of the seventy-six who died of      10     Q Mr. Bailor?
11   asbestos-related disease, how many of them were 11        A. Yes.
12   smokers versus nonsmokers; correct?                12     Q When did you do that?
13   A. Correct.                                        13     A. June -- when was it --
14   Q You don't know how many of the 1,800 are         14              MR. FINCH: February.
15   smokers versus nonsmokers; correct?                15              THE WITNESS: Sometime in February.
16   A. Correct.                                        16              MR. BAILOR: I'm not under oath.
17   Q If only a small number of the seventy-six        17              THE WITNESS: On a Friday in
18   were smokers, but the majority of the 1,800 were 18       February.
19   smokers, would you agree the seventy-six may not 19                MR. COCKRELL: That's all I have.
20   be representative of the experience of the 1,800? 20                    - - -
21   A. They may end up having a higher rate of         21              (Whereupon the Witness was excused
22   disease because the synergistic affects of         22     at 2:50 p.m.)
23   asbestos and smoking.                              23                   - - -
24   Q The 1,800 may?                                   24
25   A. Yes. If there are more smokers there.           25
                                             Page 263                                                  Page 265
 1          ARTHUR L. FRANK, M.D., PH.D.                1              ARTHUR L. FRANK, M.D., PH.D.
 2   Q But they may not as well; correct?               2                  CERTIFICATE
 3   A. If there are fewer smokers they will have a     3                        - - -
 4   lower rate.                                        4      STATE OF PENNSYLVANIA                :
 5   Q But you don't have any data that tells you,      5                          :
 6   other than the fact that they were exposed to      6      COUNTY OF PHILADELPHIA                :
                                                        7                        - - -
 7   Libby asbestos and Dr. Whitehouse's determined
                                                        8               I, Lorraine Murtaugh, Professional
 8   that they had a nonmalignant asbestos disease, as
                                                        9      Reporter and Notary Public, in and for the
 9   to how representative the seventy-six are of the  10      Commonwealth of Pennsylvania, do hereby certify
10   1,800?                                            11      that the foregoing testimony of ARTHUR L. FRANK,
11   A. Correct.                                       12      M.D., PH.D., was taken before me at 1801 Market
12   Q That's all I have.                              13      Street, Philadelphia, Pennsylvania, on Friday,
13           MR. HEBERLING: No further                 14      June 5, 2009; that the foregoing testimony was
14   questions on this side. Anybody on the phone      15      taken by me in shorthand by myself and reduced to
15   want to ask a question?                           16      typing under my direction and control; that the
16           MR. COCKRELL: This is Dale                17      foregoing pages 1 and 261 contain a true and
17   Cockrell. I have just a couple.                   18      correct transcription of all of the testimony of
18               - - -                                 19      said Witness.
19             EXAMINATION                             20
                                                       21
20               - - -
                                                       22
21   BY MR. COCKRELL:                                  23                  ......................
22   Q Dr. Frank, earlier you testified about, and                         LORRAINE MURTAUGH
23   I may have missed this or misunderstood it, but   24                  Notary Public
24   when you were reviewing and preparing the         25                  My Commission expires
25   seventy-six sheets on the deceased patients, I                        August 15, 2012

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 1        ACKNOWLEDGMENT OF DEPONENT                         1           NOTICE TO READ AND SIGN
 2                                                           2
 3           I, ARTHUR FRANK,                                3         A copy of this deposition transcript
 4   do hereby certify that I have read the                  4     is being provided to counsel for the witness
 5   foregoing pages and that the same is a                  5     by JANE ROSE REPORTING for signature.
                                                             6
 6   correct transcription of the answers given
                                                             7
 7   by me to the questions therein propounded,
                                                             8
 8   except for the corrections or changes in form           9
 9   or substance, if any, noted in the attached            10     _____________________________________________
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17             ---                                          16
18            ERRATA                                        17
                                                            18
19             ---
                                                            19
20   PAGE LINE CHANGE       REASON THEREFOR
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21   ___________________________________________            21
22   ___________________________________________            22
23   ___________________________________________            23
24   ___________________________________________            24
25   ___________________________________________            25
                                                 Page 267
 1              ---
 2            ERRATA
 3              ---
 4   PAGE LINE CHANGE        REASON THEREFOR
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